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                                                       U.S. District Court
                                                  District of Montana (Helena)
                                         CIVIL DOCKET FOR CASE #: 6:22-cv-00087-BMM


 The State of Montana et al v. Eli Lilly and Company et al                               Date Filed: 11/14/2022
 Assigned to: Judge Brian Morris                                                         Jury Demand: Both
 Case in other court: First Judicial District Court, L & C County, BDV-22-00800          Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1442 Petition for Removal                                                     Jurisdiction: Federal Question
 Plaintiff
 The State of Montana                                                      represented by Anna Schneider
 ex rel                                                                                   Office of Consumer Protection
                                                                                          Department of Justice
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 Express Scripts                                                         represented by Chad E. Adams
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                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

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                                                                                     Carey E. Matovich
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                                                                                     PRO HAC VICE
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                                                                                     Megan E. Wampler
                                                                                     (See above for address)
 Defendant
 UnitedHealth Group                                                      represented by Brian David Boone
 Inc.                                                                                   (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Carey E. Matovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Elizabeth Broadway Brown
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Jordan Elise Edwards
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Katherine Huso
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED



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                                                                                        Megan E. Wampler
                                                                                        (See above for address)
 Defendant
 OptumInsight                                                            represented by Brian David Boone
 Inc.                                                                                   (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Carey E. Matovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Elizabeth Broadway Brown
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Jordan Elise Edwards
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Katherine Huso
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Megan E. Wampler
                                                                                        (See above for address)


  Date Filed        #   Docket Text
  11/14/2022         1 NOTICE OF REMOVAL by Express Scripts, Express Scripts Pharmacy, Express Scripts Administrators, ESI Mail
                       Pharmacy Service from First Judicial District Court, L & C County, case number BDV 2022-8000, filed by Express
                       Scripts, Express Scripts Pharmacy, Express Scripts Administrators, ESI Mail Pharmacy Service.(Attachments: # 1 Exhibit
                       A-State Court Documents, # 2 Exhibit B-Contract, # 3 Exhibit C-National Center for Veterans Analysis and Statistics, # 4
                       Exhibit D-Matrix, # 5 Civil Cover Sheet) (HEG) (Entered: 11/14/2022)
  11/14/2022            Filing fee received: $ 402, receipt number AMTDC-2968243 (HEG) (Entered: 11/14/2022)
  11/15/2022         2 SUPPLEMENT re 1 Notice of Removal,, by CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX,
                       Caremarkpcs Health. (Attachments: # 1 Exhibit A) (Fain, Bruce) (Entered: 11/15/2022)
  11/18/2022         3 NOTICE of Appearance by Emma L. Mediak on behalf of Novo Nordisk Inc. (Mediak, Emma) (Entered: 11/18/2022)
  11/18/2022         4 Corporate Disclosure Statement by Novo Nordisk Inc.. (Mediak, Emma) (Entered: 11/18/2022)
  11/18/2022         5 Unopposed MOTION for Extension of Time to File Answer for All Defendants J. Daniel Hoven appearing for Defendants
                       ESI Mail Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts Administrators, Express Scripts
                       Pharmacy, Medco Health Solutions (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Text of Proposed Order) (Hoven, J.)
                       (Entered: 11/18/2022)
  11/21/2022         6 NOTICE of Appearance by Elizabeth Worth Lund on behalf of Sanofi-Aventis U.S. LLC (Lund, Elizabeth) (Entered:
                       11/21/2022)
  11/21/2022         7 ORDER granting 5 Motion for Extension of Time to Answer re 5 Unopposed MOTION for Extension of Time to File
                       Answer for All Defendants CVS Health Corporation answer due 1/9/2023; CVS Pharmacy Inc. answer due 1/9/2023;
                       Caremark answer due 1/9/2023; Caremark RX answer due 1/9/2023; Caremarkpcs Health answer due 1/9/2023; ESI Mail
                       Pharmacy Service answer due 1/9/2023; Eli Lilly and Company answer due 1/9/2023; Evernorth Health answer due
                       1/9/2023; Express Scripts answer due 1/9/2023; Express Scripts Administrators answer due 1/9/2023; Express Scripts
                       Pharmacy answer due 1/9/2023; Medco Health Solutions answer due 1/9/2023; Novo Nordisk Inc. answer due 1/9/2023;
                       OptumRx answer due 1/9/2023; Sanofi-Aventis U.S. LLC answer due 1/9/2023. Signed by Magistrate Judge John
                       Johnston on 11/21/2022. (KAH) (Entered: 11/21/2022)
  11/22/2022         8 Corporate Disclosure Statement by Sanofi-Aventis U.S. LLC. (Lund, Elizabeth) (Entered: 11/22/2022)
  11/23/2022         9 Corporate Disclosure Statement by ESI Mail Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts
                       Administrators, Express Scripts Pharmacy, Medco Health Solutions. (Adams, Chad) (Entered: 11/23/2022)
  12/06/2022        10 Corporate Disclosure Statement by CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX,
                       Caremarkpcs Health. (Fain, Bruce) (Entered: 12/06/2022)


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  12/07/2022        11 NOTICE of Filing Lewis and Clark County case Register Report. All original State Court file retained on open civil shelf
                       in Helena. (Attachments: # 1 State Court Documents 2-31, # 2 State Court Documents 32-39) (HEG) (Entered:
                       12/07/2022)
  12/07/2022        12 COMPLAINT against All Defendants, filed by The State of Montana, Austin Knudsen. (HEG) (Entered: 12/07/2022)
  12/07/2022        13 State Court Order (Doc. 33) Granting Motion for Extension of Time to Respond to Complaint and Demand for Jury
                       Trial.Signed by District Court Judge McMahon on 11/2/2022 (HEG) (Entered: 12/07/2022)
  12/07/2022        14 State Court Nunc Pro Tunc Order (Doc. 36) Granting Motion for Extension of Time to Respond to Complaint for Jury
                       Trial. Signed by District Court Judge McMahon on 11/7/2022. (HEG) (Entered: 12/07/2022)
  12/07/2022        15 State Court ANSWER to 12 Complaint by Evernorth Health, Express Scripts, Express Scripts Administrators, Express
                       Scripts Pharmacy, Medco Health Solutions. (HEG) (Entered: 12/07/2022)
  12/09/2022        16 Unopposed MOTION R. Kennon Poteat, III to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-
                       2981059.) Bruce F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark
                       RX, Caremarkpcs Health (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Fain, Bruce) (Entered:
                       12/09/2022)
  12/13/2022        17 ORDER granting 16 Motion to Appear Pro Hac Vice for Attorney R. Kennon Poteat, III.
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 12/28/2022. Signed by Judge Brian Morris on 12/13/2022. (KAH) Modified on
                       12/30/2022 to dd attorney name. (MPB). (Entered: 12/13/2022)
  12/16/2022        18 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health re 17 Order on Motion to Appear Pro Hac Vice, (Fain, Bruce) (Entered: 12/16/2022)
  12/21/2022        19 Unopposed MOTION Patrick A. Harvey to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2987816.)
                       Chad E. Adams appearing for Defendants ESI Mail Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts
                       Administrators, Express Scripts Pharmacy, Medco Health Solutions (Attachments: # 1 Declaration of Patrick A. Harvey, #
                       2 proposed Order) (Adams, Chad) (Entered: 12/21/2022)
  12/21/2022        20 Unopposed MOTION Jason R. Scherr to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2987880.)
                       Chad E. Adams appearing for Defendants ESI Mail Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts
                       Administrators, Express Scripts Pharmacy, Medco Health Solutions (Attachments: # 1 Declaration of Jason R. Scherr, # 2
                       proposed Order) (Adams, Chad) (Entered: 12/21/2022)
  12/22/2022        21 ORDER granting 19 Motion to Appear Pro Hac Vice for Attorney Patrick A. Harvey and Jason E. Scherr for ESI Mail
                       Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco
                       Health Solutions.
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       and granting 20 Motion to Appear Pro Hac Vice for Attorney Patrick A. Harvey and Jason E. Scherr for ESI Mail
                       Pharmacy Service, Evernorth Health, Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco
                       Health Solutions.
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 1/6/2023. Signed by Magistrate Judge John Johnston on 12/22/2022. (TLO)
                       (Entered: 12/22/2022)
  01/04/2023        22 NOTICE of Acknowledgment of Pro Hac Vice Order by ESI Mail Pharmacy Service, Evernorth Health, Express Scripts,
                       Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions re 21 Order on Motion to Appear Pro
                       Hac Vice,,,,,,, (Scherr, Jason) (Entered: 01/04/2023)
  01/04/2023        23 NOTICE of Acknowledgment of Pro Hac Vice Order by ESI Mail Pharmacy Service, Evernorth Health, Express Scripts,
                       Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions re 21 Order on Motion to Appear Pro
                       Hac Vice,,,,,,, (Harvey, Patrick) (Entered: 01/04/2023)
  01/04/2023        24 MOTION Tanya Ellis to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2993680.) Jennifer Marie
                       Studebaker appearing for Plaintiff The State of Montana (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1 -
                       Affidavit, # 3 Exhibit 2 - Certificate) (Studebaker, Jennifer) (Entered: 01/04/2023)
  01/04/2023        25 MOTION Matthew C. McDonald to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2993691.) Jennifer
                       Marie Studebaker appearing for Plaintiff The State of Montana (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1 -
                       Affidavit, # 3 Exhibit 2 - Certificate) (Studebaker, Jennifer) (Entered: 01/04/2023)
  01/04/2023        26 MOTION Josh Wackerly to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2993700.) Jennifer Marie
                       Studebaker appearing for Plaintiff The State of Montana (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1 -
                       Affidavit, # 3 Exhibit 2 - Certificate) (Studebaker, Jennifer) (Entered: 01/04/2023)
  01/04/2023        27 ORDER granting 24 25 26 Motions to Appear Pro Hac Vice for Attorney Tanya Ellis, Matthew C. McDonald, Josh
                       Wackerly for Austin Knudsen, Tanya Ellis, Matthew C. McDonald, Josh Wackerly for The State of Montana.
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; Acknowledgment of PHV Order due by 1/19/2023. Signed by Magistrate Judge John Johnston on 1/4/2023. (TLO)
                       (Entered: 01/04/2023)


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  01/04/2023        28 ORDER REASSIGNING CASE. IT IS HEREBY ORDERED that the above-captioned cause isREASSIGNED to the
                       Honorable Brian Morris for all further proceedings. Signed by Judge Brian Morris on 1/4/2023. (ACC) (Entered:
                       01/04/2023)
  01/04/2023            Magistrate Judge John Johnston no longer assigned to case. (ACC) (Entered: 01/04/2023)
  01/06/2023        29 NOTICE of Appearance by William W. Mercer on behalf of Eli Lilly and Company (Mercer, William) (Entered:
                       01/06/2023)
  01/06/2023        30 Corporate Disclosure Statement by Eli Lilly and Company. (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        31 Unopposed MOTION Jason A. Feld to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2995487.)
                       William W. Mercer appearing for Defendant Eli Lilly and Company (Attachments: # 1 Affidavit - Declaration of Jason A.
                       Feld, # 2 Text of Proposed Order - Proposed Order) (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        32 Unopposed MOTION James F. Hurst to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2995506.)
                       William W. Mercer appearing for Defendant Eli Lilly and Company (Attachments: # 1 Affidavit - Declaration of James F.
                       Hurst, # 2 Text of Proposed Order - Proposed Order) (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        33 Unopposed MOTION Andrew A. Kassof to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2995519.)
                       William W. Mercer appearing for Defendant Eli Lilly and Company (Attachments: # 1 Affidavit - Declaration of Andrew
                       A. Kassof, # 2 Text of Proposed Order - Proposed Order) (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        34 Unopposed MOTION Ryan J. Moorman to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2995525.)
                       William W. Mercer appearing for Defendant Eli Lilly and Company (Attachments: # 1 Affidavit - Declaration of Ryan J.
                       Moorman, # 2 Exhibit - Proposed Order) (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        35 Unopposed MOTION Diana M. Watral to Appear Pro Hac Vice ( Filing fee $ 262 receipt number BMTDC-2995533.)
                       William W. Mercer appearing for Defendant Eli Lilly and Company (Attachments: # 1 Affidavit - Declaration of Diana
                       M. Watral, # 2 Text of Proposed Order - Proposed Order) (Mercer, William) (Entered: 01/06/2023)
  01/06/2023        36 NOTICE of Appearance by Katherine Huso on behalf of OptumRx (Huso, Katherine) (Entered: 01/06/2023)
  01/09/2023        37 ORDER granting 31 32 33 34 35 Motion to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here. Acknowledgment
                       of PHV Order due by 1/24/2023. Signed by Judge Brian Morris on 1/9/2023. (KAH) (Entered: 01/09/2023)
  01/09/2023        38 MOTION to Amend/Correct Jennifer Marie Studebaker appearing for Plaintiff The State of Montana (Attachments: # 1
                       Exhibit A - First Amended Complaint, # 2 Exhibit B - Proposed Order) (Studebaker, Jennifer) (Entered: 01/09/2023)
  01/09/2023        39 ORDER: IT IS HEREBY ORDERED that Plaintiffs Motion for Leave to Amend Complaint is GRANTED. Plaintiff shall
                       file the First Amended Complaint on the docket in the above-captioned matter within 7 days of this Order. It is further
                       ORDERED that defendants shall have 45 days from the date the First Amended Complaint is filed to serve their
                       responsive pleadings. Signed by Judge Brian Morris on 1/9/2023. (KAH) (Entered: 01/09/2023)
  01/09/2023        40 AMENDED COMPLAINT against All Defendants, filed by The State of Montana. (Studebaker, Jennifer) (Entered:
                       01/09/2023)
  01/10/2023        41 NOTICE of Acknowledgment of Pro Hac Vice Order by The State of Montana re 27 Order on Motion to Appear Pro Hac
                       Vice,,,,, (Tanya Ellis) (Studebaker, Jennifer) (Entered: 01/10/2023)
  01/10/2023        42 NOTICE of Acknowledgment of Pro Hac Vice Order by The State of Montana re 27 Order on Motion to Appear Pro Hac
                       Vice,,,,, (Matthew C. McDonald) (Studebaker, Jennifer) (Entered: 01/10/2023)
  01/10/2023        43 NOTICE of Acknowledgment of Pro Hac Vice Order by The State of Montana re 27 Order on Motion to Appear Pro Hac
                       Vice,,,,, (Josh Wackerly) (Studebaker, Jennifer) (Entered: 01/10/2023)
  01/10/2023            NOTICE OF CORRECTION re 36 Notice of Appearance. Document filed is titled DEFENDANT OPTUMRX, INC.S
                        CORPORATE DISCLOSURE STATEMENT and should have been Notice of Appearance. Nothing further is required.
                        (HEG) (Entered: 01/10/2023)
  01/10/2023        44 Unopposed MOTION Shirlethia V. Franklin to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-
                       2998406.) Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit, # 2 Text
                       of Proposed Order) (Lund, Elizabeth) (Entered: 01/10/2023)
  01/10/2023        45 Unopposed MOTION Theresa C. Martin to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2998418.)
                       Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit, # 2 Text of Proposed
                       Order) (Lund, Elizabeth) (Entered: 01/10/2023)
  01/10/2023        46 Unopposed MOTION William Coglianese to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2998430.)
                       Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit, # 2 Text of Proposed
                       Order) (Lund, Elizabeth) (Entered: 01/10/2023)
  01/10/2023        47 Unopposed MOTION Craig Singer to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-2998436.) Bruce
                       F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs
                       Health (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit A to Exhibit 1) (Fain, Bruce)
                       (Entered: 01/10/2023)

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  01/10/2023        48 NOTICE of Acknowledgment of Pro Hac Vice Order by Eli Lilly and Company re 37 Order on Motion to Appear Pro Hac
                       Vice,,,,,,,,, (Kassof, Andrew) (Entered: 01/10/2023)
  01/10/2023        49 NOTICE of Acknowledgment of Pro Hac Vice Order by Eli Lilly and Company re 37 Order on Motion to Appear Pro Hac
                       Vice,,,,,,,,, (Watral, Diana) (Entered: 01/10/2023)
  01/10/2023        50 NOTICE of Acknowledgment of Pro Hac Vice Order by Eli Lilly and Company re 37 Order on Motion to Appear Pro Hac
                       Vice,,,,,,,,, (Hurst, James) (Entered: 01/10/2023)
  01/10/2023        51 NOTICE of Acknowledgment of Pro Hac Vice Order by Eli Lilly and Company re 37 Order on Motion to Appear Pro Hac
                       Vice,,,,,,,,, (Moorman, Ryan) (Entered: 01/10/2023)
  01/10/2023        52 NOTICE of Acknowledgment of Pro Hac Vice Order by Eli Lilly and Company re 37 Order on Motion to Appear Pro Hac
                       Vice,,,,,,,,, (Feld, Jason) (Entered: 01/10/2023)
  01/11/2023        53 ORDER granting 44 Motion for Shirlethia V. Franklin to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; granting 45 Motion for Theresa C. Martin to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; granting 46 Motion for William Coglianese to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 1/26/2023. Signed by Judge Brian Morris on 1/11/2023. (TLO) (Entered:
                       01/11/2023)
  01/12/2023        54 NOTICE of Acknowledgment of Pro Hac Vice Order by Sanofi-Aventis U.S. LLC re 53 Order on Motion to Appear Pro
                       Hac Vice,,,,,,,,,,, (Lund, Elizabeth) (Entered: 01/12/2023)
  01/12/2023        55 NOTICE of Acknowledgment of Pro Hac Vice Order by Sanofi-Aventis U.S. LLC re 53 Order on Motion to Appear Pro
                       Hac Vice,,,,,,,,,,, (Lund, Elizabeth) (Entered: 01/12/2023)
  01/12/2023        56 NOTICE of Acknowledgment of Pro Hac Vice Order by Sanofi-Aventis U.S. LLC re 53 Order on Motion to Appear Pro
                       Hac Vice,,,,,,,,,,, (Lund, Elizabeth) (Entered: 01/12/2023)
  01/17/2023        57 MOTION W. Lawrence Deas to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3001989.) Jennifer
                       Marie Studebaker appearing for Plaintiff The State of Montana (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1 -
                       Affidavit, # 3 Exhibit 2 - Certificate) (Studebaker, Jennifer) (Entered: 01/17/2023)
  01/17/2023        58 ORDER granting 57 Motion to Appear Pro Hac Vice of W. Lawrence Deas
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 2/1/2023. Signed by Judge Brian Morris on 1/17/2023. (ACC) (Entered:
                       01/17/2023)
  01/17/2023        59 ORDER granting 47 Motion to Appear Pro Hac Vice of Craig Singer
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 2/1/2023. Signed by Judge Brian Morris on 1/17/2023. (ACC) (Entered:
                       01/17/2023)
  01/19/2023        60 WAIVER OF SERVICE Returned Executed by The State of Montana. UnitedHealth Group waiver sent on 1/10/2023,
                       answer due 3/13/2023. (Ellis, Tanya) (Entered: 01/19/2023)
  01/19/2023        61 WAIVER OF SERVICE Returned Executed by The State of Montana. OptumInsight waiver sent on 1/10/2023, answer
                       due 3/13/2023. (Ellis, Tanya) (Entered: 01/19/2023)
  01/19/2023        62 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health re 59 Order on Motion to Appear Pro Hac Vice, (Fain, Bruce) (Entered: 01/19/2023)
  01/19/2023        63 Unopposed MOTION Adam Joshua Podoll to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3003721.)
                       Bruce F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX,
                       Caremarkpcs Health (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Fain, Bruce) (Entered:
                       01/19/2023)
  01/19/2023        64 ORDER granting 63 Motion to Appear Pro Hac Vice (Joshua Podoll)
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 2/3/2023. Signed by Judge Brian Morris on 1/19/2023. (MMS) (Entered:
                       01/19/2023)
  01/25/2023        65 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health re 64 Order on Motion to Appear Pro Hac Vice, (Fain, Bruce) (Entered: 01/25/2023)
  01/25/2023        66 Unopposed MOTION Enu Mainigi to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3007547.) Bruce
                       F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs
                       Health (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Fain, Bruce) (Entered: 01/25/2023)
  01/25/2023        67 ORDER granting 66 Motion to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.


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                        Acknowledgment of PHV Order due by 2/9/2023. Signed by Judge Brian Morris on 1/25/2023. (KAH) (Entered:
                        01/25/2023)
  01/27/2023        68 Unopposed MOTION Neal A Potischman to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3009384.)
                       Emma L. Mediak appearing for Defendant Novo Nordisk Inc. (Attachments: # 1 Affidavit in Support of Pro Hac Vice
                       Admission, # 2 Affidavit Certification Under MRPC 8.5, # 3 Text of Proposed Order) (Mediak, Emma) (Entered:
                       01/27/2023)
  01/27/2023        69 Unopposed MOTION Andrew D. Yaphe to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3009404.)
                       Emma L. Mediak appearing for Defendant Novo Nordisk Inc. (Attachments: # 1 Affidavit in Support of Pro Hac Vice
                       Admission, # 2 Affidavit Certification Under MRPC 8.5, # 3 Text of Proposed Order) (Mediak, Emma) (Entered:
                       01/27/2023)
  01/31/2023        70 ORDER granting 68 Motion to Appear Pro Hac Vice Neal A. Potischman
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; granting 69 Motion to Appear Pro Hac Vice Andrew D. Yaphe
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Signed by Judge Brian Morris on 1/31/2023.**SEE ORDER FOR DETAILS** (ACC) (Entered: 01/31/2023)
  02/01/2023        71 NOTICE of Acknowledgment of Pro Hac Vice Order by The State of Montana re 58 Order on Motion to Appear Pro Hac
                       Vice, (Deas, William) (Entered: 02/01/2023)
  02/02/2023        72 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health (Mainigi, Enu) (Entered: 02/02/2023)
  02/08/2023        73 Unopposed MOTION James P. Rouhandeh to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3016666.)
                       Emma L. Mediak appearing for Defendant Novo Nordisk Inc. (Attachments: # 1 Affidavit in Support of Pro Hac Vice
                       Admission, # 2 Affidavit Certification Under MRPC 8.5, # 3 Text of Proposed Order) (Mediak, Emma) (Entered:
                       02/08/2023)
  02/09/2023        74 ORDER granting 73 Motion to Appear Pro Hac Vice of James Rouhandeh
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Signed by Judge Brian Morris on 2/9/2023. **SEE ORDER FOR FULL DETAILS** (ACC) (Entered: 02/09/2023)
  02/10/2023        75 Unopposed MOTION Alexander Gazikas to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3018335.)
                       Bruce F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX,
                       Caremarkpcs Health (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Fain, Bruce) (Entered:
                       02/10/2023)
  02/13/2023        76 ORDER granting 75 Motion to Appear Pro Hac Vice Alexander Gazikas
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 2/28/2023. Signed by Judge Brian Morris on 2/13/2023. (ACC) (Entered:
                       02/13/2023)
  02/14/2023        77 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health re 76 Order on Motion to Appear Pro Hac Vice, (Gazikas, Alexander) (Entered:
                       02/14/2023)
  02/14/2023        78 NOTICE of Acknowledgment of Pro Hac Vice Order by Novo Nordisk Inc. re 70 Order on Motion to Appear Pro Hac
                       Vice,,,,, Neal A. Potischman (Mediak, Emma) (Entered: 02/14/2023)
  02/14/2023        79 NOTICE of Acknowledgment of Pro Hac Vice Order by Novo Nordisk Inc. re 70 Order on Motion to Appear Pro Hac
                       Vice,,,,, Andrew D. Yaphe (Mediak, Emma) (Entered: 02/14/2023)
  02/14/2023        80 NOTICE of Acknowledgment of Pro Hac Vice Order by Novo Nordisk Inc. re 74 Order on Motion to Appear Pro Hac
                       Vice, James P. Rouhandeh (Mediak, Emma) (Entered: 02/14/2023)
  02/17/2023        81 AMENDED Corporate Disclosure Statement by ESI Mail Pharmacy Service, Evernorth Health, Express Scripts, Express
                       Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions. (Adams, Chad) Modified on 2/22/2023 to add
                       AMENDED text (HEG). (Entered: 02/17/2023)
  02/22/2023        82 Unopposed MOTION for Leave to File Overlength Brief Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis
                       U.S. LLC (Attachments: # 1 Text of Proposed Order) (Lund, Elizabeth) (Entered: 02/22/2023)
  02/22/2023        83 ORDER granting ELI LILLY AND COMPANY, NOVO NORDISK INC., AND SANOFI-AVENTIS U.S. LLCS
                       UNOPPOSED MOTION 82 FOR LEAVE TO FILE OVERLENGTH BRIEF. Signed by Judge Brian Morris on
                       2/22/2023. (TLO) (Entered: 02/22/2023)
  02/23/2023        84 Joint MOTION to Dismiss The First Amended Complaint Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis
                       U.S. LLC (Lund, Elizabeth) (Entered: 02/23/2023)
  02/23/2023        85 Brief/Memorandum in Support re 84 Joint MOTION to Dismiss The First Amended Complaint filed by Sanofi-Aventis
                       U.S. LLC. (Lund, Elizabeth) (Entered: 02/23/2023)
  02/23/2023        86 MOTION to Dismiss for Lack of Jurisdiction Chad E. Adams appearing for Defendant Evernorth Health (Adams, Chad)
                       (Entered: 02/23/2023)

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  02/23/2023        87 Brief/Memorandum in Support re 86 MOTION to Dismiss for Lack of Jurisdiction filed by Evernorth Health.
                       (Attachments: # 1 Exhibit A) (Adams, Chad) (Entered: 02/23/2023)
  02/23/2023        88 AFFIDAVIT/DECLARATION re 85 Brief/Memorandum in Support of Eli Lilly and Company, Novo Nordisk Inc., and
                       Sanofi-Aventis U.S. LLC's Rule 12(b)(6) Motion to Dismiss the First Amended Complaint by Sanofi-Aventis U.S. LLC.
                       (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit) (Lund,
                       Elizabeth) (Entered: 02/23/2023)
  02/23/2023        89 MOTION to Dismiss for Lack of Jurisdiction Under Rule 12(b)(2) Bruce F. Fain appearing for Defendants CVS Health
                       Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health (Fain, Bruce) (Entered: 02/23/2023)
  02/23/2023        90 Brief/Memorandum in Support re 89 MOTION to Dismiss for Lack of Jurisdiction Under Rule 12(b)(2) filed by CVS
                       Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health. (Attachments: # 1 Exhibit A)
                       (Fain, Bruce) (Entered: 02/23/2023)
  02/23/2023        91 MOTION Jordan Elise Edwards to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3025897.) Katherine
                       Huso appearing for Defendant OptumRx (Attachments: # 1 Exhibit Declaration of Jordan Edwards) (Huso, Katherine)
                       (Entered: 02/23/2023)
  02/23/2023        92 MOTION Elizabeth Broadway Brown to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3025898.)
                       Katherine Huso appearing for Defendant OptumRx (Attachments: # 1 Exhibit Declaration of Elizabeth Broadway Brown)
                       (Huso, Katherine) (Entered: 02/23/2023)
  02/23/2023        93 MOTION Brian D. Boone to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3025899.) Katherine Huso
                       appearing for Defendant OptumRx (Attachments: # 1 Exhibit Declaration of Brian D. Boone) (Huso, Katherine) (Entered:
                       02/23/2023)
  02/23/2023        94 MOTION to Dismiss for Lack of Jurisdiction Katherine Huso appearing for Defendant UnitedHealth Group and
                       OptumInsight Inc. (Huso, Katherine) Modified on 2/24/2023 to add deft OptumInsight Inc. Document regenerated to
                       reflect changes. (HEG). (Entered: 02/23/2023)
  02/23/2023        95 Brief/Memorandum in Support re 94 MOTION to Dismiss for Lack of Jurisdiction filed by UnitedHealth Group and
                       OptumInsight Inc. (Huso, Katherine) Modified on 2/24/2023 to add deft OptumInsight Inc. Document regenerated to
                       reflect changes. (HEG) (Entered: 02/23/2023)
  02/23/2023        96 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM Chad E. Adams appearing for Defendants CVS Health
                       Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health, ESI Mail Pharmacy Service, Evernorth
                       Health, Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions,
                       OptumInsight, OptumRx, UnitedHealth Group (Adams, Chad) (Entered: 02/23/2023)
  02/23/2023        97 Brief/Memorandum in Support re 96 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by CVS Health
                       Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health, ESI Mail Pharmacy Service, Evernorth
                       Health, Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions,
                       OptumInsight, OptumRx, UnitedHealth Group. (Attachments: # 1 Exhibit PBM RFP) (Adams, Chad) (Entered:
                       02/23/2023)
  02/27/2023        98 ORDER granting 91 Motion to Appear Pro Hac Vice Jordan Elise Edwards
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; granting 92 Motion to Appear Pro Hac Vice Elizabeth Broadway Brown
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       ; granting 93 Motion to Appear Pro Hac Vice Brian D. Boone
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 3/14/2023. Signed by Judge Brian Morris on 2/27/2023. (ACC) (Entered:
                       02/27/2023)
  02/27/2023        99 Corporate Disclosure Statement by OptumInsight, OptumRx, UnitedHealth Group. (Huso, Katherine) (Entered:
                       02/27/2023)
  03/03/2023       100 Unopposed MOTION for Extension of Time to File Response/Reply as to 86 MOTION to Dismiss for Lack of
                       Jurisdiction , 84 Joint MOTION to Dismiss The First Amended Complaint, 94 MOTION to Dismiss for Lack of
                       Jurisdiction , 96 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 89 MOTION to Dismiss for Lack of
                       Jurisdiction Under Rule 12(b)(2) Tanya Dearman Ellis appearing for Plaintiff The State of Montana (Attachments: # 1
                       Text of Proposed Order) (Ellis, Tanya) (Entered: 03/03/2023)
  03/03/2023       101 ORDER: IT IS HEREBY ORDERED that Plaintiff's 100 Motion for Extension of Time to Respond to Defendants'
                       Motion to Dismiss is GRANTED. Plaintiff may respond to the Motions by March 31, 2023. Signed by Judge Brian
                       Morris on 3/3/2023. (ACC) (Entered: 03/03/2023)
  03/14/2023       102 NOTICE of Acknowledgment of Pro Hac Vice Order by OptumInsight, OptumRx, UnitedHealth Group re 98 Order on
                       Motion to Appear Pro Hac Vice,,,,,,,,,,, (Huso, Katherine) (Entered: 03/14/2023)
  03/14/2023       103 NOTICE of Acknowledgment of Pro Hac Vice Order by OptumInsight, OptumRx, UnitedHealth Group re 98 Order on
                       Motion to Appear Pro Hac Vice,,,,,,,,,,, (Huso, Katherine) (Entered: 03/14/2023)
  03/14/2023       104 NOTICE of Acknowledgment of Pro Hac Vice Order by OptumInsight, OptumRx, UnitedHealth Group re 98 Order on

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                        Motion to Appear Pro Hac Vice,,,,,,,,,,, (Huso, Katherine) (Entered: 03/14/2023)
  03/20/2023       105 TEXT ORDER Setting Hearing on Motion 84 Joint MOTION to Dismiss The First Amended Complaint, 96 MOTION
                       TO DISMISS FOR FAILURE TO STATE A CLAIM , 94 MOTION to Dismiss for Lack of Jurisdiction , 86 MOTION to
                       Dismiss for Lack of Jurisdiction , 89 MOTION to Dismiss for Lack of Jurisdiction Under Rule 12(b)(2) : Motion Hearing
                       is set for 5/15/2023 at 01:30 PM in Helena, MT before Judge Brian Morris. Signed by Judge Brian Morris on 3/20/2023.
                       (SLL) (Entered: 03/20/2023)
  03/21/2023       106 NOTICE of Substitution of Counsel and Entry of Appearance for Attorney Anna Schneider on behalf of The State of
                       Montana. Attorney Derek J. Oestreicher terminated. (Schneider, Anna) (Entered: 03/21/2023)
  03/30/2023       107 Unopposed MOTION for Leave to File Overlength Brief. Tanya Dearman Ellis appearing for Plaintiff The State of
                       Montana. (Attachments: # 1 Text of Proposed Order Proposed order granting motion) (Ellis, Tanya) (Entered: 03/30/2023)
  03/30/2023       108 ORDER granting 107 Motion for Leave to File Overlength Briefs. Signed by Judge Brian Morris on 3/30/2023. (MMS)
                       (Entered: 03/30/2023)
  03/31/2023       109 RESPONSE to Motion re 94 MOTION to Dismiss for Lack of Jurisdiction filed by The State of Montana. (Ellis, Tanya)
                       (Entered: 03/31/2023)
  03/31/2023       110 RESPONSE to Motion re 86 MOTION to Dismiss for Lack of Jurisdiction filed by The State of Montana. (Ellis, Tanya)
                       (Entered: 03/31/2023)
  03/31/2023       111 RESPONSE to Motion re 89 MOTION to Dismiss for Lack of Jurisdiction Under Rule 12(b)(2) filed by The State of
                       Montana. (Attachments: # 1 Exh 1 - Moffatt Affidavit, # 2 Exh 2 - Moffatt LinkedIn Profile, # 3 Exh 3 - PCMA Corporate
                       Disclosure Statement, # 4 Exh 4 - PCMA 2016 Board of Directors, # 5 Exh 5 - McCarthy Declaration, # 6 Exh 6 - AR
                       Response Memo to CVS 12b2 Motion) (Ellis, Tanya) (Entered: 03/31/2023)
  03/31/2023       112 RESPONSE to Motion re 84 Joint MOTION to Dismiss The First Amended Complaint under Fed. R. Civ. P. 12(b)(6)
                       filed by The State of Montana. (Wackerly, Josh) (Entered: 03/31/2023)
  03/31/2023       113 RESPONSE to Motion re 96 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by The State of
                       Montana. (Wackerly, Josh) (Entered: 03/31/2023)
  04/05/2023       114 Unopposed MOTION McKayla R Stokes to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3048035.).
                       Bruce F. Fain appearing for Defendants CVS Health Corporation, CVS Pharmacy Inc., Caremark RX, Caremarkpcs
                       Health. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Fain, Bruce) (Entered: 04/05/2023)
  04/05/2023       115 ORDER granting 114 Motion to Appear Pro Hac Vice McKayla Stokes
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 4/20/2023. Signed by Judge Brian Morris on 4/5/2023. (ACC) (Entered:
                       04/05/2023)
  04/11/2023       116 Unopposed MOTION for Extension of Time to File Response/Reply as to 84 Joint MOTION to Dismiss The First
                       Amended Complaint . Elizabeth Worth Lund appearing for Defendant Sanofi-Aventis U.S. LLC. (Attachments: # 1 Text of
                       Proposed Order) (Lund, Elizabeth) (Entered: 04/11/2023)
  04/11/2023       117 ORDER GRANTING DEFENDANTS UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE REPLY
                       BRIEFS IN SUPPORT OF MOTIONS TO DISMISS 84 96 94 86 89 116 89 . Defendants shall have up to and including
                       April 28, 2023, in which to file their respective reply briefing in support of their motions to dismiss. Signed by Judge
                       Brian Morris on 4/11/2023. (TLO) (Entered: 04/11/2023)
  04/11/2023       118 Unopposed MOTION for Leave to Appear Via Video Conferencing for Pending Motions Hearing . Jennifer Marie
                       Studebaker appearing for Plaintiff The State of Montana. (Attachments: # 1 Text of Proposed Order Proposed Order)
                       (Studebaker, Jennifer) (Entered: 04/11/2023)
  04/11/2023       119 ORDER GRANTING COUNSEL JENNIFER M. STUDEBAKER TO APPEAR BY VIDEO CONFERENCE. Upon the
                       Unopposed Motion for Leave to Appear Via Video Conference (Doc. 118 ) and with good cause shown: IT IS HEREBY
                       ORDERED that Jennifer Studebaker may appear by Zoom at the May 15, 2023 motion hearing. Attorney Studebaker will
                       contact the Clerk of Court's Office for the Zoom link. Zoom link for month of May emailed to counsel Studebaker Signed
                       by Judge Brian Morris on 4/11/2023. (TLO) (Entered: 04/11/2023)
  04/18/2023       120 NOTICE of Acknowledgment of Pro Hac Vice Order by CVS Health Corporation, CVS Pharmacy Inc., Caremark,
                       Caremark RX, Caremarkpcs Health re 115 Order on Motion to Appear Pro Hac Vice, (Stokes, McKayla) (Entered:
                       04/18/2023)
  04/18/2023       121 Unopposed MOTION William Liston, III to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3055522.).
                       Jennifer Marie Studebaker appearing for Plaintiff The State of Montana. (Attachments: # 1 Affidavit 1 - Affidavit of
                       William Liston, III, # 2 Exhibit 2- Certificate of Compliance, # 3 Text of Proposed Order Proposed Order) (Studebaker,
                       Jennifer) (Entered: 04/18/2023)
  04/19/2023       122 ORDER granting 121 Motion to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 5/4/2023. Signed by Judge Brian Morris on 4/19/2023. (KAH) (Entered:
                       04/19/2023)


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  04/26/2023       123 Unopposed MOTION for Leave to File Overlength Reply Brief. Elizabeth Worth Lund appearing for Defendant Sanofi-
                       Aventis U.S. LLC. (Attachments: # 1 Text of Proposed Order) (Lund, Elizabeth) (Entered: 04/26/2023)
  04/26/2023       124 NOTICE of Acknowledgment of Pro Hac Vice Order by The State of Montana re 122 Order on Motion to Appear Pro Hac
                       Vice, (Liston, William) (Entered: 04/26/2023)
  04/26/2023       125 ORDER re 123 Motion for Leave to File Overlength Reply Brief. IT IS HEREBY ORDERED that the word limit for the
                       Manufacturers' joint Reply to their Rule 12(b)(6) Motion to Dismiss is in-creased to 4,500 words. Signed by Judge Brian
                       Morris on 4/26/2023. (ACC) (Entered: 04/26/2023)
  04/26/2023       126 MOTION for Leave to File Overlength Brief. Megan E. Wampler appearing for Defendants CVS Health Corporation,
                       CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health, ESI Mail Pharmacy Service, Evernorth Health,
                       Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions, OptumInsight,
                       OptumRx, UnitedHealth Group. (Attachments: # 1 proposed Order) (Wampler, Megan) (Entered: 04/26/2023)
  04/26/2023       127 ORDER granting PBM DEFENDANTS UNOPPOSED MOTION FOR LEAVE TO FILE OVERLENGTH BRIEF 126 .
                       The word limit for the PBM Defendants joint reply in support of their Rule 12(b)(6) Motion to Dismiss, ECF No. 96 , is
                       increased to 5,000 words. Signed by Judge Brian Morris on 4/26/2023. (TLO) (Entered: 04/26/2023)
  04/28/2023       128 REPLY to Response to Motion re 86 MOTION to Dismiss for Lack of Jurisdiction filed by Evernorth Health. (Adams,
                       Chad) (Entered: 04/28/2023)
  04/28/2023       129 REPLY to Response to Motion re 94 MOTION to Dismiss for Lack of Jurisdiction filed by OptumInsight, UnitedHealth
                       Group. (Huso, Katherine) (Entered: 04/28/2023)
  04/28/2023       130 REPLY to Response to Motion re 84 Joint MOTION to Dismiss The First Amended Complaint filed by Eli Lilly and
                       Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC. (Lund, Elizabeth) (Entered: 04/28/2023)
  04/28/2023       131 REPLY to Response to Motion re 89 MOTION to Dismiss for Lack of Jurisdiction Under Rule 12(b)(2) filed by CVS
                       Health Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health. (Fain, Bruce) (Entered:
                       04/28/2023)
  04/28/2023       132 REPLY to Response to Motion re 96 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by CVS Health
                       Corporation, CVS Pharmacy Inc., Caremark, Caremark RX, Caremarkpcs Health, ESI Mail Pharmacy Service, Evernorth
                       Health, Express Scripts, Express Scripts Administrators, Express Scripts Pharmacy, Medco Health Solutions,
                       OptumInsight, OptumRx, UnitedHealth Group. (Adams, Chad) (Entered: 04/28/2023)
  05/08/2023       133 Unopposed MOTION R. Johan Conrod to Appear Pro Hac Vice ( Filing fee $ 262 receipt number AMTDC-3066246.).
                       Jennifer Marie Studebaker appearing for Plaintiff The State of Montana. (Attachments: # 1 Exhibit 1 - Affidavit of R.
                       Johan Conrod, # 2 Exhibit 2 - Certificate of Compliance, # 3 Text of Proposed Order Proposed Order) (Studebaker,
                       Jennifer) (Entered: 05/08/2023)
  05/08/2023       134 ORDER granting 133 Motion for attorney Johan Conrod to Appear Pro Hac Vice
                       NOTE: Instructions to request Montana CM/ECF registration through PACER are found here.
                       Acknowledgment of PHV Order due by 5/23/2023. Signed by Judge Brian Morris on 5/8/2023. (TLO) (Entered:
                       05/08/2023)



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Austin Knudsen, Attorney General

                IN THE UNITED STATES DISTRICT COURT
                      FOR DISTRICT OF MONTANA
                          HELENA DIVISION


THE STATE OF MONTANA, EX.REL.,
AUSTIN KNUDSEN, ATTORNEY
GENERAL

               PLAINTIFF,

               V.

ELI LILLY AND COMPANY; NOVO
NORDISK INC.; SANOFI-AVENTIS
U.S. LLC; EVERNORTH HEALTH,
INC. (FORMERLY EXPRESS SCRIPTS                   Case No. 6:22-CV-00087
HOLDING COMPANY); EXPRESS
SCRIPTS, INC.; EXPRESS SCRIPTS                    Jury Trial Demanded
ADMINISTRATORS, LLC; ESI MAIL
PHARMACY SERVICE, INC.;
EXPRESS SCRIPTS PHARMACY, INC.;
MEDCO HEALTH SOLUTIONS, INC;
CVS HEALTH CORPORATION; CVS
PHARMACY, INC; CAREMARK RX,
LLC; CAREMARKPCS HEALTH, LLC;
CAREMARK, LLC; UNITEDHEALTH
GROUP, INC.; OPTUMRX INC.; AND
OPTUMINSIGHT, INC.

               DEFENDANTS.


                    FIRST AMENDED COMPLAINT
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      Comes now the Plaintiff, the State of Montana, ex rel. Austin Knudsen,

Attorney General, (the “State” or “Plaintiff”), and brings this action against

Defendants Eli Lilly and Company; Novo Nordisk Inc.; Sanofi-Aventis U.S. LLC;

Evernorth Health, Inc. (formerly Express Scripts Holding Company); Express Scripts,

Inc.; Express Scripts Administrators, LLC; ESI Mail Pharmacy Service, Inc.; Express

Scripts Pharmacy, Inc.; Medco Health Solutions, Inc; CVS Health Corporation; CVS

Pharmacy, Inc; Caremark Rx, LLC; CaremarkPCS Health, LLC; Caremark, LLC;

UnitedHealth Group, Inc.; OptumInsight, Inc.; and OptumRx Inc. (collectively,

“Defendants”) for violating the Montana Unfair Trade Practices and Consumer

Protection Act (“MUTPCPA”), unjust enrichment, and civil conspiracy and alleges as

follows:

                                       INTRODUCTION

      1.     Diabetes is an epidemic and a public health crisis in Montana. Montana

has a high prevalence of diabetes with approximately 10% of its adult population—

approximately 80,000 people—living with diabetes. An additional 285,000 Montana

residents have pre-diabetes, which is when a person’s blood sugar level is higher than

it should be and signifies that the person is at greater risk for developing diabetes.

      2.     Diabetes is the leading cause of blindness, kidney failure, and lower limb

amputations and is the seventh leading cause of death in Montana, despite the

availability of effective treatment.

      3.     The economic impact of diabetes is staggering. The total estimated cost

of diagnosed diabetes in Montana is $819 million per year.



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      4.     Tens of thousands of diabetics in Montana rely on daily insulin

treatments to survive, and millions more use either oral medications, insulin, or a

combination of both to control their diabetes.

      5.     Defendants     Eli   Lilly,   Novo   Nordisk,   and    Sanofi   (collectively,

“Manufacturer Defendants” or “Manufacturers”) manufacture the vast majority of

insulins and other diabetic medications available in Montana.

      6.     Defendants CVS Caremark, Express Scripts, and OptumRx collectively

dominate the pricing system for the at-issue drugs (collectively, “PBM Defendants” or

“PBMs”).1 The PBM Defendants’ dominance results from the reality that these three

corporate actors are, at once (1) the largest pharmacy benefit managers in the United

States and in Montana (controlling approximately 80% of the PBM market) and (2)

the largest pharmacies in the United States and in Montana (making up 3 of the top

5 dispensing pharmacies in the U.S.). These Defendant corporate conglomerates sit at

4th (CVS Caremark), 5th (OptumRx), and 13th (Express Scripts) on the Fortune 500

list ranking largest corporations by revenue.

      7.     As part of their work, PBM Defendants establish standard formulary

offerings (i.e., approved drug lists). If a drug is not included on a formulary, then it is

not covered by health insurance.

      8.     PBM Defendants understand that their standard formulary offerings

drive drug utilization.



1 In the context of this Complaint, the “at-issue drugs” are Humulin N, Humulin R, Humalog,

Trulicity, Basaglar, Lantus, Toujeo, Apidra, Soliqua, Novolin R, Novolin N, Novolog,
Levemir, Tresiba, Victoza, and Ozempic.


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      9.       Because the three PBM Defendants control 80% of the pharmacy benefit

market, unless they include a drug on one of their standard formulary offerings, it is

not available to 80% of Montana’s citizens.

      10.      The   Manufacturers    likewise    understand    that     PBMs’   standard

formularies drive drug utilization—if Manufacturers want their drugs to be prescribed

and paid for, they must obtain preferrable formulary position on the PBM Defendants’

formularies.

      11.      Given the PBMs’ market power and the crucial role their standard

formularies play in the pharmaceutical pricing chain, both Defendant groups

understand that the PBM Defendants wield enormous control over drug prices and

drug purchasing behavior in Montana.

      12.      The unfair and deceptive scheme at the root of this Complaint—the

Insulin Pricing Scheme2—was born from this mutual understanding.

      13.      Over the course of the last fifteen years, and pursuant to the Insulin

Pricing Scheme, Manufacturer Defendants have in lockstep raised the prices of their

respective diabetes drugs in an astounding manner, even though the cost to produce

these drugs has decreased during that same time period.

      14.      Insulins, which today cost Manufacturer Defendants less than $2 per

drug to produce, and which were originally released at a list price of $20 per drug in

the late 1990s, now carry list prices that range between $300 and $700 per drug.




2 The Insulin Pricing Scheme is further defined in paragraph 20 below.



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      15.    In the last decade alone, Manufacturer Defendants have in tandem

increased the prices of their insulins up to 1,000%, often down to the decimal point,

within a few days of each other.

      16.    Figure 1 illustrates the rate at which Defendant Eli Lilly raised the price

of its analog insulin Humalog, compared to the rate of inflation for other consumer

goods and services from 1997-2018.




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   Figure 1: Price Increase of Insulin vs. Selected Consumer
                             Goods
                         from 1997-2018




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       17.    Remarkably, nothing about these medications has changed; today’s $350

insulin is the exact drug Defendants originally sold for $20.

       18.    The current outrageously inflated price stands in stark contrast to

insulin’s origins: the discoverers sold the original patent for $1 to ensure that the

medication would remain affordable. Today, insulin has become the poster child for

skyrocketing and inflated drug prices. Consumers and payors bear the brunt of this

increase.

       19.    Both Manufacturer and PBM Defendants play vital roles and profit

immensely from the Insulin Pricing Scheme and the artificially inflated prices

produced by it.

       20.    Specifically, the Insulin Pricing Scheme works as follows: first, to gain

formulary access from the PBM Defendants for their diabetic treatments,

Manufacturer Defendants artificially and willingly raise their list prices, and then pay

an undisclosed portion of that price back to the PBMs. These Manufacturer Payments3

are provided under a variety of labels, yet, however they are described, these



3 In  the context of this Complaint, the term “Manufacturer Payments” is defined as all
payments or financial benefits of any kind conferred by the Manufacturer Defendants to PBM
Defendants (or a subsidiary, affiliated entity, or group purchasing organization or rebate
aggregator acting on the PBM’s behalf), either directly via contract or indirectly via
Manufacturer-controlled intermediaries. Manufacturer Payments include rebates,
administrative fees, inflation fees, pharmacy supplemental discounts, volume discounts,
price or margin guarantees, price concessions, indirect purchase fees and rebates, and any
other form of consideration exchanged. This broad definition is necessary because PBMs
historically have continued to change and evolve the nature of their payment streams to avoid
disclosure to clients and disclosure pursuant to state transparency laws. While the route by
which the payment streams reach the PBMs has evolved, the fact that the payments do, in
fact, reach the PBMs has remained the same.


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Manufacturer Payments, along with the inflated list prices, are quid pro quo for

formulary inclusion on the PBMs’ standard offerings.

      21.    The list prices for the at-issue drugs have become so untethered from the

net prices realized by the Manufacturers as to constitute a false price.

      22.    PBMs then grant preferred status on their standard formularies based

upon the largest Manufacturer Payment and the highest inflated list price—which the

PBMs know to be artificially inflated and which the PBMs insist that their payor

clients use as the basis for the price they pay for the at-issue drugs.

      23.    The Insulin Pricing Scheme creates a “best of both worlds” scenario for

Defendants. Manufacturer Defendants are able to make these undisclosed

Manufacturer Payments to buy preferred formulary position—which significantly

increases their revenue—without sacrificing their profits.

      24.    PBM Defendants profit off the inflated list prices that result from the

scheme in numerous ways, including: (1) retaining a significant—yet undisclosed—

percentage of the Manufacturer Payments, either directly or through wholly-owned

rebate aggregators, (2) using the inflated list prices produced by the Insulin Pricing

Scheme to generate profits from pharmacies in their networks, and (3) relying on those

same inflated list prices to drive up the PBMs’ profits through their own pharmacies.

      25.    Thus, while the PBM Defendants represent both publicly and to their

clients that they use their market power to drive down prices for diabetes medications,

these representations are patently false and intended to be deceptive and misleading.




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      26.    Rather, the PBMs are intentionally driving up the price of the at-issue

drugs. Indeed, the Manufacturer Payments that the PBMs receive in exchange for

preferred formulary position, along with the PBMs’ actual formulary construction, are

directly responsible for the skyrocketing price of the at-issue diabetes medications.

      27.    Because the price paid by nearly every diabetic and payor is based upon

the artificially inflated list prices generated by Defendants’ scheme, the Insulin

Pricing Scheme directly harms every diabetic and payor in Montana who purchases

these life-sustaining drugs.

      28.    The consequence to Montana public health and the public treasury from

the outrageous price increases caused by the Insulin Pricing Scheme cannot be

overstated. The State of Montana, as a payor for the at-issue drugs through its

employee health plans, and as a purchaser of the at-issue drugs at state-run facilities,

has been overcharged millions of dollars a year.

      29.    Montana residents suffering from diabetes have also been overcharged

millions of dollars a year in out-of-pocket costs as a result of the Insulin Pricing

Scheme.

      30.    For these Montana residents with diabetes, the physical, emotional, and

financial tolls of paying such excessive prices for diabetes medications is devastating.

Unable to afford the drugs their doctors prescribe, many diabetics in Montana ration

or under-dose their insulin, inject expired insulin, reuse needles, and starve

themselves to control their blood sugars. This behavior is extremely dangerous and

has led to serious complications or even death.




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      31.    In addition to the immeasurable human costs, the Insulin Pricing

Scheme also adds substantial costs to the Montana healthcare system by increasing

preventable complications. For example, one national model found that all people with

diabetes adhering to their diabetes medications would save $8.3 billion in direct

medical costs per year by averting one million emergency department visits and

618,000 hospitalizations.

      32.    Montana shoulders the burden for much of these increased healthcare

costs, spending billions of dollars annually in healthcare-related costs for diabetes and

diabetes-associated complications. The amount that Montana has spent on diabetes-

related costs has steadily increased throughout the relevant time period and could

grow exponentially given the high prevalence of pre-diabetes in Montana.

      33.    Thus, in addition to being overcharged for the at-issue drugs through its

employee benefit programs and purchases for state facilities, the significant increase

in health care expenditures caused by the Insulin Pricing Scheme has also damaged

the State.

      34.    Insulin rationing and the resulting otherwise-avoidable health

complications caused by the Insulin Pricing Scheme leads to a loss in productivity and

tax revenue, further damaging the State.

      35.    The State, through the Honorable Austin Knudsen, Attorney General,

brings this action on behalf of the State of Montana and its residents: (a) to protect

the health and economic well-being of the State as a whole and the heath and economic

well-being of Montana residents; (b) on behalf of the State as a payor for and purchaser




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of the at-issue diabetes medications through its health plans and state-run facilities;

(c) on behalf of the State to recover damages for additional costs it has and will incur

as a result of the Insulin Pricing Scheme; and (d) for injunctive relief that will halt the

Insulin Pricing Scheme.

      36.    This action asserts causes for Defendants’ violations of the MUTPCPA,

unjust enrichment, and civil conspiracy.

      37.    This action seeks injunctive relief, restitution, disgorgement, actual

damages, treble damages, punitive damages, civil penalties, and attorneys’ fees to

address and abate the harm caused by the Insulin Pricing Scheme.

      38.    The relevant period for damages alleged in this Complaint is from 2003

continuing through the present.

                                           PARTIES

      A.     Plaintiff

      39.    Plaintiff, the State of Montana. The State of Montana is the sole

Plaintiff in this action, brought in its name on relation of the Attorney General

Austin Knudsen. The Attorney General is the chief legal officer of the State and is

charged with, among other things, enforcing and seeking redress for violations of

Montana consumer protection laws, including the MUTPCPA.

      40.    The State is authorized to bring this action pursuant to the MUTPCPA,

as Montana has a quasi-sovereign interest in the health and well-being—physically

and economically—of its citizens who have suffered because of Defendants’ conduct

in violation of the MUTPCPA, Mont. Code. Ann.§ 30-14-101, et seq.




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      B.     Manufacturer Defendants

      41.    Defendant Eli Lilly and Company (“Eli Lilly”) is an Indiana

corporation with its principal place of business at Lilly Corporate Center,

Indianapolis, Indiana 46285.

      42.    Eli Lilly is registered to do business in Montana and may be served

through its registered agent: National Registered Agent Inc., 3011 American Way,

Missoula, Montana 59808.

      43.    Eli Lilly holds five active licenses with the Montana Board of Pharmacy.

      44.    These licenses allow Eli Lilly to manufacture, distribute, and sell its at-

issue drugs in Montana.

      45.    In Montana, Eli Lilly promotes and distributes several at-issue diabetes

medications: Humulin N, Humulin R, Humalog, Trulicity, and Basaglar.

      46.    Eli Lilly’s global revenues in 2019 were $4.13 billion from Trulicity, $2.82

billion from Humalog, $1.29 billion from Humulin, and $1.11 billion from Basaglar.

      47.    Eli Lilly’s global revenues in 2018 were $3.2 billion from Trulicity, $2.99

billion from Humalog, $1.33 billion from Humulin, and $801 million from Basaglar.

      48.    Eli Lilly transacts business in Montana, targeting Montana for its

products, including the at-issue diabetes medications.

      49.    Eli Lilly employs sales representatives throughout Montana to promote

and sell Humulin N, Humulin R, Humalog, Trulicity, and Basaglar.

      50.    Eli Lilly also directs advertising and informational materials to Montana

physicians, payors, pharmacies, and diabetics for the specific purpose of selling more

of the at-issue drugs in Montana and profiting from the Insulin Pricing Scheme.


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       51.     At all times relevant hereto, in furtherance of the Insulin Pricing

Scheme, Eli Lilly caused its artificially inflated list prices for the at-issue diabetes

medications to be published throughout Montana with the express knowledge that

Montana residents with diabetes and the State’s payments and reimbursements

would be based on those prices.

       52.     During the relevant time period, the State purchased Eli Lilly’s at-issue

diabetes medications at prices based on the inflated list prices generated by the

Insulin Pricing Scheme through its employee health plans and for use in state-run

facilities.

       53.     During the relevant time period, residents in Montana with diabetes

spent millions of dollars per year out of pocket on Eli Lilly’s at-issue drugs based on

Eli Lilly’s artificially inflated list prices.

       54.     Montana diabetics and the State paid for all of the Eli Lilly diabetes

medications in Montana based on the specific inflated list prices Eli Lilly published in

Montana in furtherance of the Insulin Pricing Scheme.

       55.     Defendant Sanofi-Aventis U.S. LLC (“Sanofi”) is a Delaware limited

liability company with its principal place of business at 55 Corporate Drive,

Bridgewater, New Jersey 08807.

       56.     Sanofi is registered to do business in Montana and may be served

through its registered agent: Corporation Service Company, 26 W. Sixth Avenue,

Helena, Montana 59624.

       57.     Sanofi holds three active licenses with the Montana Board of Pharmacy.




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      58.       These licenses allow Sanofi to manufacture, distribute, and sell its at-

issue drugs in Montana.

      59.       Sanofi promotes and distributes pharmaceutical drugs in Montana,

including several at-issue diabetes medications: Lantus, Toujeo, Soliqua, and Apidra.

      60.       Sanofi’s global revenues in 2019 were $3.50 billion from Lantus, $1.03

billion from Toujeo, $400 million from Apidra, and $144 million from Soliqua.

      61.       Sanofi’s global revenues in 2018 were $3.9 billion from Lantus, $923

million from Toujeo, $389 million from Apidra, and $86 million from Soliqua.

      62.       Sanofi transacts business in Montana and targets Montana for its

products, including the at-issue diabetes medications.

      63.       Sanofi employs sales representatives throughout Montana to promote

and sell Lantus, Toujeo, Soliqua, and Apidra.

      64.       Sanofi also directs advertising and informational materials to Montana

physicians, payors, pharmacies, and diabetics for the specific purpose of selling more

of the at-issue drugs in Montana and profiting from the Insulin Pricing Scheme.

      65.       At all times relevant hereto, in furtherance of the Insulin Pricing

Scheme, Sanofi caused its artificially inflated list prices for the at-issue diabetes

medications to be published throughout Montana with the express knowledge that

payment and reimbursement by Montana diabetics and the State would be based on

these prices.

      66.       During the relevant time period, the State purchased Sanofi’s at-issue

diabetes medications at prices based on artificially inflated list prices generated by




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the Insulin Pricing Scheme through its employee health plans and for use in state-run

facilities.

       67.    During the relevant time period, residents in Montana with diabetes

spent millions of dollars per year out of pocket on Sanofi’s at-issue drugs based on

Sanofi’s artificially inflated list prices.

       68.    Montana diabetics and the State paid for all of the Sanofi diabetes

medications in Montana based on the specific inflated prices Sanofi published in

Montana in furtherance of the Insulin Pricing Scheme.

       69.    Defendant Novo Nordisk Inc. (“Novo Nordisk”) is a Delaware

corporation with its principal place of business at 800 Scudders Mill Road, Plainsboro,

New Jersey 08536.

       70.    Novo Nordisk is registered to do business in Montana and may be served

through its registered agent: CT Corporation System, 3011 American Way, Missoula,

Montana 59808.

       71.    Novo Nordisk holds an active license with the Montana Board of

Pharmacy.

       72.    This license allows Novo Nordisk to manufacture, distribute, and sell its

at-issue drugs in Montana.

       73.    Novo Nordisk promotes and distributes pharmaceutical drugs in

Montana, including the at-issue diabetic medications: Novolin R, Novolin N, Novolog,

Levemir, Tresiba, Victoza, and Ozempic.




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      74.    Novo Nordisk’s global revenues in 2019 were $2.89 billion from Novolog,

$973 million from Levemir, $968 million from Tresiba, $2.29 billion from Victoza,

$248.3 million from Novolin, and $1.17 billion from Ozempic.

      75.    Novo Nordisk’s global revenues in 2018 were $4.19 billion from Novolog,

$1.66 billion from Levemir, $1.19 billion from Tresiba, $3.61 billion from Victoza,

$284.5 million from Novolin, and $185 million from Ozempic.

      76.    Novo Nordisk transacts business in Montana, targeting Montana for its

products, including the at-issue diabetes medications.

      77.    Novo Nordisk employs sales representatives throughout Montana to

promote and sell Novolin R, Novolin N, Novolog, Levemir, Tresiba, Victoza, and

Ozempic.

      78.    Novo Nordisk also directs advertising and informational materials to

Montana physicians, payors, pharmacies, and diabetics for the specific purpose of

selling more of the at-issue drugs in Montana and profiting from the Insulin Pricing

Scheme.

      79.    At all times relevant hereto, in furtherance of the Insulin Pricing

Scheme, Novo Nordisk caused its artificially inflated list prices for the at-issue

diabetes medications to be published throughout Montana with the express knowledge

that Montana diabetics and the State paid for the at-issue drugs based on these prices.

      80.    During the relevant time period, the State purchased Novo Nordisk’s at-

issue diabetes medications at prices based on artificially inflated list prices generated




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by the Insulin Pricing Scheme through its employee health plans and for use in state-

run facilities.

       81.    During the relevant time period, residents in Montana with diabetes

spent millions of dollars per year out of pocket on Novo Nordisk’s at-issue drugs based

on Novo Nordisk’s artificially inflated list prices.

       82.    Montana diabetics and the State paid for all of the Novo Nordisk diabetes

medications in Montana based on the specific inflated prices Novo Nordisk published

in Montana in furtherance of the Insulin Pricing Scheme.

       83.    Collectively, Defendants Eli Lilly, Novo Nordisk, and Sanofi are referred

to as “Manufacturer Defendants” or “Manufacturers.”

       C.     PBM Defendants

       84.    Defendant CVS Health Corporation (“CVS Health”) is a Delaware

corporation with its principal place of business at One CVS Drive, Woonsocket, Rhode

Island 02895. CVS Health transacts business and has locations throughout the United

States and Montana.

       85.    CVS Health may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

       86.    CVS Health, through its executives and employees, including its CEO,

Chief Medical Officer, Executive Vice Presidents, Senior Executives in Trade Finance,

and Chief Communication Officers, is directly involved in the PBM services and

formulary construction related to the Insulin Pricing Scheme that gave rise to the

State’s claims.


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      87.      During the relevant time, CVS Health (or its predecessor)4 has

repeatedly, continuously, and explicitly stated that CVS Health:

            a. “design[s] pharmacy benefit plans that minimize the costs to the client
               while prioritizing the welfare and safety of the clients’ members and
               helping improve health outcomes;”5

            b. “negotiate[s] with pharmaceutical companies to obtain discounted
               acquisition costs for many of the products on [CVS Health’s] drug lists,
               and these negotiated discounts enable [CVS Health] to offer reduced
               costs to clients;”6

            c. “utilize[s] an independent panel of doctors, pharmacists, and other
               medical experts, referred to as its Pharmacy and Therapeutics
               Committee, to select drugs that meet the highest standards of safety and
               efficacy for inclusion on [CVS Health’s] drug lists.”7

      88.      CVS Health publicly represents that CVS Health constructs programs

that lower the costs of the at-issue diabetes medications. For example, in 2016, CVS

Health announced a new program to “reduce overall spending in diabetes” that is

available in all states, including Montana, stating:

      “CVS Health introduced a new program available to help the company’s
      pharmacy benefit management (PBM) clients to improve the health
      outcomes of their members, lower pharmacy costs [for diabetes
      medications] through aggressive trend management and decreased
      medical costs . . . [and that] participating clients could save between
      $3000 to $5000 per year for each member who successfully improves
      control of their diabetes” (emphasis supplied).




4 Until 2014, CVS Health was known as “CVS Caremark.” In September 2014, CVS
Caremark Corporation announced that “it is changing its corporate name to CVS Health to
reflect its broader health care commitment and its expertise in driving the innovations
needed to shape the future of health.”
5 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).
6 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2013).
7 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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      89.      In 2017, CVS Health stated that “CVS Health pharmacy benefit

management (PBM) strategies reduced trend for commercial clients to 1.9 percent per

member per year the lowest in five years. Despite manufacturer price increases of

nearly 10 percent, CVS Health kept drug price growth at a minimal 0.2 percent.”

      90.      Throughout the relevant time period, the Manufacturer Defendants

directly engaged with CVS Health executives in furtherance of the Insulin Pricing

Scheme. Each Manufacturer Defendant has an entire team of executives dedicated

exclusively to interacting with CVS Health.

      91.      Manufacturer Defendants have explicitly recognized that effectuating

the Insulin Pricing Scheme requires “intimacy and connect[ion]” between the

Manufacturer Defendants’ leaders and CVS Health’s leaders in order to align on

“strategic formulary management initiatives to ensure profitable access across all

[standard] formularies.”

      92.      On a regular basis throughout the relevant period, the Manufacturer

Defendants’ executive teams—which at times included their CEOs—met with CVS

Health executives to discuss their coordinated efforts related to the at-issue drugs.

Examples include:

            a. In at least 2011, 2012, 2014, and 2016 the leaders of CVS Health and
               Novo Nordisk participated in executive exchange meetings, which
               included discussions in furtherance of the Insulin Pricing Scheme. These
               meetings included the Executive Vice President of CVS Health (Per
               Lofberg), the Chief Medical Officer of CVS Health (Dr. Troy Brennan),
               members of CVS Health’s Enterprise Operating Committee (Matthew
               Leonard) and key executives from Novo Nordisk.

            b. In at least 2012, 2013, and 2017, the leaders of CVS Health and Eli Lilly
               participated in numerous executive meetings which included discussions
               in furtherance of the Insulin Pricing Scheme. These meetings included


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                 the CEO of CVS Health (Per Lofberg), the COO of CVS Health (Jon
                 Roberts), members of CVS Health’s Enterprise Operating Committee
                 (Matthew Leonard), the President of Eli Lilly (Alex Azar), and the Senior
                 Vice President of Managed Care at Eli Lilly (Frank Cunningham),
                 among others.

              c. In at least 2012 and 2016, the leaders of CVS Health and Sanofi
                 participated in executive meetings which included discussions in
                 furtherance of the Insulin Pricing Scheme. These meetings included the
                 CEO of CVS Health, the COO of CVS Health and members of CVS
                 Health’s Enterprise Operating Committee, among others.

        93.      Defendant CVS Pharmacy, Inc. (“CVS Pharmacy”) is a Rhode

Island corporation whose principal place of business is at the same location as CVS

Health. CVS Pharmacy is a wholly-owned subsidiary of CVS Health.

        94.      CVS Pharmacy owns and operates over a dozen pharmacies throughout

Montana that were directly involved in and profited from the Insulin Pricing Scheme.

        95.      CVS Pharmacy is the immediate and direct parent of Defendant

Caremark Rx, LLC.

        96.      In its capacity as a retail pharmacy, CVS Pharmacy, working in

conjunction with its corporate affiliate entities, knowingly assisted the CVS Health

family in profiting from the artificially inflated list prices produced by the Insulin

Pricing Scheme by pocketing the spread between acquisition cost for the drugs at issue

(an amount well below the list price generated by the Insulin Pricing Scheme), and

the amounts received from payors (which amounts were based on the artificially

inflated list prices and, in many cases, were set by CVS Caremark in its capacity as a

PBM).




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      97.    CVS Pharmacy is registered to do business in Montana and may be

served through its registered agent: CT Corporation System, 3011 American Way,

Missoula, Montana 59808.

      98.    During the relevant time period, CVS Pharmacy provided retail

pharmacy services in Montana that gave rise to the Insulin Pricing Scheme, which

damaged Montana diabetics and the State.

      99.    Defendant Caremark Rx, LLC is a Delaware limited liability

company and its principal place of business is at the same location as CVS Pharmacy

and CVS Health.

      100.   Caremark Rx, LLC is a wholly-owned subsidiary of Defendant CVS

Pharmacy.

      101.   Caremark Rx, LLC may be served through its registered agent: The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware 19801.

      102.   During the relevant time period, Caremark Rx, LLC provided PBM and

mail order pharmacy services in Montana that gave rise to the Insulin Pricing Scheme

and damaged diabetics and payors in Montana, including the State.

      103.   Defendant Caremark, LLC is a California limited liability company

whose principal place of business is at the same location as CVS Health. Caremark,

LLC is a wholly-owned subsidiary of Caremark Rx, LLC




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       104.   Caremark, LLC is registered to do business in Montana and may be

served through its registered agent: CT Corporation System, 3011 American Way,

Missoula, Montana 59808.

       105.   Caremark, LLC holds four active licenses with the Montana Board of

Pharmacy and two active licenses with the Montana Department of Insurance.

       106.   During the relevant time period, Caremark, LLC provided PBM and mail

order pharmacy services in Montana that gave rise to the Insulin Pricing Scheme,

which damaged diabetics and payors in Montana, including the State.

       107.   Defendant CaremarkPCS Health, LLC is a Delaware limited

liability company whose principal place of business is at the same location as CVS

Health. CVS Health is the direct or indirect parent company of CaremarkPCS Health

LLC.

       108.   CaremarkPCS Health, LLC provides pharmacy benefit management

services.

       109.   CaremarkPCS Health, LLC is registered to do business in Montana and

may be served through its registered agent: CT Corporation System, 3011 American

Way, Missoula, Montana 59808.

       110.   CaremarkPCS Health, LLC holds two active licenses with the Montana

Department of Insurance.

       111.   During the relevant time period, CaremarkPCS Health, LLC provided

PBM services in Montana, which gave rise to the Insulin Pricing Scheme and damaged

diabetics and payors in Montana, including the State.




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      112.    As a result of numerous interlocking directorships and shared

executives, Caremark Rx, LLC, CVS Pharmacy, and CVS Health are directly involved

in the conduct of and control of CaremarkPCS Health, LLC and Caremark, LLC’s

operations, management, and business decisions related to the at-issue formulary

construction, Manufacturer Payments, and mail order and retail pharmacy services

to the ultimate detriment of diabetics and payors in Montana, including the State. For

example:

           a. During the relevant time period, these parent and subsidiaries have had
              common officers and directors, including, but not limited to:

                    i.   Thomas S. Moffatt was Vice President and Secretary of
                         Caremark Rx, LLC, CaremarkPCS Health LLC, and
                         Caremark, LLC at the same time he was a Vice President,
                         Assistant Secretary, and Assistant General Counsel at CVS
                         Health and Director, Vice President, and Secretary at CVS
                         Pharmacy;

                   ii.   Melanie K. Luker was the Assistant Secretary of CVS
                         Pharmacy, Caremark Rx, LLC, CaremarkPCS Health, LLC,
                         and Caremark, LLC at the same time she was a Senior
                         Manager of Corporate Services at CVS Health;

                  iii.   Jonathan C. Roberts was an Executive Vice President and
                         Chief Operating Officer at CVS Health at the same time he was
                         CEO of Caremark Rx, LLC;

                  iv.    Daniel P. Davison was the President of CaremarkPCS Health
                         LLC at the same time he was a Senior Vice President at CVS
                         Health; and

                   v.    Annie E. Klis was a Vice President at CVS Health at the same
                         time she was CEO of Caremark, LLC.

           b. CVS Health directly or indirectly owns all the stock of CVS Pharmacy,
              Caremark Rx, LLC, Caremark, LLC and CaremarkPCS Health, LLC.




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          c. All of the executives of CaremarkPCS Health, LLC, Caremark, LLC,
             Caremark Rx, LLC, and CVS Pharmacy ultimately report to the
             executives at CVS Health, including the President and CEO of CVS
             Health.

          d. CVS Health, as a corporate family, does not operate as separate entities.
             The public filings, documents, and statements of CVS Health presents
             its subsidiaries, including CVS Pharmacy, CaremarkPCS Health, LLC,
             Caremark, LLC, and Caremark Rx, LLC as divisions or departments of
             one unified “diversified health services company” that “works together
             across our disciplines” to “create unmatched human connections to
             transform the health care experience.” The day-to-day operations of this
             corporate family reflect these public statements. These entities are a
             single business enterprise and should be treated as such as to all legal
             obligations discussed in this Complaint. The CVS Health enterprise and
             each of these entities, both individually and collectively, engaged in the
             at-issue conduct that gave rise to the Insulin Pricing Scheme.

      113.   Collectively, Defendants CVS Health, CVS Pharmacy, Caremark Rx,

LLC, Caremark, LLC, and CaremarkPCS Health, LLC, including all predecessor and

successor entities, are referred to as “CVS Caremark.”

      114.   CVS Caremark is named as a Defendant in its capacities as a PBM, and

retail and mail order pharmacy.

      115.   In its capacity as a PBM, CVS Caremark coordinates with Novo Nordisk,

Eli Lilly, and Sanofi regarding the artificially-inflated list prices for the at-issue

diabetes medications, as well as for the placement of these firms’ diabetes medications

on CVS Caremark’s formularies.

      116.   CVS Caremark has the largest PBM market share based on total

prescription claims managed, representing approximately 40% of the national market.

CVS Caremark’s pharmacy services segment generated $141.5 billion in total

revenues last year.




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       117.   At all times relevant hereto, CVS Caremark offered pharmacy benefit

services to Montana payors, and derived substantial revenue therefrom. In doing so,

CVS Caremark made the at-issue misrepresentations and utilized the artificially

inflated prices generated by the Insulin Pricing Scheme to profit from Montana

diabetics, payors, and the State.

       118.   At all times relevant hereto, CVS Caremark constructed standard

formularies that are used nationwide, including by CVS Caremark’s payor clients in

Montana and that are relied on by residents in Montana with diabetes as promoting

diabetic health and lowering the price of the at-issue drugs. During the relevant time

period, these standard formularies included the at-issue diabetes medications.

       119.   At all times relevant hereto, and contrary to all its express

representations, CVS Caremark has knowingly insisted that its payor clients,

including in Montana, use the artificially inflated list prices produced by the Insulin

Pricing Scheme as the basis for payment for the price paid for the at-issue drugs.

       120.   At all times relevant hereto, CVS Caremark has concealed its critical role

in the generation of those artificially inflated list prices.

       121.   During the relevant time period, CVS Caremark provided PBM services

to the State. In doing so, CVS Caremark set the price paid by the State for the at-issue

drugs utilizing the artificially inflated prices generated by the Insulin Pricing Scheme.

The State also paid CVS Caremark for the at-issue drugs.

       122.   In its capacity as a mail order and retail pharmacy, CVS Caremark

dispensed the at-issue drugs to Montana diabetics and received payments from




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Montana diabetics and payors based on the artificially inflated prices produced by

the Insulin Pricing Scheme and, as a result, deceived and damaged Montana diabetics

and payors.

        123.   In its capacity as a retail pharmacy, CVS Caremark further and

knowingly profited from the artificially-inflated list prices produced by the Insulin

Pricing Scheme by pocketing the spread between acquisition cost for the drugs at issue

(an amount well below the list price generated by the Insulin Pricing Scheme), and

the amounts they received from payors (which amounts were based on the artificially-

inflated list prices and, in many cases, were set by CVS Caremark in its capacity as a

PBM).

        124.   During the relevant time period, CVS Caremark provided mail order

pharmacy services to the State. In doing so, CVS Caremark dispensed the at-issue

drugs to the State’s health plan beneficiaries.

        125.   CVS Caremark purchases drugs produced by the Manufacturer

Defendants, including the at-issue diabetes medications, for dispensing through its

mail order and retail pharmacies.

        126.   At all times relevant hereto, CVS Caremark had express agreements

with Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer

Payments paid to CVS Caremark and placement on CVS Caremark’s standard

formularies, as well as agreements related to the Manufacturers’ at-issue drugs sold

through CVS Caremark’s mail order and retail pharmacies, including those located

in Montana.




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       127.   Defendant Evernorth Health, Inc. (“Evernorth”), formerly known

as Express Scripts Holding Company, is a Delaware corporation with its principal

place of business at 1 Express Way, St. Louis, Missouri 63121.8

       128.   Evernorth may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

       129.   Evernorth, through its executives and employees, is directly involved in

shaping the company policies that inform its PBM services and formulary

construction, including with respect to the at-issue drugs, related to the Insulin

Pricing Scheme. For example, during the relevant time period Evernorth’s CEO Tim

Wentworth was involved in communications with the Manufacturer Defendants

related to the at-issue drugs and at-issue Manufacturer Payments.

       130.   Evernorth’s conduct has had a direct effect in Montana and damaged

diabetics, the State, and payors in Montana.

       131.   On a regular basis, Evernorth executives and employees communicate

with and direct its subsidiaries related to the at-issue PBM services and formulary

activities.

       132.   Throughout the relevant time period, the Manufacturer Defendants

directly engaged with Evernorth executives in furtherance of the Insulin Pricing




8 Until 2021, Evernorth Health, Inc. conducted business under the name Express Scripts

Holding Company. For the purposes of this Complaint “Evernorth” refers to Evernorth
Health, Inc. and Express Scripts Holding Company.


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Scheme. Each Manufacturer Defendant has an entire team of executives

dedicated exclusively to interacting with Evernorth.

      133.    Manufacturers recognize that effectuating the Insulin Pricing Scheme

requires “enhanced relationships at C Suite level” between the Manufacturers and

Evernorth to “[i]mprove diabetes patient management through collaboration”

and to “work synergistically within [Manufacturer Defendants] to maximize

[Evernorth’s] business opportunities.”

      134.   On a regular basis throughout the relevant time period,           these

Manufacturer executive teams—which at times include the CEOs from these

companies—met with Evernorth to discuss their coordinated efforts related to the at-

issue drugs. Examples include:

         a. In at least 2013, 2014, and 2015 the leaders of Evernorth and Eli Lilly
            participated in executive meetings which included discussions in
            furtherance of the Insulin Pricing Scheme. These meetings included
            the CEO of Evernorth (George Paz), Senior Director of Express Scripts
            Pharmaceutical Strategies & Solutions (Jason Zilocchi), CEO of Eli Lilly
            (John Lechlieter), Head of Eli Lilly’s diabetes division (Enrique
            Conterno), among others.

         b. In at least 2013 and 2014, the leaders of Evernorth and Novo Nordisk
            participated in executive meetings which included discussions in
            furtherance of the Insulin Pricing Scheme.

      135.   Evernorth is the immediate or indirect parent of pharmacy and PBM

subsidiaries that operate throughout Montana, which engaged in the activities that

gave rise to this Complaint.

      136.   In December 2018, Evernorth merged with Cigna in a $67 billion deal to

consolidate their businesses as a major health insurer, PBM and mail order pharmacy.

As a result, the Evernorth corporate family controls the health plan/insurer, the PBM


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and the mail order pharmacies utilized by approximately 15 million Cigna members

in the United States and in Montana. Evernorth controls the entire drug pricing chain

for these 15 million Americans.

      137.   In each annual report for at least the last decade, Evernorth has

repeatedly, continuously, and explicitly stated:9

          a. “[Evernorth] is one of the largest PBMs in North America . . . [and
             Evernorth] help[s] health benefit providers address access and
             affordability concerns resulting from rising drug costs while helping to
             improve healthcare outcomes.”

          b. “[Evernorth] manage[s] the cost of the drug benefit by . . . assists in
             controlling costs; evaluat[es] drugs for efficacy, value, and price to
             assist[ing] clients in selecting a cost-effective formulary; [and] offer[s]
             cost-effective home delivery pharmacy and specialty services that result
             in cost savings for plan sponsors [and better care for members]
             leveraging purchasing volume to deliver discounts to health benefit
             providers.”

          c. “[Evernorth] works with clients, manufacturers, pharmacists, and
             physicians to increase efficiency in the drug distribution chain, to
             manage costs in the pharmacy benefit chain and to improve members’
             health outcomes.”

      138.   Defendant Express Scripts, Inc. is a Delaware corporation and is a

wholly-owned subsidiary of Defendant Evernorth. Express Scripts, Inc.’s principal

place of business is at the same location as Evernorth.

      139.   Express Scripts, Inc. is registered to do business in Montana and may be

served through its registered agent: CT Corporation System 3011 American Way,

Missoula, Montana 59808.




9 Express Scripts Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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      140.   Express Scripts, Inc. holds an active license with the Montana

Department of Insurance.

      141.   Express Scripts, Inc. is the immediate or indirect parent of pharmacy

and PBM subsidiaries that operate throughout Montana that engaged in the conduct,

which gave rise to this Complaint.

      142.   During the relevant time period, Express Scripts, Inc. was directly

involved in the PBM and mail-order pharmacy services, which gave rise to the Insulin

Pricing Scheme and damaged diabetics and payors in Montana.

      143.   Defendant Express Scripts Administrators, LLC, is a Delaware

limited liability company and is a wholly-owned subsidiary of Evernorth. Express

Scripts Administrators, LLC’s principal place of business is at the same location as

Evernorth.

      144.   Express Scripts Administrators, LLC is registered to do business in

Montana and may be served through its registered agent: CT Corporation System,

3011 American Way, Missoula, Montana 59808

      145.   Express Scripts Administrators, LLC holds an active license with the

Montana Department of Insurance.

      146.   During the relevant time period, Express Scripts Administrators, LLC

provided the PBM services in Montana discussed in this Complaint that gave rise to

the Insulin Pricing Scheme that damaged diabetics, the State, and payors in Montana.




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      147.   Defendant Medco Health Solutions, Inc. (“Medco”) is a Delaware

Corporation with its principal place of business located at 100 Parsons Pond Road,

Franklin Lakes, New Jersey, 07417.

      148.   Medco is registered to do business in Montana and may be served

through its registered agent: CT Corporation System, 3011 American Way, Missoula,

Montana 59808.

      149.   Prior to 2012, Medco provided the at-issue PBM and mail order services

in Montana, which gave rise to the Insulin Pricing Scheme and damaged diabetics,

the State, and payors in Montana.

      150.   In 2012, Express Scripts merged with Medco in a $29 billion deal.

      151.   Prior to the merger, Express Scripts and Medco were two of the largest

PBMs in the United States and in Montana.

      152.   Prior to the merger, Medco provided the at-issue PBM and mail-order

services in Montana, which gave rise to the Insulin Pricing Scheme and damaged

diabetic Montana residents and the State

      153.   Following the merger, all of Medco’s PBM and mail-order pharmacy

functions were combined into Express Scripts. The combined company (Medco and

Express Scripts) continued under the name Express Scripts with all of Medco’s payor

customers becoming Express Scripts’ customers. The combined company covered more

than 155 million lives at the time of the merger.

      154.   At the time of the merger, on December 6, 2011, in his testimony before

the Senate Judiciary Committee, then-CEO of Medco, David B Snow, publicly




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represented that “the merger of Medco and Express Scripts will result in immediate

savings to our clients and, ultimately, to consumers. This is because our combined

entity will achieve even greater [Manufacturer Payments] from drug manufacturers

and other suppliers.”

      155.   The then-CEO of Express Scripts, George Paz, during a Congressional

subcommittee hearing in September 2011, echoed these sentiments: “A combined

Express Scripts and Medco will be well-positioned to protect American families from

the rising cost of prescription medicines.”

      156.   Defendant ESI Mail Pharmacy Service, Inc. is a Delaware

corporation and is a wholly-owned subsidiary of Defendant Evernorth. ESI Mail

Pharmacy Service, Inc.’s principal place of business is at the same location as

Evernorth.

      157.   ESI Mail Pharmacy Service, Inc. is registered to do business in Montana

and may be served through its registered agent: CT Corporation System, 3011

American Way, Missoula, Montana 59808.

      158.   ESI Mail Pharmacy Service, Inc. holds three active licenses with the

Montana Board of Pharmacy.

      159.   During the relevant time period, ESI Mail Pharmacy Service, Inc.

provided the mail order pharmacy services in Montana discussed in this Complaint,

which gave rise to the Insulin Pricing Scheme and damaged diabetics, the State, and

payors in Montana.




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      160.   Defendant Express Scripts Pharmacy, Inc. is a Delaware

corporation and is a wholly-owned subsidiary of Defendant Evernorth. Express Scripts

Pharmacy, Inc.’s principal place of business is at the same location as Evernorth.

      161.   Express Scripts Pharmacy, Inc. is registered to conduct business in

Montana and may be served through its registered agent: CT Corporation System,

3011 American Way, Missoula, Montana 59808.

      162.   Express Scripts Pharmacy, Inc. holds six active licenses with the

Montana Board of Pharmacy.

      163.   During the relevant time period, Express Scripts Pharmacy, Inc.

provided the mail order pharmacy services in Montana discussed in this Complaint,

which gave rise to the Insulin Pricing Scheme and damaged diabetics, the State, and

payors in Montana.

      164.   As a result of numerous interlocking directorships and shared

executives, Evernorth and Express Scripts, Inc. are directly involved in the conduct

and control of Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI

Mail Pharmacy Service, Inc., and Express Scripts Pharmacy, Inc’s operations,

management, and business decisions related to the at-issue formulary construction,

Manufacturer Payments, and mail-order pharmacy services to the ultimate detriment

of Montana diabetics, payors, and the State. For example:

         a. During the relevant time period, these parent and subsidiaries have had
            common officers and directors:

                  i.   Officers and directors that have been shared between Express
                       Scripts, Inc. and Evernorth include Bradley Phillips, Chief
                       Financial Officer; David Queller, President; Jill Stadelman,



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                 Secretary; Timothy Smith, Vice President; and Scott Lambert,
                 Treasury Manager Director;

           ii.   Executives that have been shared between Express Scripts
                 Administrators, LLC and Evernorth include Bradley Phillips,
                 Chief Financial Officer; and Priscilla Duncan, Associate
                 Secretary;

          iii.   Officers and directors that have been shared between ESI Mail
                 Pharmacy Service, Inc. and Evernorth include Bradley
                 Phillips, Chief Financial Officer; Priscilla Duncan, Associate
                 Secretary; and Joanne Hart, Associate Treasurer;

          iv.    Officers and directors that have been shared between Express
                 Scripts Pharmacy, Inc. and Evernorth include Bradley
                 Phillips, Chief Financial Officer; Jill Stadelman, Secretary;
                 Scott Lambert, Treasury Manager Director; and Joanne Hart,
                 Associate Treasurer; and

           v.    Officers and directors that have been shared between Medco
                 Health Solutions, Inc. and Evernorth include David Queller,
                 President and Senior VP of Sales & Accounting; Christine
                 Houston, VP and COO; Timothy Smith, VP and Treasurer;
                 and all of the officers of Medco Health Solutions are also
                 officers of Express Scripts, Inc.

   b. Evernorth directly or indirectly owns all the stock of Express Scripts
      Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Pharmacy
      Service, Inc., Express Scripts Pharmacy, Inc., and Express Scripts, Inc.

   c. The Evernorth corporate family does not operate as separate entities.
      The public filings, documents, and statements of Evernorth presents its
      subsidiaries, including Express Scripts Administrators, LLC, Medco
      Health Solutions, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts
      Pharmacy, Inc., and Express Scripts, Inc. as divisions or departments of
      a single company that “unites businesses that have as many as 30+ years
      of experience . . . [to] tak[e] health services further with integrated data
      and analytics that help us deliver better care to more people.” The day-
      to-day operations of this corporate family reflect these public statements.
      All of these entities are a single business enterprise and should be
      treated as such as to all legal obligations detailed in this Complaint. The
      Evernorth enterprise and each of these entities, both individually and
      collectively, engaged in the at-issue conduct that gave rise to the Insulin
      Pricing Scheme.



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          d. All of the executives of Express Scripts Administrators, LLC, ESI Mail
             Pharmacy Service, Inc., Medco Health Solutions, Inc., Express Scripts
             Pharmacy, Inc., and Express Scripts, Inc. ultimately report to the
             executives, including the CEO, of Evernorth.

          e. As stated above, Evernorth’s CEO and other executives and officers are
             directly involved in the policies and business decisions of Express Scripts
             Administrators, LLC, ESI Mail Pharmacy Service, Inc., Medco Health
             Solutions, Inc., Express Scripts Pharmacy, Inc., and Express Scripts, Inc.
             that gave rise to the State’s claims in this Complaint.

      165.   Collectively, Defendants Evernorth Health, Inc., Express Scripts, Inc.,

Express Scripts Administrators, LLC, ESI Mail Pharmacy Service, Inc., Medco Health

Solutions, Inc., and Express Scripts Pharmacy, Inc., including all predecessor and

successor entities, are referred to as “Express Scripts.”

      166.   Express Scripts is named as a Defendant in its capacities as a PBM and

mail-order pharmacy.

      167.   In its capacity as a PBM, Express Scripts coordinates with Novo Nordisk,

Eli Lilly, and Sanofi regarding the artificially inflated list prices for the at-issue

diabetes medications, as well as for the placement of these firms’ diabetes medications

on Express Scripts’ formularies.

      168.   In 2019, Express Scripts was the largest independent PBM in the United

States. During the relevant period of this Complaint, Express Scripts controlled 30%

of the PBM market in the United States.

      169.   In 2017, annual revenue for Express Scripts was more than $100 billion.




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       170.   As of December 31, 2018, more than 68,000 retail pharmacies,

representing more than 98% of all retail pharmacies in the nation, participated in one

or more of Express Scripts’ networks.

       171.   At all times relevant hereto, Express Scripts offered pharmacy benefit

services, and derived substantial revenue therefrom, in Montana and provided the

at-issue PBM services to numerous payors and diabetics in Montana.

       172.   At all times relevant hereto, and contrary to all of their representations,

Express Scripts has knowingly insisted that its payor clients, including those in

Montana, use the artificially-inflated list prices produced by the Insulin Pricing

Scheme as the basis for reimbursement of the at-issue drugs.

       173.   At all times relevant hereto, Express Scripts has concealed its critical

role in the generation of those artificially inflated list prices.

       174.   At all times relevant hereto, Express Scripts constructed standard

formularies that are used nationwide, including by Express Scripts’ payor clients in

Montana, and that are relied on by residents in Montana with diabetes as promoting

diabetic health and lowering the price of the at-issue drugs. During the relevant time

period, these standard formularies included the at-issue diabetes medications.

       175.   During certain years when some of the largest at-issue price increases

occurred, including in 2013 and 2014, Express Scripts worked directly with OptumRx

to negotiate Manufacturer Payments on behalf of OptumRx and its clients in

exchange for preferred formulary placement. For example, in a February 2014 email

released by the U.S. Senate in conjunction with its January 2021 report titled




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“Insulin: Examining the Factors Driving the Rising Cost of a Century Old Drug”

(“January 2021 Senate Insulin Report”), Eli Lilly describes a “Russian nested doll

situation” in which Express Scripts was negotiating rebates on behalf of OptumRx

related to the at-issue drugs for Cigna (who later would become part of Express

Scripts).

       176.   In its capacity as a mail order pharmacy, Express Scripts dispensed the

at-issue drugs to residents in Montana with diabetes and received payments from

Montana diabetics and payors based on the artificially inflated prices produced by

the Insulin Pricing Scheme and, as a result, damaged Montana diabetics, payors,

and the State.

       177.   At all times relevant hereto, Express Scripts derived substantial

revenue providing mail-order pharmacy services in Montana.

       178.   Express Scripts purchases drugs produced by the Manufacturer

Defendants, including the at-issue diabetes medications, for dispensing through its

mail-order pharmacies.

       179.   At all times relevant hereto, Express Scripts had express agreements

with Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer

Payments paid to Express Scripts and placement on Express Scripts’ standard

formularies, as well as agreements related to the Manufacturers’ at-issue drugs sold

through Express Scripts’ mail order and retail pharmacies, including those located in

Montana.




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      180.   Defendant UnitedHealth Group, Inc. (“UnitedHealth Group” or

“UHG”) is a corporation organized under the laws of Delaware with its principal place

of business at 9900 Bren Road East, Minnetonka, Minnesota, 55343.

      181.   UnitedHealth Group, Inc. may be served through its registered agent:

The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware 19801.

      182.   UnitedHealth Group, Inc. is a diversified managed healthcare company.

In 2015, UnitedHealth Group listed revenue in excess of $257 billion, and the company

is currently ranked fifth on the Fortune 500 list. UnitedHealth Group, Inc. offers a

spectrum of products and services including health insurance plans and pharmacy

benefits through its wholly-owned subsidiaries.

      183.   More than one-third of the overall revenues of UnitedHealth Group come

from OptumRx and OptumInsight.

      184.   UnitedHealth Group, through its executives and employees, is directly

involved in the company policies that inform its PBM services and formulary

construction, including with respect to the at-issue drugs and related to the Insulin

Pricing Scheme. For example, executives of UnitedHealth Group structure, analyze,

and direct the company’s overarching, enterprise-wide policies, including PBM and

mail-order services, as a means of maximizing profits across the corporate family.

      185.   UnitedHealth Group’s Sustainability Report states that “OptumRx

works directly with pharmaceutical manufacturers to secure discounts that lower the

overall cost of medications and create tailored formularies – or drug lists – to ensure




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people get the right medications. [UnitedHealth Group] then negotiate[s] with

pharmacies to lower costs at the point of sale . . . [UnitedHealth Group] also operate[s]

[mail order pharmacies] . . . [UnitedHealth Group] work[s] directly with drug

wholesalers and distributors to ensure consistency of the brand and generic drug

supply, and a reliance on that drug supply.”

      186.   On a regular basis throughout the relevant time period, executive teams

from each Manufacturer Defendant—including at times their CEOs—met with

executives from UnitedHealth Group to discuss their coordinated efforts in

furtherance of the Insulin Pricing Scheme. Examples include:

             a.     In at least in 2010, 2016, 2017, and 2018, executives from
             UHG, including CEOs, the Executive Vice President of Corporate
             Affairs, Senior Directors of Diabetes Alliance, CEOs of OptumRx, and
             the Executive Vice President of OptumRx, met and/or engaged in
             discussions with executives at Eli Lilly, including CEO Dave Ricks,
             that included discussions related to the Insulin Pricing Scheme.

             b.    In 2014, the CEO and Senior Vice President of UHG met
             with executives at Novo Nordisk and engaged in discussions,
             including topics related to the Insulin Pricing Scheme.

             c.     In at least 2014 and 2018, executives at UnitedHealth Group,
             including CEOs, met with executives at Sanofi, including CEO of Sanofi
             to engage in discussions, including topics related to the Insulin Pricing
             Scheme. Sanofi’s stated objective for these meetings was to “[l]everage
             the entire Sanofi portfolio of assets to set the stage for future business
             development with UHG, along with establishing a stronger executive
             level strategic relationship with UHG.”

      187.   In 2011, UHG invested significantly in building out OptumRx’s

capabilities. This included UHG forming an enterprise wide UHG Pharmacy Steering

Committee to oversee all UHG-related formularies, including OptumRx, with the goal

of aligning their formularies/PDLs across all their segments (Medicare, commercial



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and managed care) and moving to one P&T committee in 2012. This effort also

included tasking OptumRx with negotiating rebates and manufacturer contracts for

all UHG enterprise-wide formularies.

       188.   UnitedHealth Group’s conduct had a direct effect in Montana and

damaged diabetics and payors in Montana and the State

       189.   Defendant OptumInsight, Inc. is a Delaware corporation with its

principal place of business located in Eden Prairie, Minnesota.

       190.   OptumInsight, Inc. is registered to do business in Montana and may be

served through its registered agent: CT Corporation System, 3011 American Way,

Missoula, Montana 59808.

       191.   OptumInsight, Inc. holds one active license with the Department of

Insurance in Montana.

       192.   During the relevant time period, due to name changes and mergers, a

number of different entities make up what is now known as OptumInsight, including

Ingenix, Innovus, i3, QualityMetric, Htanalytics, ChinaGate, CanReg, and the Lewin

Group. For the purposes of this Complaint, “OptumInsight” refers to each of these

entities.

       193.   OptumInsight is an integral part of the Insulin Pricing Scheme and

during the relevant time period OptumInsight coordinated directly with the

Manufacturer Defendants in furtherance of the conspiracy. OptumInsight analyzed

data and other information from the PBM and Manufacturer Defendants to advise




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Defendants with regard to the profitability of the Insulin Pricing Scheme to the benefit

of all Defendants.

      194.   Each Manufacturer Defendant had dedicated executives assigned to

OptumInsight for the purpose of collaborating with key executives and coordinating

with OptumInsight for data acquisition and utilization.

      195.   The Manufacturers utilized their relationships with OptumInsight to

deepen their ties to the overall UnitedHealth Group corporate family and to secure

formulary wins for their diabetes medications.

      196.   During the relevant time period, OptumInsight partnered with

OptumRx to offer the at-issue pharmacy benefit and data and cost analysis services

that gave rise to the Insulin Pricing Scheme to Montana diabetics and payors.

      197.   Defendant OptumRx, Inc. is a California corporation with its principal

place of business at 2300 Main St., Irvine, California, 92614.

      198.   OptumRx, Inc. is registered to do business in Montana and may be

served through its registered agent: CT Corporation System, 3011 American Way,

Missoula, Montana 59808.

      199.   OptumRx, Inc. holds two active licenses with the Montana Board of

Pharmacy and two active licenses with the Montana Department of Insurance.

      200.   During the relevant time period, OptumRx, Inc. provided the PBM and

mail-order pharmacy services in Montana that gave rise to the Insulin Pricing

Scheme, which damaged diabetics and payors in Montana.




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      201.   As a result of numerous interlocking directorships and shared

executives, UnitedHealth Group is directly involved in the conduct and control of

OptumInsight and OptumRx’s operations, management, and business decisions

related to the at-issue formulary construction, negotiations, and mail-order pharmacy

services to the ultimate detriment of Montana diabetics and payors, including the

State. For example:

             a.    These parent and subsidiaries have common officers and directors,
             including:

                i.    Sir Andrew Witty is president of UnitedHealth Group and CEO of
                      Optum, Inc.;

               ii.    Dan Schumacher is president of Optum, Inc, the Chief Strategy
                      and Growth Officer at UnitedHealth Group, Inc. and oversees
                      OptumInsight;

              iii.    Terry Clark is a senior vice president and chief marketing officer
                      at UnitedHealth Group and also oversees the branding,
                      marketing, and advertising for UnitedHealth Group and Optum,
                      Inc.;

              iv.     Tom Roos serves as chief accounting officer for UnitedHealth
                      Group and Optum, Inc.;

               v.     Heather Lang is Deputy General Counsel, Subsidiary Governance
                      at UnitedHealth Group, Inc. and also Assistant Secretary at
                      OptumRx, Inc.;

              vi.     Peter Gill is Vice President at UnitedHealth Group, Inc. and also
                      Treasurer at OptumRx, Inc.;

             vii.     John Santelli leads Optum Technology, the leading technology
                      division of Optum, Inc serving the broad customer base of Optum
                      and UnitedHealthcare and also serves as UnitedHealth Group’s
                      chief information officer;

             viii.    Eric Murphy is the Chief Growth and Commercial Officer for
                      Optum, Inc. and has also led OptumInsight, Inc.



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             ix.   Timothy Wicks, CFO and Executive Vice President of Industry
                   and Network relations for OptumRx, Inc. also held “executive
                   management positions” with UnitedHealth Group “including
                   operations product management and business development roles
                   at UnitedHealthcare, OptumInsight and most recently, Optum
                   Shared Services.”

             b.   UnitedHealth Group directly or indirectly owns all the stock of
             OptumRx, Inc. and OptumInsight, Inc.

             c.      The UnitedHealth Group corporate family does not operate as
             separate entities. The public filings, documents, and statements of
             UnitedHealth Group presents its subsidiaries, including OptumRx, Inc.
             and OptumInsight as divisions or departments of a single company that
             is “a diversified family of businesses” that “leverages core competencies”
             to “help[] people live healthier lives and helping make the health system
             work better for everyone.” The day-to-day operations of this corporate
             family reflect these public statements. These entities are a single
             business enterprise and should be treated as such as to all legal
             obligations detailed in this Complaint. Indeed, UHG and OptumRx
             represent directly to their clients and potential clients in Montana,
             including the State, that the “Optum family of companies—OptumRx,
             OptumHealth and OptumInsight—each wholly owned subsidiaries of
             UnitedHealth Group” work as a cohesive unit to offer the at-issue
             services related to the Insulin Pricing Scheme in Montana.

             d.     The UnitedHealth Group enterprise and each of these entities,
             both individually and collectively, engaged in the at-issue conduct that
             gave rise to the Insulin Pricing Scheme.

             e.     All the executives of OptumRx, Inc. and OptumInsight ultimately
             report to the executives, including the CEO, of UnitedHealth Group.

      202.   As stated above, UnitedHealth Group’s executives and officers are

directly involved in the policies and business decisions of OptumRx, Inc. and

OptumInsight that gave rise to the State’s claims in this Complaint.

      203.   OptumRx is named as a Defendant in its capacities as a PBM and mail-

order pharmacy.




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       204.      Collectively, Defendants UnitedHealth Group, OptumRx, Inc., and

OptumInsight, Inc., including all predecessor and successor entities, are referred to

as “OptumRx.”

       205.      In its capacity as a PBM, OptumRx coordinates with Novo Nordisk, Eli

Lilly, and Sanofi regarding the artificially inflated list prices for the at-issue diabetes

medications, as well as, for the placement of these firms’ diabetes medications on

OptumRx’s drug formularies.

       206.      On a regular basis throughout the relevant time period, executive teams

from each Manufacturer Defendant—including at times their CEOs—met with

executives from OptumRx to discuss their coordinated efforts in furtherance of the

Insulin Pricing Scheme. Examples include:

              a. In at least April 2015, the Executive Vice President at UnitedHealth
                 Group, the Chief Commercial Officer at Optum Analytics, the Vice
                 President of OptumRx, the Vice President of OptumInsight, among
                 other executives met with Vice President of Market Access and the
                 Executive Vice President of Strategic Accounts, among other executives
                 from Novo Nordisk at UnitedHealth Group’s corporate headquarters to
                 discuss their strategic overview and prioritized opportunities in
                 diabetes.

              b. In at least October 2016, the CEO of OptumRx, Mark Thierer, and the
                 CEO of UnitedHealth Group, Steve Hemsley, met the CEO of Eli Lilly,
                 Dave Ricks, to discuss “strategic initiatives” between UHG/OptumRx
                 and Eli Lilly.

       207.      OptumRx provides PBM services to more than 65 million people in the

nation through a network of more than 67,000 retail pharmacies and multiple delivery

facilities.

       208.      In 2019, OptumRx managed more than $96 billion in pharmaceutical

spending, with a revenue of $74 billion.


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       209.   Prior to 2011, OptumRx was known as Prescription Solutions. In

addition, OptumRx rose to power through numerous mergers with other PBMs. For

example, in 2012, a large PBM, SXC Health Solutions bought one of its largest rivals,

Catalyst Health Solutions Inc. in a roughly $4.14 billion deal. Shortly thereafter,

SXC Health Solutions Corp. renamed the company Catamaran Corp. Following this,

UnitedHealth Group bought Catamaran Corp in a deal worth $12.8 billion and

combined Catamaran with OptumRx.

       210.   Prior to merging with OptumRx (or being renamed), Prescription

Health Solutions, Catalyst Health Solutions, Inc., and Catamaran Corp. engaged in

the at-issue PBM and mail order activities in Montana.

       211.   At all times relevant hereto, OptumRx derived substantial revenue

providing pharmacy benefits in Montana.

       212.   At all times relevant hereto, and contrary to all their express

representations, OptumRx has knowingly insisted that its payor clients, including

its payor clients in Montana, use the artificially inflated list prices produced by the

Insulin Pricing Scheme as the basis for reimbursement of the at-issue drugs.

       213.   At all times relevant hereto, OptumRx has concealed its critical role in

the generation of those artificially-inflated list prices.

       214.   At all times relevant hereto, OptumRx offered pharmacy benefit

management services nationwide and constructed standard formularies that are used

throughout Montana by payors and diabetics, and that are relied on by residents in

Montana with diabetes as promoting diabetic health and lowering the price of the at-




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issue drugs. During the relevant time period, these standard formularies included the

at-issue diabetes medications.

      215.   In its capacity as a mail-order pharmacy, OptumRx dispensed the at-

issue drugs to Montana diabetics and received payments from Montana diabetics and

payors based on the artificially inflated prices produced by the Insulin Pricing Scheme

and, as a result, damaged Montana diabetics and payors, including the State.

      216.   At all times relevant hereto, OptumRx purchased drugs produced by the

Manufacturer Defendants, including the at-issue diabetes medications, and dispensed

the at-issue medications to diabetics in Montana through its mail-order pharmacies.

      217.   At all times relevant hereto, OptumRx had express agreements with

Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer Payments

paid by the Manufacturer Defendants to OptumRx, as well as agreements related to

the Manufacturers’ at-issue drugs sold through OptumRx’s mail-order pharmacies.

      218.   Collectively, CVS Caremark, OptumRx, and Express Scripts are referred

to as “PBM Defendants” or “PBMs.”

      219.   Collectively, the “PBM Defendants” and the “Manufacturer Defendants”

are referred to as “Defendants.”

                                   PUBLIC INTEREST

      220.   This action seeks, on behalf of the State of Montana and its citizens, legal

and equitable relief to redress injury and damage, as well as injunctive relief seeking

an end to Defendants’ misconduct. The State of Montana has an interest in protecting

the well-being of the tens of thousands of diabetic citizens of the State of Montana who




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rely on the at-issue diabetic medications and have been damaged, and continue to be

damaged, by the Insulin Pricing Scheme.

      221.   Further, as a direct result of the Insulin Pricing Scheme, the State of

Montana has been damaged by having to pay millions of dollars per year in

overcharges as a payor for and purchaser of the at-issue drugs and having to pay for

increased healthcare costs caused by the Insulin Pricing Scheme.

      222.   The State of Montana is a real party in interest in this action. Acting

as a constitutional officer of the State of Montana, the Attorney General institutes

this action to protect the health and economic interests of its residents, the State’s

interests, and the integrity of its healthcare system.     The Attorney General is

authorized to bring this action under the MUTPCPA, to recover damages, punitive

damages, restitution, penalties, disgorgement, injunctive relief, and to remediate all

harm arising out of—and provide full relief for—violations of Montana laws.

                             JURISDICTION AND VENUE

      223.   This Court has personal jurisdiction over Defendants because

Defendants: (a) transact business and/or are admitted to do business within

Montana; (b) maintain substantial contacts in Montana; and (c) committed the

violations of Montana statutes at issue in this lawsuit in whole or in part within

Montana. The Insulin Pricing Scheme has been directed at, and has had the

foreseeable and intended effect of, causing injury to persons residing in, located in,

or doing business in Montana, and to the State. All of the at-issue transactions

occurred in Montana or involved Montana residents or businesses. This Court has

personal jurisdiction over all Defendants pursuant to Fed. R. Civ. P. 4(k)(1)(A)


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because they would be subject to the jurisdiction of a court of general jurisdiction in

Montana.

      224.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c),

because each Defendant transacts business in, is found in, and/or has agents in this

District, and the actions giving rise to the Complaint took place within this District.

In particular, at all times during the relevant time period, Defendants provided

pharmacy benefit services, provided mail order pharmacy services, employed sales

representatives, promoted and sold diabetes medications and published prices of the

at-issue drugs in this District.

                                   FACTUAL ALLEGATIONS

      A.     Diabetes and Insulin Therapy.

             1.     Diabetes: A growing epidemic.

      225.   Diabetes is a disease that occurs when a person’s blood glucose, also

called blood sugar, is too high. In a non-diabetic person, the pancreas secretes the

hormone insulin, which controls the rate at which food is converted to glucose, or

sugar, in the blood. When there is not enough insulin or cells stop responding to

insulin, too much blood sugar stays in the bloodstream. Over time, that can cause

serious health problems, such as heart disease, vision loss, and kidney disease.

      226.   There are two basic types of diabetes. Roughly 90-95% of diabetics

developed the disease because they do not produce enough insulin or have become

resistant to the insulin their bodies do produce. Known as Type 2, this form of diabetes

is often developed later in life. While Type 2 patients can initially be treated with




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medication in the form of a pill, in the long term most patients require insulin

injections.

       227.   The other type of diabetes, known as Type 1 diabetes, occurs when a

patient completely ceases insulin production. In contrast to Type 2 patients, people

with Type 1 diabetes do not produce any insulin and, without regular injections of

insulin, will die.

       228.   Insulin treatments are a necessary part of life for those who have

diabetes. Interruptions to a diabetic’s insulin regimen can have severe consequences.

Missed or inadequate insulin therapy can trigger hyperglycemia and then diabetic

ketoacidosis. Left untreated, diabetic ketoacidosis can lead to loss of consciousness

and death within days.

       229.   The number of Americans with diabetes has exploded in the last half

century. In 1958, only 1.6 million people in the United States had diabetes. By the

turn of the century, that number had grown to more than 10 million people. Fourteen

(14) years later, the count tripled again. Now more than 30 million people—9.4% of

the country—live with the disease.

       230.   Likewise, the prevalence of diabetes in Montana has been steadily

increasing as well. Over 80,000 Montana adults now live with diabetes and another

285,000 have prediabetes.

       231.   The burden of diabetes is not equally distributed in Montana. Diabetes

is significantly more prevalent in impoverished regions; nearly one in four residents

in Montana who earn less than $25,000 a year have diabetes.




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             2.    Insulin: A century old drug.

      232.   Despite its potentially deadly impact, diabetes is a highly-treatable

illness. For patients who are able to follow a prescribed treatment plan consistently,

the health complications associated with the disease are avoidable.

      233.   Unlike many high-burden diseases, treatment for diabetes has been

available for almost a century.

      234.   In 1922, Frederick Banting and Charles Best, while working at the

University of Toronto, pioneered a technique for removing insulin from an animal

pancreas that could then be used to treat diabetes. After discovery, Banting and Best

obtained a patent and then sold it to the University of Toronto for $1 (equivalent to

$14 today), explaining “[w]hen the details of the method of preparation are published

anyone would be free to prepare the extract, but no one could secure a profitable

monopoly.”

      235.   After purchasing the patent, the University of Toronto contracted with

Defendants Eli Lilly and Novo Nordisk to scale their production. Under this

arrangement, Eli Lilly and Novo Nordisk were allowed to apply for patents on

variations to the manufacturing process.

      236.   Although early iterations of insulin were immediately perceived as

lifesaving, there have been numerous incremental improvements since its discovery.

The earliest insulin was derived from animals and, until the 1980s, was the only

treatment for diabetes.

      237.   While effective, animal-derived insulin created the risk of allergic

reaction. This risk was lessened in 1982 when synthetic insulin, known as human


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insulin, was developed by Defendant Eli Lilly. Eli Lilly marketed this insulin as

Humulin. The development of human insulin benefited heavily from government and

non-profit funding through the National Institute of Health and the American Cancer

Society.

      238.   Over a decade later, Defendant Eli Lilly developed the first analog

insulin, Humalog, in 1996.

      239.   Analog insulin is laboratory grown and genetically-altered insulin.

Analogs are slight variations on human insulin that make the injected treatment act

more like the insulin naturally produced and regulated by the body.

      240.   Other rapid-acting analogs are Defendant Novo Nordisk’s Novolog and

Defendant Sanofi’s Apidra, with similar profiles. Diabetics use these rapid-acting

insulins in combination with longer-acting insulins, such as Sanofi’s Lantus and Novo

Nordisk’s Levemir.

      241.   Manufacturer Defendants introduced these rapid-acting and long-acting

analog insulins between 1996 and 2007.

      242.   In 2015, Sanofi introduced Toujeo, another long-acting insulin also

similar to Lantus, however Toujeo is highly concentrated, making injection volume

smaller than Lantus.

      243.   In 2016, Eli Lilly introduced Basaglar, which is a long-acting insulin that

is biologically similar to Sanofi’s Lantus.




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      244.   Even though insulin was first extracted nearly 100 years ago, only

Defendants Eli Lilly, Novo Nordisk, and Sanofi manufacture insulin in the United

States.

      245.   Many of the at-issue diabetes medications are now off patent. However,

the Manufacturers have engaged in illicit tactics to maintain their complete market

dominance.

      246.   Due in large part to their ability to stifle all competition, Manufacturer

Defendants make 99% of the insulins in the market today.

             3.     Current insulin landscape.

      247.   While insulin today is generally safer and more convenient to use than

when originally developed in 1922, there remain questions whether the overall

efficacy of insulin has significantly improved over the last twenty (20) years.

      248.   For example, while long-acting analogs may have certain advantages

over human insulins, such as affording more flexibility around mealtime planning, it

has yet to be shown that analogs lead to better long-term outcomes.

      249.   A recent study published in the Journal of American Medical Association

suggests that older human insulins may work just as well as newer analog insulins

for patients with Type 2 diabetes.

      250.   When discussing the latest iterations of insulins, Harvard Medical

School professor David Nathan recently stated:

      I don’t think it takes a cynic such as myself to see most of these [insulins]
      are being developed to preserve patent protection. The truth is they are
      marginally different, and the clinical benefits of them over the older
      drugs have been zero.



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      251.   All the insulins at issue in this case have either been available in the

same form since the late 1990s/early 2000s or are biologically equivalent to insulins

that were available then.

      252.   Dr. Kasia Lipska, a Yale researcher and author of a 2018 study in the

Journal of the American Medical Association on the cost of insulin, explained:

      We’re not even talking about rising prices for better products here. I
      want to make it clear that we’re talking about rising prices for the same
      product . . . there’s nothing that’s changed about Humalog. It’s the same
      insulin that’s just gone up in price and now costs ten times more.

      253.   The production and research and development costs have also not

increased. In fact, in the last 10 years, the production costs of insulin have decreased

as manufacturers simplified and optimized processes. A recent 2018 study published

in BMJ Global Health calculated that, based on production costs, a reasonable price

for a year’s supply of human insulin is $48 to $71 per person and between $78 and

$133 for analog insulins—which includes delivering a profit to manufacturers.

      254.   Another recent study noted anecdotal evidence that the Manufacturers

could be profitable charging under $2 a vial. While the study estimated the total cost

(including device and cold-chain distribution) to produce a vial of analog insulin was

$2.50, the study noted:

      If we are wrong on [the $2.50 cost estimate] it would be by overestimating
      them. In short, [while we calculate] costs are likely around $2.50 pen/vial
      . . . in discussion with Biocon (a foreign insulin manufacturer) we were
      told insulin price in India was ∼$2/vial and Biocon is “comfortably
      profitable” at that level. In another discussion we were told Sanofi offered
      Lantus at under $1.60 in certain emerging markets national tenders.




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         255.   These figures stand in stark contrast to the $5,705 that a diabetic spent,

on average, for insulin in 2016.

         256.   Further, while research and development costs often make up a large

percentage of the price of a drug, in the case of insulin the initial basic research—

original drug discovery and patient trials—was performed 100 years ago.

         257.   Even the more recent costs, such as developing the recombinant DNA

fermentation process and the creation of insulin analogs, were incurred decades ago

by the Manufacturers.

         258.   Today, Manufacturer Defendants only spend a fraction of the billions of

dollars in revenue they generate from the at-issue drugs on research and

development.

         259.   Despite this decrease in production costs, and no new research and

development, the reported price of insulins has risen astronomically over the last 15

years.

                4.    Insulin adjuncts: Type 2 medications.

         260.   Over the past decade, Manufacturer Defendants have also released a

number of non-insulin medications that help control the level of insulin in the

bloodstream of Type 2 diabetics.

         261.   In 2010, Novo Nordisk released Victoza as an adjunct to insulin to

improve glycemic control. In 2014, Eli Lilly released a similar drug, Trulicity. In 2016,

Sanofi did the same with Soliqua, and in 2017, Novo Nordisk did the same with

Ozempic.




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      262.   Victoza, Trulicity, and Ozempic are all medications known as glucagon-

like peptide-1 receptor agonists (“GLP-1”) and are similar to the GLP-1 hormone that

is already produced in the body. Soliqua is a combination long-acting insulin and GLP-

1 drug. Each of these drugs can be used in conjunction with insulins to control

diabetes.

      263.   Today, Manufacturer Defendants have a dominant position in the

market for all diabetes medications. The following is a list of diabetes medications at

issue in this lawsuit:




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            Table 1: Diabetes medications at issue in this case

  Insulin                                                       FDA           Current
                  Action         Name             Company
   Type                                                       Approval          Price
Human          Rapid-Acting    Humulin R          Eli Lilly     1982     $178 (vial)
                               Humulin R          Eli Lilly    1994      $1,784 (vial)
                                 500                                     $689 (pens)
                              Novolin R            Novo        1991      $165 (vial)
                                                  Nordisk                $312 (pens)
               Intermediate    Humulin N          Eli Lilly    1982      $178 (vial)
                                                                         $566 (pens)
                              Humulin 70/30       Eli Lilly    1989      $178 (vial)
                                                                         $566 (pens)
                                Novolin N          Novo        1991      $165 (vial)
                                                  Nordisk                $312 (pens)
                              Novolin 70/30        Novo        1991      $165 (vial)
                                                  Nordisk                $312 (pens)
Analog         Rapid-Acting     Humalog           Eli Lilly    1996      $342 (vial)
                                                                         $636 (pens)
                                 Novolog           Novo        2000      $347 (vial)
                                                  Nordisk                $671 (pens)
                                 Apidra            Sanofi      2004      $341 (vial)
                                                                         $658 (pens)
               Long-Acting       Lantus            Sanofi      2000      $ 340 (vial)
                                                                         $510 (pens)
                                Levemir            Novo        2005      $ 370 (vial)
                                                  Nordisk                $ 555 (pens)
                                Basaglar          Eli Lilly    2016      $392 (pens)
                               (Kwikpen)
                                  Toujeo           Sanofi      2015      $466 (pens)
                                (Solostar)                               $622 (max pens)
                                 Tresiba           Novo        2015      $407 (vial)
                                                  Nordisk                $610 (pens – 100u)
                                                                         $732 (pens – 200u)
Type 2                          Trulicity         Eli Lilly    2014      $1,013 (pens)
Medications
                                 Victoza           Novo        2010      $813 (2 pens)
                                                  Nordisk                $1,220 (3 pens)
                                Ozempic            Novo        2017      $1,022 (pens)
                                                  Nordisk
                                 Soliqua           Sanofi      2016      $927.90 (pens)




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      B.     The Dramatic Rise in the Price of Diabetes Medications.

             1.     Insulin price increases.

      264.   In 2003, PBMs began their rise to power (which will be discussed in

greater detail in the next section).

      265.   That same year, the price of insulin began its dramatic rise to its current

exorbitant level.

      266.   Since 2003, the list price of certain insulins has increased in some

cases by more than 1,000% — an astounding increase especially when compared to

a general inflation rate of 8.3% and a medical inflation rate of 46% in this same time

period.

      267.   By 2016, the average price per month of the four most popular types of

insulin rose to $450, and costs continue to rise, so much so that now one in four

diabetics is skimping on or skipping lifesaving doses. This behavior is dangerous to a

diabetic’s health and can lead to a variety of complications and even death.

      268.   Since 1997, Defendant Eli Lilly has artificially inflated the list price of a

vial of Humulin R (500U/ML) from $165 to $1,784 (See Figure 2).




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      Figure 2: Rising list prices of Humulin R (500U/mL)
                         from 1997-2021




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      269.   Since 1996, Defendant Eli Lilly has artificially inflated the list price for

a package of pens of Humalog from less than $100 to $663, and from less than $50 to

$342 per vial (See Figure 3).

             Figure 3: Rising list prices of Humalog vials and pens
                                 from 1996-2021




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      270.   Novo Nordisk has also artificially inflated the list prices—from 2006 to

2020, Levemir rose from $162 to $555 for pens, and from under $100 to $370 per vial

(See Figure 4).

             Figure 4: Rising list prices of Levemir from 2006-2021




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      271.   From 2002 to 2020, Novo Nordisk has artificially inflated the list price of

Novolog from $108 to $671 for a package of pens, and from less than $50 to $347 per

vial (See Figure 5).

             Figure 5: Rising list prices of Novolog vials and pens
                                 from 2002-2021




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       272.   Defendant Sanofi has kept pace as well, artificially inflating the list price

for Lantus, the top-selling analog insulin, from less than $200 in 2006, to more than

$500 in 2020 for a package of pens, and from less than $50 to $340 per vial (See Figure

6).

              Figure 6: Rising list prices of Lantus vials and pens
                                 from 2001-2021




       273.   Manufacturer Defendants’ non-insulin diabetes medications have

experienced similar recent price increases. For example, since 2015, Eli Lilly has

artificially inflated the list price of Trulicity by almost 50%.

       274.   Driven by these price hikes, payors’ and diabetics’ spending on diabetes

medications has skyrocketed with totals in the tens of billions of dollars.


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               2.    Manufacturers increased prices in lockstep.

      275.     The timing of the list price increases reveal that each Manufacturer

Defendant has not only dramatically increased prices for the at-issue diabetes

treatments, but they have also done so in perfect lockstep as a result of their

coordinated efforts in furtherance of the Insulin Pricing Scheme.

      276.     In 13 instances since 2009, competitors Sanofi and Novo Nordisk raised

the list prices of their insulins, Lantus and Levemir, in tandem, taking the same price

increase within a few days of each other.

      277.     Novo Nordisk and Sanofi’s lockstep increases for the at-issue drugs were

responsible for the highest drug price increases in the entire pharmaceutical industry

during 2016.

      278.     Eli Lilly and Novo Nordisk have engaged in the same lockstep behavior

with respect to their rapid-acting analog insulins, Humalog and Novolog. Figure 7

demonstrates this collusive behavior with respect to Lantus and Levemir. Figure 8

demonstrates this behavior with respect to Humalog and Novolog.




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       Figure 7: Rising list prices of long-acting insulins




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      Figure 8: Rising list prices of rapid-acting insulins




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      279.    Figure 9 demonstrates this behavior with respect to the human insulins,

Eli Lilly’s Humulin and Novo Nordisk’s Novolin.

             Figure 9: Rising list price increases for human insulins




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      280.   Figure 10 demonstrates Manufacturer Defendants’ lockstep price

increases for their Type 2 drugs, Trulicity, Victoza, Ozempic, and Soliqua.

                  Figure 10: Rising list prices of Type 2 drugs




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      281.   Figure 11 shows how, collectively, Manufacturer Defendants have

exponentially raised the prices of insulin products in near perfect unison for decades.

                  Figure 11: Lockstep insulin price increases




      282.   Because of Manufacturer Defendants’ collusive price increases, nearly a

century after the discovery of insulin, diabetes medications have become unaffordable

for many diabetics.

      C.     Pharmaceutical Payment and Supply Chain.

      283.   The prescription drug industry consists of a deliberately opaque network

of entities engaged in multiple distribution and payment structures. These entities

include drug manufacturers, wholesalers, pharmacies, health plans/third party

payors, pharmacy benefit managers, and patients.

      284.   Generally speaking, branded prescription drugs, such as the at-issue

diabetes medications, are distributed in one of two ways: (1) from manufacturer to

wholesaler, wholesaler to pharmacy, and pharmacy to patient; or (2) from

manufacturer to mail-order pharmacy, and mail-order pharmacy to patient.




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      285.    The pharmaceutical industry, however, is unique in that the pricing

chain is distinct from the distribution chain. The prices for the drugs distributed in

the pharmaceutical chain are different for each participating entity: different actors

pay different prices set by different entities for the same drugs. The unifying factor is

that the price that each entity in the pharmaceutical chain pays for a drug is directly

tied to the manufacturer’s list price.

      286.   There is no transparency in this pricing system; typically, only a brand

drug’s list price—also known as its Wholesale Acquisition Cost (WAC) or the

mathematically-related Average Wholesale Price (AWP)—is available. To note,

“Wholesale Acquisition Cost” is not the final price that wholesalers (or any other entity

in the pharmaceutical pricing chain) pay for the Manufacturers’ drugs. The final price

that a wholesaler pays the Manufacturers is less than WAC because of post-purchase

discounts.

      287.   Drug manufacturers self-report WAC, or other prices upon which AWP

is based, to publishing compendiums such as First DataBank, Redbook, and others

who then publish that price.

      288.   As a direct result of the PBMs’ conduct, AWP persists as the most

commonly and continuously used list price in reimbursement and payment

calculations and negotiations for both payors and patients.

             1.     Drug Costs for Diabetics.

      289.   Whether insured or not, all residents in Montana with diabetes pay a

substantial part of their diabetic drug costs based on the false and deceptive list

prices generated by the Insulin Pricing Scheme.


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         290.   Uninsured diabetics must pay the full, point-of-sale price (based on the

artificial prices generated by the Insulin Pricing Scheme) every time they fill their

prescription. In Montana, 9.1% of the population—or 275,000 residents are

uninsured. Approximately 18% of uninsured residents in Montana are diabetic. As a

direct result of the Insulin Pricing Scheme, the prices uninsured residents in

Montana pay for the at-issue life-sustaining drugs has skyrocketed over the last 15

years.

         291.   The uninsured are not the only patients saddled with high costs.

Insured diabetics also often pay a significant portion of a drug’s price out-of-pocket

including in deductibles, coinsurance requirements, or copayment requirements

based on the artificially inflated list prices generated by the Insulin Pricing Scheme.

         292.   Thus, nearly all Montana diabetics have been damaged by having to

pay for diabetes medications out-of-pocket based upon the artificial prices generated

by the Insulin Pricing Scheme. In many cases, diabetic residents in Montana cannot

afford these life-sustaining drugs.

         293.   The exorbitant out-of-pocket costs created by the Insulin Pricing

Scheme make it more difficult, if not impossible, for patients to adhere to their doctor-

prescribed medication regime. Often this results in avoidable complications and

higher overall healthcare costs. An American Diabetes Association working group

recently noted that “people with high cost-sharing are less adherent to recommended

dosing, which results in short- and long-term harm to their health.”




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      294.   The overall economic impact from the loss of productivity and increased

healthcare costs that result from diabetics underdosing on their insulin has been

deeply damaging to the State.

             2.     PBMs’ role in the pharmaceutical payment chain.

      295.   PBMs are at the center of the convoluted pharmaceutical payment chain,

as illustrated in Figure 12:

              Figure 12: Insulin distribution and payment chain




      296.   The PBM Defendants develop drug formularies, process claims, create a

network of retail pharmacies, set the prices in coordination with the Manufacturers

that payors pay for prescription drugs, and are paid by payors for the drugs utilized

by a payor’s beneficiaries.




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      297.   PBMs also contract with a network of retail pharmacies often owned by

the PBM. Pharmacies agree to dispense drugs to patients and pay fees back to the

PBMs. PBMs reimburse pharmacies for the drugs dispensed.

      298.   PBM Defendants also own mail-order, retail, and specialty pharmacies,

which purchase and take possession of prescription drugs, including those at issue

here, and directly supply those drugs to patients.

      299.   Often—including for at-issue drugs—the PBM Defendants purchase

drugs from the Manufacturers and dispense them to the patients.

      300.   Even where PBM Defendants’ pharmacies purchase drugs from

wholesalers, their costs are set by direct contracts with the Manufacturers.

      301.   In addition, and of particular significance here, PBM Defendants

contract with pharmaceutical manufacturers, including Manufacturer Defendants.

      302.   These relationships allow PBMs to exert tremendous influence over what

drugs are available throughout Montana and at what prices.

      303.   Thus, PBMs are at the center of the flow of money in the pharmaceutical

supply chain. In sum:

          a. PBMs negotiate the price that payors pay for prescription drugs (for the
             at-issue drugs based on artificially-inflated prices generated by the
             Insulin Pricing Scheme);

          b. PBMs separately negotiate a different (and often lower) price that
             pharmacies in their networks receive for that same drug;

          c. PBMs set the amount in fees that the pharmacy pays back to the PBM
             for each drug sold (for the at-issue drugs based on artificially-inflated
             prices generated by the Insulin Pricing Scheme);




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             d. PBMs set the price paid for each drug sold through their mail-order
                pharmacies (for the at-issue drugs based on artificially-inflated prices
                generated by the Insulin Pricing Scheme); and

             e. PBMs negotiate the amount that the Manufacturers pay back to the
                PBM for each drug sold (for the at-issue drugs based on artificially
                inflated prices generated by the Insulin Pricing Scheme).

      304.      Yet, for the majority of these transactions, only the PBMs are privy to

the amount that any other entity in this supply chain is paying or receiving for the

exact same drugs.

      305.      In every interaction that PBMs have within the pharmaceutical pricing

chain they stand to profit from the artificial prices generated by the Insulin Pricing

Scheme.

                3.    The rise of the PBMs in the pharmaceutical supply chain.

      306.      When they first came into existence in the 1960s, PBMs functioned

largely as claims processors. Over time, however, they have taken on a larger role in

the pharmaceutical industry. Today, PBMs wield significant control over the drug

pricing system.

      307.      PBMs began negotiating with drug manufacturers ostensibly on behalf

of payors.

      308.      In the early 2000s, PBMs started buying pharmacies.

      309.      When a PBM combines with a pharmacy, it has an increased incentive

to collude with Manufacturers to keep certain prices high.

      310.      These unconscionable incentives still exist today with respect to both

retail and mail-order pharmacies housed within the PBMs’ corporate families.




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      311.   More recently, further consolidation in the industry has afforded PBMs

a disproportionate amount of market power.

      312.   In total, nearly 40 different PBM entities have merged or been absorbed

into what are now the PBM Defendants.

      313.   After merging or acquiring all their competitors and now backed by

multi-billion-dollar corporations, PBM Defendants have taken over the market—

controlling more than 80% of the market and managing pharmacy benefits for more

than 270 million Americans.

      314.   PBM Defendants have near complete control over the Manufacturer

Payment market. In addition to their own clients, which represents 80% of the market,

PBM Defendants or their controlled affiliate rebate aggregator companies contract

with most smaller pharmacy benefit managers, including the largest of those, Prime

Therapeutics, to negotiate Manufacturer Payments on their behalf.

      315.   Business is booming for PBM Defendants. Together, they report more

than $300 billion in annual revenue.

      316.   PBMs are able to use the consolidation in the market as leverage when

negotiating with other entities in the pharmaceutical pricing chain. Last year,

industry expert Lindsay Bealor Greenleaf from Advice and Vision for the Healthcare

Ecosystem (ADVI) described this imbalance in power, “it’s really difficult to engage in

any type of fair negotiations when one of the parties has that kind of monopoly power

. . . I think that is something that is going to continue getting attention, especially as

we see more of these payors and PBMs continue to try to further consolidate.”




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               4.    Insular nature of the pharmaceutical industry.

      317.     The insular nature of the PBM and pharmaceutical industry has

provided PBM Defendants with ample opportunity for contact and communication

amongst themselves, as well as with Manufacturer Defendants, in order to devise and

agree to the Insulin Pricing Scheme.

      318.     Each Manufacturer Defendant is a member of the Pharmaceutical

Research and Manufacturers of America (“PhRMA”) and has routinely communicated

through PhRMA’s meetings and platforms to promote the Insulin Pricing Scheme.

      319.     David Ricks, CEO of Eli Lilly, Paul Hudson, CEO of Sanofi, and Douglas

Langa, Executive Vice President of Novo Nordisk, are all part of the members of the

PhRMA board of directors or part of the PhRMA executive leadership team.

      320.     PBM Defendants also routinely communicate through direct interaction

with their competitors and the Manufacturers at PBM trade associations and industry

conferences.

      321.     Each year during the relevant time period, the main PBM trade

association, the Pharmaceutical Care Management Association (“PCMA”), held

several yearly conferences, including its Annual Meeting and its Business Forum

conferences.

      322.     The current board of the PCMA includes Amy Bricker, President of

Express Scripts, Heather Cianfrocco, CEO of OptumRx, and Alan Lotvin, Executive

Vice President of CVS Health and President of CVS Caremark. Past board members

include John Prince, President and COO of Optum, Inc. (and former CEO of




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OptumRx), Jon Roberts, Executive Vice President of CVS Health, and Tim

Wentworth, CEO of Evernorth.

      323.   All PBM Defendants are members of and, as a result of their leadership

positions, control the PCMA. Each Manufacturer Defendant is an affiliate member of

this organization.

      324.   The PCMA annual conferences appear to be at the center of the Insulin

Pricing Scheme.

      325.   Every year, high-level representatives and corporate officers from both

PBM, including executives from OptumInsight, and Manufacturer Defendants attend

these conferences to meet in person to discuss their shared business opportunities

within the pharmaceutical industry. Defendants also have used these conferences to

engage in private meetings in furtherance of the Insulin Pricing Scheme.

      326.   In fact, for at least the last six years, all the Manufacturer Defendants

have been “Presidential Sponsors” of these PBM conferences.

      327.   Notably, many of the forums at these conferences are specifically

advertised as offering opportunities for private, non-public communications. For

example, as Presidential Sponsors of these conferences, Manufacturer Defendants

each hosted “private meeting rooms” that offer “excellent opportunities for . . . one-on-

one interactions between PBM and pharma executives.”

      328.   From at least 2010 to 2019, representatives from each Manufacturer

Defendant met privately with representatives from each PBM Defendant during both

the Annual Meetings and Business Forum conferences that the PCMA held each year.




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      329.   Prior to these meetings, dedicated teams of executives from each

Defendant would spend weeks preparing PCMA “pre-reads” and reports in

preparation for these meetings. These reports not only demonstrate the deep

involvement of each Defendant in the Insulin Pricing Scheme, but they also reflect

the tangled web that gave rise to the scheme

      330.   In addition, all PCMA members, affiliates, and registered attendees of

these conferences are invited to join PCMA-Connect, “an invitation-only LinkedIn

Group and online networking community.” As PCMA members, PCMA-Connect

provides PBM and Manufacturer Defendants with a year-round, non-public online

forum to engage in private discussions in furtherance of the Insulin Pricing Scheme.

      331.   Notably, key at-issue lockstep price increases occurred shortly after the

Defendants met at PCMA meetings. For example, on September 26 and 27, 2017, the

PCMA held its annual meeting where each of the Manufacturer Defendants hosted

private rooms and executives from each Defendant engaged in several meetings

throughout the conference. Mere days after the conference, on October 1, 2017, Sanofi

increased Lantus’s list price by 3% and Toujeo’s list by 5.4%. Novo Nordisk also

recommended that their company make a 4% list price increase on January 1, 2018,

to match the Sanofi increase.

      332.   Likewise, on May 30, 2014, Novo Nordisk raised the list price of Levemir

several hours after Sanofi made its list price increase on Lantus and this occurred only

a few weeks after the 2014 PCMA spring conference in Washington, D.C. attended by

representatives from all the PBM Defendants.




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      333.     Communications between PBM Defendants are facilitated by the fluidity

and frequency with which executives move from one PBM Defendant to another.

Examples include:

              Mark Thierer worked as an executive at the PBM Medco (now Express
               Scripts) until he became the CEO of OptumRx in 2016;

              Albert Thigpen was a Senior Vice President at CVS Caremark prior to
               becoming a Senior Vice President at OptumRx in 2011; and

              Bill Kiefer was a Vice President of Express Scripts before becoming a
               Senior Vice President at OptumRx in 2015.

      334.     Further, the PBMs control the PCMA and have weaponized it to further

their interests and to hide the Insulin Pricing Scheme. The PCMA has brought

numerous lawsuits and lobbying campaigns aimed at blocking drug pricing

transparency efforts, including recently suing the Department of Health and Human

Services (HHS) to block the finalized HHS “rebate rule,” which would eliminate anti-

kickback safe harbors for Manufacturer Payments and instead offer them as direct-

to-consumer discounts.

      D.       The Insulin Pricing Scheme.

      335.     The market for the at-issue diabetes medications is unique in that it is

highly concentrated with, until recently, little to no generic/biosimilar options and the

drugs have similar efficacy and risk profiles. In fact, PBMs treat the at-issue drugs as

commodity products in constructing their formularies.

      336.     In such a market, where manufacturing costs have significantly

decreased, PBMs should have great leverage in negotiating with the Manufacturer

Defendants to drive prices down in exchange for formulary placement.



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       337.   But the PBMs do not want the prices for diabetes medications to go down

because they make more money on higher prices, as do the Manufacturers.

       338.   As a result, Defendants have found a way to game the system for their

mutual benefit—the Insulin Pricing Scheme.

       339.   PBM Defendants’ formularies are at the center of the Insulin Pricing

Scheme. Given the asymmetry of information and disparity in market power between

payors and PBM Defendants, and the costs associated with making formulary

changes, most payors accept the standard formularies offered by the PBMs.

       340.   Manufacturer Defendants recognize that because PBM Defendants have

such a dominant market share, if they chose to exclude a particular diabetes

medication from their standard formularies, or give it a non-preferred position, it

could mean billions of dollars in profit loss for Manufacturer Defendants.

       341.   For example, Olivier Brandicourt, Sanofi’s CEO, in a recent interview

stressed the importance of the PBMs’ standard formularies: “if you look at the way

[CVS Caremark] is organized in the US . . . 15 million [lives] are part of [CVS

Caremark’s standard] formulary and that’s very strict, all right. So, [if we were not

included in CVS Caremark’s standard formulary] we wouldn’t have access to those 15

million lives.”

       342.   Manufacturer Defendants also recognize that the PBM Defendants’

profits are directly tied to the Manufacturers’ list prices. For example, the January

2021 Senate Insulin Report, in summarizing the internal documents produced by the

Manufacturers, noted the following:




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      [B]oth Eli Lilly and Novo Nordisk executives, when considering lower list
      prices, were sensitive to the fact that PBMs largely make their money on
      rebates and fees that are based on a percentage of a drug’s list price . . .
      In other words, the drug makers were aware that higher list prices
      meant higher revenue for PBMs.

      343.   The documents released by the Senate contemporaneous with the

January 2021 Senate Insulin Report further corroborate the degree to which the

Manufacturers’ pricing strategy is focused on the PBMs’ profitability. In an internal

August 6, 2015 email, Novo Nordisk executives debated delaying increasing the price

of an at-issue drug in order to make the increase more profitable for CVS Caremark,

stating:

      Should we take 8/18 [for a price increase], as agreed to by our [pricing
      committee], or do we recommend pushing back due to the recent CVS
      concerns on how we take price? . . . We know CVS has stated their
      disappointment with our price increase strategy (ie taking just after the
      45th day) and how it essentially results in a lower price protection, admin
      fee and rebate payment for that quarter/time after our increase . . . it has
      been costing CVS a good amount of money.

      344.   Because the Manufacturer Defendants know that—contrary to their

public representations—PBM Defendants make more money from increasing prices,

over the course of the last 15 years and working in coordination with the PBMs, the

Manufacturers have artificially inflated their list prices for the at-issue drugs

exponentially, while largely maintaining their net prices by paying larger and larger

amounts of Manufacturer Payments back to the PBMs.

      345.   During the last fifteen years the amount of Manufacturer Payments paid

to the PBMs has increased substantially. For example, the January 2021 Senate

Insulin Report found that:




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      In July 2013, Sanofi offered rebates between 2% and 4% for preferred
      placement on CVS Caremark’s commercial formulary. Five years later,
      in 2018, Sanofi rebates were as high as 56% for preferred formulary
      placement. Similarly, rebates to Express Scripts and OptumRx increased
      dramatically between 2013 and 2019 for long-acting insulins. For
      example, in 2019, Sanofi offered OptumRx rebates up to 79.75% for
      Lantus for preferred formulary placement on their client’s commercial
      formulary, compared to just 42% in 2015. Similarly, Novo Nordisk
      offered Express Scripts rebates up to 47% for Levemir for preferred
      formulary placement on their client’s commercial formulary, compared
      to 25% in 2014.

      346.     Beyond increased rebate demands, the PBMs have also requested and

received larger and larger administrative fee payments from the Manufacturers

during the relevant time period.

      347.     A recent study by the Pew Charitable Trust estimated that, between

2012 and 2016, the amount of administrative and other fees that the PBMs requested

and received from the Manufacturers tripled, reaching more than $16 billion.

      348.     In exchange for the Manufacturers inflating these prices and paying the

PBMs substantial amounts in Manufacturer Payments, PBM Defendants grant

preferred status on their standard formularies to the Manufacturer Defendants’

diabetes medications with the most elevated price and that are the most profitable to

the PBMs.

      349.     At all times relevant hereto, the PBM Defendants have known that the

list prices for the at-issue drugs are grossly inflated. Indeed, the Manufacturers’ list

prices have become so untethered from the Manufacturers’ net prices10 as to constitute

false and unlawful prices.


10 “Net Price” refers to the Manufacturers’ list price minus all Manufacturer Payments paid

to the PBMs.


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      350.   Despite this knowledge, PBMs include this false and deceptive price—

often the AWP price—in their contracts as a basis to set the rate that payors pay for

the at-issue drugs and pharmacies are reimbursed for the at-issue drugs.

      351.   Moreover, the PBMs also use this false price to misrepresent the amount

of “savings” they generate for diabetics, payors, and the healthcare system. For

example, in January 2016, Express Scripts’ president Tim Wentworth stated at the

34th annual JP Morgan Healthcare Conference that Express Scripts “saved our clients

more than $3 billion through the Express Scripts National Preferred Formulary.”

Likewise, in April 2019, CVS Caremark President and Executive Vice Price President

of CVS Health, Derica Rice stated, “Over the last three years . . . CVS Caremark has

helped our clients save more than $141 billion by blunting drug price inflation,

prioritizing the use of effective, lower-cost drugs and reducing the member’s out-of-

pocket spend.”

      352.   The PBM Defendants also misrepresent the amount of “savings” they

generate to their payor clients and prospective clients.

      353.   In making these representations, the PBMs fail to disclose that the

amount of “savings” they have generated is calculated based on the false list price,

which is not paid by any entity in the pharmaceutical pricing chain and which the

PBMs are directly responsible for artificially inflating.

      354.   Importantly, the Insulin Pricing Scheme is a coordinated effort between

the Manufacturer and PBM Defendants, that each agreed to and participated in, and

that created enormous profits for all of Defendants. For example:




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          a. Manufacturers and PBMs are in constant communication and regularly
             meet and exchange information to construct and refine the PBM
             formularies that fuel the scheme. As part of these communications, the
             Manufacturers are directly involved in determining not only where
             their own diabetes medications are placed on the PBMs’ formularies
             and with what restrictions, but also determining the same for
             competing products;

          b. Manufacturers and PBMs share confidential and proprietary
             information with each other in furtherance of the Insulin Pricing
             Scheme, such as market data gleaned from the PBMs’ drug utilization
             tracking efforts and mail order pharmacy claims, internal medical
             efficacy studies, and financial data. Defendants then use this
             information in coordination to set the false prices for the at-issue
             medications and construct their formularies in the manner that is most
             profitable for both sets of Defendants. The data that is used to further
             this coordinated scheme is compiled, analyzed, and shared either by
             departments      directly    housed    within    the    PBM     or    by
             subsidiaries/affiliates of the PBM, as is the case with OptumRx which
             utilizes OptumInsight and Optum Analytics; and

          c. Manufacturers and PBMs engage in coordinated outreach programs
             directly to patients, pharmacies, and prescribing physicians to convince
             them to switch to the diabetes medications that are more profitable for
             the PBMs and Manufacturers, even drafting and editing letters in
             tandem to send out to diabetes patients on behalf of the PBMs’ clients.
             For example, the January 2021 Senate Insulin Report released an
             email where Eli Lilly discussed paying Defendant UnitedHealth Group
             and OptumRx additional rebates for every client that was converted to
             formularies that exclusively preferred Eli Lilly’s at-issue drugs,
             including Humalog. The email continued: “United’s leadership
             committee made one ask of Lilly – that we are highly engaged in the
             communication/pull through plan.11 I of course indicated we fully
             expect to support this massive patient transition [to Eli Lilly’s at-issue
             drugs favored by United] and provider education with the full breadth
             of Lilly resources. UHC also proactively thanked Lilly for our
             responsiveness, solution generation and DBU execution.”




11 “Pull through” is an industry term that refers to an integrated process between PBMs and

Manufacturers aimed at moving market share and increasing sales for a certain product
following the PBM granting that product preferred placement on its formulary.


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       355.    Far from using their prodigious bargaining power to lower drug prices as

they claim, Defendants use their dominant positions to work together to generate

billions of dollars at the expense of Montana diabetics and payors, including the State.

Further, this scheme endangers the lives of diabetics and payors by inflating the prices

of these life-saving drugs.

       E.      Defendants Admit That They Have Engaged in the Insulin
               Pricing Scheme.

       356.    On April 10, 2019, the United States House of Representatives

Committee on Energy and Commerce held a hearing on Defendants’ Insulin Pricing

Scheme titled, “Priced Out of a Lifesaving Drug: Getting Answers on the Rising Cost

of Insulin.”

       357.    Representatives from all Defendants testified at the hearing and each

acknowledged before Congress that the price for insulin has increased exponentially

in the past 15 years.

       358.    Representatives from each Defendant explicitly admitted that the price

that diabetics have to pay out-of-pocket for insulin is too high. For example:

            a. Dr. Sumit Dutta, Chief Medical Officer of OptumRx stated, “A lack of
               meaningful competition allows the [M]anufacturers to set high [list]
               prices and continually increase them which is odd for a drug that is
               nearly 100 years old and which has seen no significant innovation in
               decades. These price increases have a real impact on consumers in the
               form of higher out-of-pocket costs.”

            b. Thomas Moriarty, Chief Policy and External Affairs Officer and
               General Counsel for CVS Health testified, “A real barrier in our country
               to achieving good health is cost, including the price of insulin products
               which are too expensive for too many Americans. Over the last several
               years, [list] prices for insulin have increased nearly 50 percent. And
               over the last ten years, [list] price of one product, Lantus, rose by 184
               percent.”


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          c. Mike Mason, Senior Vice President of Eli Lilly when discussing how
             much diabetics pay out-of-pocket for insulin stated “it’s difficult for me
             to hear anyone in the diabetes community worry about the cost of
             insulin. Too many people today don’t have affordable access to chronic
             medications . . .”

          d. Kathleen Tregoning, Executive Vice President External Affairs at
             Sanofi, testified, “Patients are rightfully angry about rising out-of-
             pocket costs and we all have a responsibility to address a system that
             is clearly failing too many people. . . we recognize the need to address
             the very real challenges of affordability . . . Since 2012, average out-of-
             pocket costs for Lantus have risen approximately 60 percent for
             patients . . .”

          e. Doug Langa, Executive Vice President of Novo Nordisk, stated, “On the
             issue of affordability . . . I will tell you that at Novo Nordisk we are
             accountable for the [list] prices of our medicines. We also know that
             [list] price matters to many, particularly those in high-deductible
             health plans and those that are uninsured.”

      359.   Notably, none of the testifying Defendants claimed that the significant

increase in the price of insulin was related to competitive factors such as increased

production costs or improved clinical benefit.

      360.   None of the Defendants pointed to any other participant in the

pharmaceutical pricing chain as responsible for the exorbitant price increases for

these diabetes medications—nor could they—for these Defendants collectively are

solely responsible for the price of almost every single vial of insulin sold in the United

States.

      361.   Defendants admitted that they agreed to and did participate in the

Insulin Pricing Scheme and that the rise in prices was a direct result of the scheme.

      362.   For example, at the April 2019 Congressional hearing, Novo Nordisk’s

President, Doug Langa, explained Novo Nordisk’s and PBM Defendants’ role in

perpetuating the “perverse incentives” of the Insulin Pricing Scheme:


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       [T]here is this perverse incentive and misaligned incentives (in the
       insulin pricing system) and this encouragement to keep [list] prices high.
       And we’ve been participating in that system because the higher the [list]
       price, the higher the rebate . . . There is a significant demand for rebates.
       We spend almost $18 billion in rebates in 2018 . . . [I]f we eliminate all
       the rebates . . . we would be in jeopardy of losing [our formulary]
       positions. (emphasis added).

       363.       Eli Lilly, too, has admitted that it raises list prices as a quid pro quo for

formulary positions. At the April 2019 Congressional hearing, Mike Mason, Senior

Vice President of Eli Lilly testified:

       Seventy-five percent of our [list] price is paid for rebates and discounts
       to secure [formulary position] . . . $210 of a vial of Humalog is paid for
       discounts and rebates. . . We have to provide rebates [to PBMs] in order
       to provide and compete for [formulary position].

       364.       Sanofi has also conceded its participation in the Insulin Pricing Scheme.

When testifying at the April 2019 Congressional hearing, Kathleen Tregoning,

Executive Vice President for External Affairs of Sanofi, testified:

       The rebates are how the system has evolved. . . I think the system became
       complex and rebates generated through negotiations with PBMs are
       being used to finance other parts of the healthcare system and not to
       lower prices to the patient.

       365.       PBM Defendants also admitted at the April 2019 Congressional hearing

that they grant preferred, or even exclusive, formulary position because of higher

Manufacturer Payments paid by Manufacturer Defendants.

       366.       Amy Bricker, President of Express Scripts, when asked to explain why

Express Scripts did not grant an insulin with a lower list price preferred formulary

status, answered, “Manufacturers do give higher [payments] for exclusive [formulary]

position . . .”




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         367.   While all Defendants acknowledged their participation in the Insulin

Pricing Scheme before Congress, in an effort to avoid culpability for the precipitous

price increase, each Defendant group pointed the finger at the other as the responsible

party.

         368.   PBM Defendants specifically testified to Congress that Manufacturer

Defendants are solely responsible for their price increases and that the Manufacturer

Payments that the PBMs receive are not correlated to rising insulin prices.

         369.   This statement is objectively false. The Manufacturers’ coordinated

lockstep price increases are a direct reflection of the PBMs’ coordinated requests for

larger Manufacturer Payments. A February 2020 study by the Leonard D. Schaeffer

Center for Health Policy & Economics at the University of South California titled “The

Association Between Drug Rebates and List Prices,” found that an increase in the

amount that the Manufacturers pay back to the PBMs is directly correlated to an

increase in prices—on average, a $1 increase in Manufacturer Payments is associated

with a $1.17 increase in price—and that reducing or eliminating Manufacturer

Payments could result in lower prices and reduced out-of-pocket expenditures.

         370.   In addition, a recent report by the National Community Pharmacists

Association estimated that Manufacturer Payments add nearly 30 cents per dollar to

the price consumers pay for prescriptions.

         371.   Further, in large part because of the increased list prices, and related

Manufacturer Payments, PBMs’ profit per prescription has grown exponentially over

the same time period that insulin prices have been artificially increased. By way of




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example, since 2003, Defendant Express Scripts has seen its profit per prescription

increase more than 500% per adjusted prescription.

      372.   The Manufacturers, on the other hand, argued before Congress that the

PBMs were to blame for high insulin prices because of the PBMs’ demands for higher

Manufacturer Payments in exchange for formulary placement.

      373.   However, that also is not true. For example, a 2020 study from the

Institute of New Economic Thinking titled, “Profits, Innovation and Financialization

in the Insulin Industry,” demonstrates that Manufacturer Defendants are still making

substantial profits from the sale of insulin products regardless of any Manufacturer

Payments they are sending back to the PBMs. During the same time period when

insulin price increases were at their steepest, distributions to Manufacturers’

shareholders in the form of cash dividends and share repurchases totaled $122 billion.

In fact, during this time period the Manufacturers spent a significantly lower

proportion of profits on research and development compared to shareholder payouts.

      374.   The January 2021 Senate Insulin Report concluded, inter alia:

         a. Manufacturer Defendants are retaining more revenue from insulin
            than in the 2000s—for example, Eli Lilly has reported a steady increase
            in Humalog revenue for more than a decade—from $1.5 billion in 2007
            to $3 billion in 2018;

         b. Manufacturer Defendants have aggressively raised the list price of
            their insulin products absent significant advances in the efficacy of the
            drugs; and

         c. Manufacturer Defendants only spend a fraction of their revenue related
            to the at-issue drugs on research and development—Eli Lilly spent
            $395 million on R&D costs for Humalog, Humulin, and Basaglar
            between 2014-2018 during which time the company generated $22.4
            billion in revenue on these drugs. From 2016 to 2020, Novo Nordisk
            spent approximately $29 billion on stock buybacks and shareholder


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              dividend payouts while only spending approximately $12 billion on
              R&D costs.

       375.   The truth is—despite their finger pointing in front of Congress—

Manufacturers and PBMs are both responsible for their concerted efforts in creating

the Insulin Pricing Scheme. This reality was echoed in the statement from the 2021

Senate Insulin Report, summarizing Congress’s findings from their two-year probe

into the Insulin Pricing Scheme:

       [M]anufacturers and [PBMs] have created a vicious cycle of price
       increases that have sent costs for patients and taxpayers through the
       roof . . . This industry is anything but a free market when PBMs spur
       drug makers to hike list prices in order to secure prime formulary
       placement and greater rebates and fees.

       F.     Defendants’ Profit Off the Insulin Pricing Scheme.

              1.     Manufacturers Profit Off Insulin Pricing Scheme.

       376.   For Manufacturer Defendants, the Insulin Pricing Scheme affords them

the ability to pay the PBM Defendants significant, yet undisclosed, Manufacturer

Payments in exchange for formulary placement—which garners Manufacturer

Defendants greater revenues from sales—without decreasing their profit margins.

During the relevant time period, PBM Defendants granted preferred formulary

position to each at-issue drug in exchange for large Manufacturer Payments and

inflated prices.

       377.   Manufacturer Defendants also use the inflated prices to earn hundreds

of millions of dollars in additional tax breaks by basing their deductions for donated

insulins on the inflated list prices.




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             2.     PBMs’ Profit Off Insulin Pricing Scheme.

      378.   Because of the increased list prices, and related Manufacturer Payments,

PBMs’ profit per prescription has grown exponentially during the relevant time

period. A recent study published in the Journal of the American Medical Association

titled “Estimation of the Share of Net Expenditures on Insulin Captured by US

Manufacturers, Wholesalers, Pharmacy Benefit Managers, Pharmacies and Health

Plans from 2014 to 2018” concluded that the amount of money that goes to the PBM

Defendants for each insulin prescription increased over 150% from 2014 to 2018. In

fact, for transactions where the PBM Defendants control the PBM and the pharmacy

(i.e., Caremark-CVS pharmacy) these Defendants now capture an astonishing 40% of

the money spent on each insulin prescription (up from only 20% in 2014), despite the

fact that they do not contribute to the development, manufacture, innovation, or

production of the product.

      379.   PBM Defendants profit off the artificially inflated prices created by the

Insulin Pricing Scheme in a myriad of ways, including (1) retaining a significant—yet

undisclosed—percentage of the Manufacturers Payments, (2) using the inflated price

to generate profits from pharmacies in their networks, and (3) relying on the inflated

price to drive up the PBMs’ profits through their own mail order pharmacies

             3.     PBMs pocket most of the secret Manufacturer Payments.

      380.   The first way in which the PBMs profit off the Insulin Pricing Scheme is

by keeping a significant portion of the secret Manufacturer Payments.

      381.   The amount that the Manufacturers pay back to the PBMs has

accelerated to represent a large percentage of the list price of diabetes medications.


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      382.    Historically, when PBMs contracted with payors, the contract allowed

the PBM to keep all or at least some of the Manufacturer Payments they received,

rather than pass them along to the payor.

      383.   Over time, payors have secured contract provisions guaranteeing them

all or some portion of the “rebates” paid by the Manufacturers to the PBMs. But—

critically—“rebates” are only a portion of the total secret Manufacturer Payments.

      384.   In this regard, PBM and Manufacturer Defendants have created a “hide-

the-ball” system where the consideration exchanged between them (and not shared

with payors) is labeled and relabeled. As more payors move to contracts that require

PBMs to pass a majority of the manufacturer “rebates” through to the payor, PBMs

have begun renaming the Manufacturer Payments in order to keep a larger portion of

this money. Payments once known as “rebates” are now called administrative fees,

volume discounts, service fees, inflation fees, or other industry jargon terms designed

to obfuscate and distract from the substantial sums being secretly exchanged.

      385.   And these renamed secret Manufacturer Payments are indeed

substantial. A recent heavily redacted complaint filed by Defendant Express Scripts

revealed that Express Scripts now retains up to 13 times more in “administrative fees”

than it passes through to payors in formulary rebates.

      386.   Notably, on June 17, 2022, the Federal Trade Commission (“FTC”) voted

5-0 to issue a policy statement expressing its intent to closely scrutinize such PBM

Defendant practices related to Manufacturer Payments to determine if these practices

constitute unfair and deceptive practices. In its policy statement, the FTC cited




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specifically to the effect that Manufacturer Payments have in the context of the

exoboritant insulin prices and the devastating impact such practices have on the lives

of diabetics.

       387.     In addition, the PBMs have come up with numerous ingenious methods

to hide these renamed Manufacturer Payments in order keep them for themselves.

       388.     For example, with regard to the Manufacturer Payments now known as

“inflation fees,” the PBMs often create a hidden gap between how much the

Manufacturers pay them to increase their prices and the amount in “price protection

guarantees” that the PBMs agree to pay back to their client payors.

       389.     In particular, the Manufacturer Defendants often pay the PBM

Defendants “inflation fees” in order to increase the price of their diabetes medications.

The thresholds for these payments are typically set around 6% to 8%—if the

Manufacturer Defendants raise their prices by more than 6% (or 8%) during a

specified time period, they pay the PBM Defendants an additional “inflation fee”

(based on a percentage of the artificially inflated prices).

       390.     For many of their clients, the PBMs have separate “price protection

guarantees” that state that if the overall drug prices for that payor increase by more

than a set amount, then the PBMs will revert a portion of that amount back to these

clients.

       391.     The PBMs set these “price protection guarantees” at a higher rate than

the thresholds that trigger the Manufacturers’ “inflation fees,” usually around 12%-

15%.




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      392.   If the Manufacturers increase their list prices more than the 6% (or 8%)

inflation fee rate, but less than the 10%-15% client price protection guarantee rate,

then the PBMs can keep 100% of these “inflation fee” payments. This is a win-win for

the Manufacturers and PBMs—they get to mutually retain and share all the benefit

of these price increases.

      393.   Another method that the PBMs have devised to hide the renamed

Manufacturer Payments is through the use of “rebate aggregators.”            Rebate

aggregators, sometimes referred to as rebate group purchasing organizations

(“GPOs”), are entities that negotiate for and collect payments from drug

manufacturers, including the Defendant Manufacturers, on behalf of a large group of

pharmacy benefit managers (including the PBM Defendants) and different entities

that contract for pharmaceutical drugs.

      394.   These rebate aggregators are often owned and controlled by the PBM

Defendants, such as Ascent Health Services (Express Scripts), Coalition for Advanced

Pharmacy Services and Emisar Pharma Services (OptumRx), and Zinc (CVS

Caremark).

      395.   The PBMs carefully guard the revenue streams from their rebate

aggregator activities, hiding them in complex contractual relationships and not

reporting them separately in their quarterly SEC filings.

      396.   Certain rebate aggregator companies are located offshore, for example,

in Switzerland (Express Scripts’ Ascent Health) and in Ireland (OptumRx’s Emisar

Pharma Services), making oversight even more difficult.




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      397.   Moreover, during the relevant time period, the PBM Defendants have

used their controlled rebate aggregator entities in furtherance of their conspiracy.

For example, a 2017 audit conducted by a local governmental entity on Defendant

OptumRx related to its PBM activities from January 1, 2013, until December 31,

2015, concluded that the auditor was unable to verify the percentage of rebates

OptumRx passed through to its client payor because OptumRx would not allow the

auditor access to its rebate contracts. The audit report explained:

      Optum[Rx] has stated that it engaged the services of an aggregator to
      manage its rebate activity. Optum[Rx] shared that under this model,
      they are paid by their aggregator a certain amount per prescription
      referred. Then, the aggregator, through another entity, seeks rebates
      from the drug manufacturers, based upon the referred [Payor Client]
      prescription utilization, and retains any rebate amounts that may be
      received. Optum[Rx] states that they have paid [Payor Client] all
      amounts it has received from its aggregator, and that they do not have
      access to the contracts between the aggregator (and its contractors) and
      the manufacturer. However, our understanding is that Optum[Rx] has
      an affiliate relationship with its aggregator.

      398.   A footnote in the audit report clarifies that “Optum[Rx] contracted with

Coalition for Advanced Pharmacy Services (CAPS), and CAPS in turn contracted with

Express Scripts, Inc.”

      399.   In other words, according to this audit report, OptumRx contracts with

its own affiliate rebate aggregator, Coalition for Advanced Pharmacy Services, who

then contracts with OptumRx’s co-conspirator, Express Scripts, who then contracts

with the Manufacturers for rebates related to OptumRx’s client’s drug utilization.

OptumRx then uses this complex relationship between itself, its affiliate, and its co-




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conspirator to obscure the amount of Manufacturer Payments that are being

generated from its client’s utilization.

      400.   The January 2021 Senate Insulin Report contained the following

observation on these rebate aggregators:

      [I]t is noteworthy that industry observers have suggested that the recent
      partnership between Express Scripts and Prime Therapeutics may serve
      as a vehicle to avoid increasing legislative and regulatory scrutiny
      related to administrative fees by channeling such fees through a Swiss-
      based group purchasing organization (GPO), Ascent Health. While there
      are several regulatory and legislative efforts underway to prohibit
      manufacturers from paying administrative fees to PBMs, there is no
      such effort to change the GPO safe harbor rules. New arrangements used
      by PBMs to collect fees should be an area of continued investigative
      interest for Congress.

      401.   Because the PBMs are able to hide (and retain) a majority of the secret

Manufacturer Payments that they receive, they are able to make significant profits on

the Insulin Pricing Scheme.

      402.   Even in the rare cases where certain sophisticated payor clients receive

a portion of the Manufacturer Payments from their particular pharmacy benefit

manager (whether it is a PBM Defendant or not), those payors are still significantly

overcharged as a direct result of the Insulin Pricing Scheme given the extent to which

Defendants have inflated the prices of the at-issue drugs.

             4.     PBMs’ profit off pharmacies.

      403.   A second way that PBM Defendants profit off the Insulin Pricing Scheme

is by using the artificially inflated price generated by the scheme to profit off the

pharmacies with whom they contract, including those in Montana.




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      404.   PBM Defendants decide which pharmacies are included in the PBM’s

network and how much they will reimburse these pharmacies for each drug dispensed.

      405.    PBMs pocket the spread between the amount that the PBMs get paid by

their clients for the at-issue drugs (which is based on the artificially generated prices

generated by the Insulin Pricing Scheme) and the amount the PBM reimburses the

pharmacy (which is often less).

      406.   PBMs do not disclose to their clients or network pharmacies how much

the PBM is receiving from or paying to the other.

      407.   This spread pricing, like the secret Manufacturer Payment negotiation,

happens behind closed doors. There is no transparency, no commitment from PBM

Defendants to take into account the cost effectiveness of a drug, and no communication

to either the payor or the pharmacy to let them know if they are getting a fair deal.

The higher the Defendant Manufacturers inflate their prices, the more money the

PBMs make off this spread.

      408.   PBMs also use the Insulin Pricing Scheme to generate additional profits

from pharmacies by charging the pharmacies post-purchase fees, including DIR fees12,

based on the artificially inflated prices generated by the Scheme—and again, the

higher the list price for each diabetes medication sold, the more the PBMs generate in

these pharmacy fees.




12 “DIR” fees are post-purchase concessions pharmacies pay back to the PBMs.



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             5.     Insulin Pricing Scheme increases PBM mail order and retail
                    pharmacy profits.

      409.   A third way PBMs profit off the Insulin Pricing Scheme is through the

PBM Defendants’ own mail-order and retail pharmacies. The higher the price that

PBM Defendants are able to get their customers, such as residents in Montana with

diabetes and payors, including the State, to pay for diabetes medications, the higher

the profits PBM Defendants realize through their mail-order pharmacies.

      410.   Because the PBMs base the price they charge for the at-issue diabetes

medications on the list price, the more the Manufacturers inflate these prices, the

more money the PBMs make.

      411.   PBMs also charge the Manufacturer Defendants fees related to their

mail-order pharmacies, such as pharmacy supplemental discount fees and indirect

purchase fees, that are directly tied to the false prices generated by the Insulin Pricing

Scheme. Thus, once again, the higher the price is, the more money the PBMs make

on these fees.

      412.   Another way the PBMs profit from the inflated prices generated by the

Insulin Pricing Scheme through their pharmacies is by way of an arbitrage purchase

scheme. Because of their coordinated efforts with the Manufacturers in furtherance

of the Insulin Pricing Scheme, the PBMs often know when the Manufacturers are

going to raise their prices. The PBMs use this knowledge to purchase large quantities

of the at-issue drugs prior to the price increases at a lower price. The PBMs then

charge diabetics and payors the higher price after the increase




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      413.   In sum, every way that the PBMs make money on diabetes medications

is directly tied to the artificially inflated list prices generated by the Insulin Pricing

Scheme. PBMs are not lowering the price of diabetes medications as they publicly

represent—rather they are making billions of dollars by fueling these skyrocketing

prices.

      G.     The State, and its Residents who Suffer from Diabetes, Purchase
             the At-Issue Drugs from Defendants.

      414.   During the relevant time period, the PBM Defendants’ mail-order and

retail pharmacies dispensed the at-issue drugs to and were paid by residents in

Montana with diabetes based on the inflated list prices generated by the Insulin

Pricing Scheme.

      415.   In addition, as a large government employer, the State provides health

benefits to its employees, retirees, and their dependents. One of the benefits is the

State pays a substantial portion of its beneficiaries’ prescription drug costs, including

for the at-issue drugs.

      416.   To administer its health plan’s pharmaceutical programs, the State

relies on PBMs for the alleged purposes of limiting administrative burden and

controlling pharmaceutical drugs costs.

      417.   During the relevant time period, CVS Caremark provided PBM and

pharmacy services to the State.

      418.   In doing so, CVS Caremark developed and offered formularies for the

State’s prescription plans, constructed and managed the State’s pharmacy networks

(which included CVS Caremark’s retail and mail-order pharmacies), processed



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pharmacy claims, and dispensed the at-issue drugs to the State’s health plan

beneficiaries.

      419.   In providing these services to the State, CVS Caremark set the amount

the State paid for the at-issue drugs based on the inflated prices generated from the

Insulin Pricing Scheme and the State paid CVS Caremark for the at-issue drugs.

      420.   The State also spends millions of dollars a year purchasing the at-issue

diabetes medications for use at its State-run facilities.

      H.     Defendants Deceived the State.

      421.   At no time have either Defendant group disclosed the Insulin Pricing

Scheme or the artificially inflated list prices produced by it.

             1.     Manufacturer Defendants deceived Montana Diabetics and the
                    State.

      422.   At all times during the relevant time period, Manufacturer Defendants

and PBM Defendants knew that diabetics and payors, including the State, relied on

the artificially inflated list prices generated by the Insulin Pricing Scheme to pay for

the at-issue drugs. That is, Montana diabetics and payors, including the State, relied

on the artificially inflated list prices by purchasing diabetic medications at such prices.

      423.   Manufacturer Defendants and PBM Defendants further knew that

Montana diabetics and payors, including the State, expected and desired to pay the

lowest fair-market price possible for the at-issue drugs.

      424.   Manufacturer Defendants and PBM Defendants knew that the

artificially inflated list prices generated by the Insulin Pricing Scheme were false and




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completely untethered from the net prices that the Manufacturer Defendants were

paid for the drugs.

      425.   As the list prices for the at-issue drugs detached completely from actual

prices, the list prices became increasingly misrepresentative to the point of becoming

unlawful.

      426.   Despite this knowledge, Manufacturer Defendants published the

artificially inflated list prices generated by the Insulin Pricing Scheme throughout

Montana through publishing compendia and in various promotional and marketing

materials distributed by entities downstream in the drug supply chain.

      427.   Manufacturer Defendants also published these prices to the PBMs and

their pharmacies who then knowingly used the false prices to set the amount payors,

like the State, and diabetics pay for the at-issue drugs.

      428.   By publishing their prices throughout Montana, the Manufacturer

Defendants held these prices out as a reasonable price by which to base the prices

diabetics and payors pay for the at-issue drugs.

      429.   These representations are false. Manufacturer Defendants knew that

their artificially inflated list prices were not remotely related to the net price they

received for the at-issue drugs and were not based on transparent or competitive

factors such as cost of production, or research and development.

      430.   Notably, during the relevant time period, the Manufacturer Defendants

published prices in Montana of $300-$400 for the same at-issue drugs they could have

priced at less than $2 and still been profitable.




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      431.   Manufacturer Defendants have also publicly represented that they price

the at-issue drugs according to each drug’s value to the health care system and the

need to fund innovation. For example, briefing materials prepared for CEO Dave Ricks

as a panelist at the 2017 Forbes Healthcare Summit included “Reactive Key

Messages” on pricing that emphasized the significant research and development costs

for insulin. During the relevant time period, executives from Sanofi and Novo Nordisk

also represented that research and development costs were key factors driving the at-

issue price increases.

      432.   These statements are also false. Between 2005 and 2018, Eli Lilly spent

$680 million on R&D costs related to Humalog while earning $31.35 billion in net sales

during that same time period. In other words, Eli Lilly made nearly 50 times its

reported R&D costs on Humalog during this portion of the relevant time period. And

Novo Nordisk has spent triple the amount it spends on R&D on stock buyouts and

shareholder dividend payouts in recent years.

      433.   The Manufacturer Defendants’ list prices were artificially inflated in

furtherance of the Insulin Pricing Scheme to generate profits for the Manufacturer

Defendants and PBM Defendants.

      434.   Manufacturer Defendants affirmatively withheld the truth from

Montana diabetics and payors, including the State, and specifically made these

misrepresentations in furtherance of the Insulin Pricing Scheme and to induce

reliance in payors and diabetics to purchase their at-issue drugs.




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      435.   PBM Defendants ensured that the Manufacturer Defendants’ artificially

inflated list prices harmed diabetics and payors by selecting the highest price at-issue

drugs for preferred formulary placement and by requiring that their contracts with

both pharmacies and with payors include such prices as the basis for payment.

      436.   PBM Defendants perpetuate the use of the artificially inflated insulin

prices because it allows them to obscure the actual price any entity in the drug pricing

chain is paying for the at-issue drugs. This lack of transparency affords Defendants

the opportunity to construct and perpetuate the Insulin Pricing Scheme, and to profit

therefrom at the expense of Montana residents with diabetes who need these live-

saving drugs.

             2.     PBM Defendants deceived Montana diabetics and the State.

      437.   PBM Defendants have deceived diabetics and payors in Montana,

including the State.

      438.   Throughout the relevant time period, PBM Defendants have consistently

and repeatedly represented that: (a) their interests are aligned with diabetics and

payors; (b) they work to lower the price of the at-issue drugs and, in doing so, they

achieve substantial savings for diabetics and payors; and (c) that the PBMs construct

formularies designed to improve the health of diabetics.

      439.      PBM Defendants understand that diabetics, payors, and their

beneficiaries rely on the PBMs to achieve the lowest prices for the at-issue drugs and

to construct formularies designed to improve their health and save lives.




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      440.   At no time have the PBM Defendants disclosed their knowledge of the

artificially inflated list prices for the at-issue drugs; to the contrary, the PBMs ensured

that diabetics and payors pay based on those artificially inflated list prices.

      441.   In addition to the general PBM misrepresentations discussed above in

the “Parties” section, throughout the relevant time period, PBM Defendants have

purposefully, consistently, and routinely made misrepresentations specifically about

the at-issue Manufacturer Payments, formulary construction, and the PBMs’ role in

the diabetic pricing system. Examples include:

          a. In a public statement issued on May 11, 2010, CVS Caremark
             represented that it was focused on diabetes to “help us add value for
             our PBM clients and improve the health of plan members . . . a PBM
             client with 50,000 employees whose population has an average
             prevalence of diabetes could save approximately $3.3 million a year in
             medical expenditures.”

          b. On June 22, 2010, Andrew Sussman, Chief Medical Officer of CVS
             Caremark stated on national television that “CVS is working to develop
             programs to hold down [diabetes] costs.”

          c. In a public statement issued in November 2012, CVS Caremark
             represented that formulary decisions related to insulin products “is one
             way the company helps manage costs for clients.”

          d. On August 31, 2016, Glen Stettin, Senior Vice President and Chief
             Innovation Officer at Express Scripts released a statement that stated
             “[d]iabetes is wreaking havoc on patients, and it is also a runaway
             driver of costs for payors . . . [Express Scripts] helps our clients and
             diabetes patients prevail over cost and care challenges created by this
             terrible disease.”

                   i.   Mr. Stettin continued on to represent that Express Scripts
                        “broaden[s] insulin options for patients and bend[s] down the
                        cost curve of what is currently the costliest class of traditional
                        prescription drugs.”




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          e. In January 2017, Tim Wentworth, CEO of Express Scripts represented
             that “without PBMs, and specifically without Express Scripts, our
             clients would pay [many times] more for [insulin].”

                  i.   Mr. Wentworth continued on to state Express Scripts is
                       dedicated to controlling insulin prices because “we stand up
                       for payers and patients.”

          f. On June 1, 2018, Mark Merritt, President of the PCMA, in response to
             a question about PBMs’ role in the insulin pricing system stated,
             “[Through their formulary construction], PBMs are putting pressure on
             drug companies to reduce insulin prices.”

          g. On April 4, 2019, Steve Miller Express Scripts’ chief medical officer
             stated that Express Scripts “give[s] people who rely on insulin greater
             affordability and cost predictability so they can focus on what matters
             most: their well-being

          h. CVS Caremark’s Chief Policy and External Affairs Officer testified
             during the April 2019 hearings that, CVS Caremark “has taken a
             number of steps to address the impact of insulin price increases. We
             negotiate the best possible discounts off the manufacturers’ price on
             behalf of employers, unions, government programs, and beneficiaries
             that we serve.”

          i. Chief Medical Officer of OptumRx, testified before the U.S. Congress in
             the April 2019 hearing that for “insulin products . . . we negotiate with
             brand manufacturers to obtain significant discounts off list prices on
             behalf of our customers.”

          j. The PCMA website contains the following misrepresentations,
             “the insulin market is consolidated, hindering competition and limiting
             alternatives, leading to higher list prices on new and existing brand
             insulins. PBMs work hard to drive down costs using formulary
             management and rebates.”

      442.   PBM Defendants not only falsely represent that they negotiate with

Manufacturer Defendants to lower the price of the at-issue diabetes medications for

payors, but also for diabetic patients as well. Examples of their intentional unfair and

deceptive misrepresentations include:

          a. Express Scripts’ publicly available code of conduct states, “[a]t Express
             Scripts we’re dedicated to keeping our promises to patients and clients


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             . . . This commitment defines our culture, and all our collective efforts
             are focused on our mission to make the use of prescription drugs safer
             and more affordable.” (Emphasis added).

          b. Amy Bricker, President at Express Scripts testified before Congress in
             April 2019, “At Express Scripts we negotiate lower drug prices with
             drug companies on behalf of our clients, generating savings that are
             returned to patients in the form of lower premiums and reduced out-of-
             pocket costs.” (Emphasis added).

          c. Amy Bricker of Express Scripts also testified at the Congressional
             hearing that “Express Scripts remains committed to . . . patients with
             diabetes and creating affordable access to their medications.”
             (Emphasis added).

          d. OptumRx’s website has stated “[t]he services we provide help improve
             health outcomes for patients while making prescription drugs more
             affordable for plan sponsors and individuals, and more sustainable for
             the country . . . the reason is simple: drug manufacturers are
             responsible for the high cost of prescription drugs . . . OptumRx
             negotiates better prices with drug manufacturers for our customers and
             consumers . . . At OptumRx, our mission is helping people live healthier
             lives and to help make the health system work better for everyone.”
             (Emphasis added).

          e. In its 2017 Drug Report, CVS Caremark stated that the goal of its
             pharmacy benefit plans is to ensure “that the cost of a drug is aligned
             with the value it delivers in terms of patient outcomes . . . in 2018, we
             are doing even more to help keep drugs affordable with our new Savings
             Patients Money initiative.” (Emphasis added).

          f. The PCMA website states, “PBMs have kept average out-of-pocket
             (OOP) payments flat for beneficiaries with commercial insurance.”

          g. On March 12, 2019, OptumRx represented, “OptumRx is uniquely able
             to deploy the broadest range of tools to rein in high drug prices, [which]
             demonstrates our commitment to delivering better prices for consumers

      443.   Not only have PBM Defendants intentionally misrepresented that they

use their market power to save payors and diabetics money, but they have also

specifically, knowingly, and falsely disavowed that their conduct drives the artificially

inflated list prices higher. Examples of more of their falsehoods include:



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          a. On an Express Scripts’ earnings call in February 2017, CEO Tim
             Wentworth stated, “Drugmakers set prices, and we exist to bring those
             prices down.”

          b. Larry Merlo, head of CVS Caremark sounded a similar refrain in
             February 2017, “Any suggestion that PBMs are causing prices to rise is
             simply erroneous.”

          c. In 2017, Express Scripts’ Wentworth went on CBS News to again argue
             that PBMs play no role in rising drug prices, stating that PBMs work
             to “negotiate with drug companies to get the prices down.”

          d. During the April 2019 Congressional hearings, when asked if PBM-
             negotiated rebates and discounts were causing the insulin price to
             increase, OptumRx’s Chief Medical Officer answered, “we can’t see a
             correlation when rebates raise list prices.”

          e. In 2019, when testifying under oath before Congress on the rising price
             of insulins, Senior Vice President Amy Bricker of Express Scripts
             testified, “I have no idea why the prices [for insulin] are so high, none
             of it is the fault of rebates.”

      444.   Throughout the relevant time period, PBM Defendants have also

misrepresented that they are transparent about the Manufacturer Payments that

they receive and that they pass along (or do not pass along) to payors. As stated above,

PBM Defendants retain many times more in total Manufacturer Payments than the

traditional formulary “rebates” they may pass through—in whole or part—to payors.

      445.   Despite this, in 2011, OptumRx’s President stated: “We want our clients

to fully understand our pricing structure . . . [e]veryday we strive to show our

commitment to our clients, and one element of that commitment is to be open and

honest about our pricing structure.”

      446.   In a 2017 CBS News interview, Express Scripts’ CEO, represented,

among other things, that Express Scripts was “absolutely transparent” about the




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Manufacturer Payments it receives and that payors, “know exactly how the dollars

flow” with respect to these Manufacturer Payments.

      447.   When testifying before Congress in April 2019, Amy Bricker, President

of Express Scripts, had the following exchange with Representative John Sarbanes of

Maryland regarding the transparency (and lack thereof) of the Manufacturer

Payments:

      Ms. Bricker. The rebate system is 100 percent transparent to the plan
      sponsors and the customers that we service. To the people that hire us,
      employers of America, the government, health plans, what we negotiate
      for them is transparent to them. . . [However] the reason I'm able to get
      the discounts that I can from the manufacturer is because it’s
      confidential [to the public].

      Mr. Sarbanes. What about if we made it completely transparent? Who
      would be for that?

      Ms. Bricker. Absolutely not . . . it will hurt the consumer.

      Mr. Sarbanes. I don’t buy it.

      Ms. Bricker – prices will be held high.

      Mr. Sarbanes. I am not buying it. I think a system has been built that
      allows for gaming to go on and you have all got your talking points. Ms.
      Tregoning [of Sanofi], you have said you want to guarantee patient access
      and affordability at least ten times, which is great, but there is a
      collaboration going on here . . . the system is working for both of you at
      the expense of the patient. Now I reserve most of my frustration for the
      moment in this setting for the PBMs, because I think the lack of
      transparency is allowing for a lot of manipulation. I think the rebate
      system is totally screwed up, that without transparency there is
      opportunity for a lot of hocus-pocus to go on with the rebates. Because
      the list price ends up being unreal in certain ways except to the extent
      that it leaves certain patients holding the bag, then the rebate is
      negotiated, but we don't know exactly what happens when the rebate is
      exchanged in terms of who ultimately benefits from that. And I think we
      need more transparency and I do not buy the argument that the patient
      is going to be worse off, the consumer is going to be worse off if we have



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      absolute transparency . . . I know when you started out, I understand
      what the mission was originally with the PBMs . . . But now things have
      gotten out of control. You are too big and the lack of transparency allows
      you to manipulate the system at the expense of the patients. So I don't buy
      the argument that the patient and consumer is going to get hurt if we
      have absolute transparency. (Emphasis added)

      448.   Throughout the relevant time period, the PBMs have made the foregoing

misrepresentations consistently and directly to Montana diabetics through member

communications, formulary change notifications, and through extensive direct-to-

consumer pull through efforts engaged in with the Manufacturers.

      449.   PBM Defendants also make these same representations directly to their

payor clients, including the State—that their interests are aligned with their payor

clients, that they lower the price of the at-issue drugs, and that their formulary

construction is for the benefit of diabetics and payors. Representative examples

include:

           a. In June 2016, OptumRx represented to the State: that

                   i.   OptumRx’s “core PBM services . . . improve health, and
                        manage total costs . . .”

                  ii.   OptumRx’s formulary management services target diabetes
                        “to effectively drive drug therapy changes . . . [and] control
                        total healthcare costs” and drive “safety, efficacy and relative
                        value.”

                 iii.   OptumRx provides transparent drug prices “to help members
                        make smarter decisions about their medications and manage
                        their drug spend accordingly.”

                 iv.    OptumRx “negotiate[s] . . . aggressive discounts or higher
                        [Manufacturer Payments] for drugs . . . [to] provide a lower
                        overall net cost.”

      450.   The above stated PBM Defendants’ representations are false.



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       451.   Contrary to their representations that they lower the price of the at-issue

drugs for diabetics and payors, PBM Defendants’ formulary construction and the

Manufacturer Payments they receive in exchange for formulary placement have

caused the price paid by diabetics and payors to significantly increase.

       452.   For example, both diabetics and payors in Europe and Canada pay

significantly less for their diabetes medications than diabetics in the United States

who are affected by the Insulin Pricing Scheme.

       453.   In addition, diabetics that receive their medications from federal

programs that do not utilize PBMs also pay significantly less. For example, in

December 2020, the United States House of Representatives Committee on Oversight

and Reform issued a Drug Pricing Investigation Report that found that federal health

care programs that negotiate directly with the Manufacturers (such as the

Department of Veterans Affairs), and thus are outside the PBM Defendants’ scheme,

paid $16.7 billion less from 2011 through 2017 for the at-issue drugs than the

Medicare Part D program which relies on the PBM Defendants to set their at-issue

drug prices (and thus are victims of the PBMs’ concerted efforts to drive up the list

prices).

       454.   Contrary to PBM Defendants’ representations that they work to promote

the health of diabetics, including the State’s diabetic Beneficiaries, as a direct result

of the Insulin Pricing Scheme, many diabetics have been priced out of these life-

sustaining medications. As a result, many of these diabetics are forced to either ration




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their insulin or to skip doses. This behavior is dangerous to a diabetic’s health and can

lead to a variety of complications and even death.

      455.   Both PBM Defendants and Manufacturer Defendants knew that these

representations were false when they made them and affirmatively withheld the truth

regarding the artificially inflated list prices, formulary construction, and

Manufacturer Payments from the Montana diabetics and the State. Both PBM

Defendants and Manufacturer Defendants intended for Montana residents with

diabetes to rely on their misrepresentations.

      456.   Defendants concealed the falsity of these representations by closely

guarding their pricing structures, agreements, and sales figures.

      457.   Manufacturer Defendants do not disclose to diabetics, payors, or the

public the actual prices they receive for the at-issue drugs, or the amount in

Manufacturer Payments they pay to the PBM Defendants.

      458.   PBM Defendants do not disclose to diabetics, payors, or the public the

details of their agreements with Manufacturer Defendants or the Manufacturer

Payments they receive from them—nor do they disclose the details related to their

agreements with payors and pharmacies.

      459.   Each Defendant also conceals its unfair and deceptive conduct by signing

confidentiality agreements with any entity in the supply chain who knows the actual

prices of the at-issue drugs.




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       460.     PBM Defendants have gone as far as suing governmental entities to

block the release of details on their pricing agreements with Manufacturers and

pharmacies.

       461.     Even when audited by payors, PBM Defendants often still refuse to

disclose their agreements with Manufacturers and pharmacies, relying on overly

broad confidentiality agreements, claims of trade secrets, and other broadly-claimed

restrictions.

       462.     Each Defendant’s effort to conceal its pricing structures for the at-issue

drugs is evidence that each Defendant knows its conduct is unfair and deceptive.

       463.     To make matters worse, Montana diabetics and the State have no choice

but to pay based on Defendants’ artificially inflated list prices because they need these

medications to live. Manufacturer Defendants make virtually all of the diabetes

medications available in Montana, and the PBM Defendants completely dominate the

pharmacy benefit services market and control nearly every Manufacturer Payment

paid in the market.

       464.     In sum, the entire insulin pricing structure created by the Defendants—

from the false prices to the Manufacturers’ misrepresentations related to the reason

behind the price, to the inclusion of the false prices in payor contracts, to the non-

transparent Manufacturer Payments, to the misuse of formularies, to the PBMs’

representations that they work to lower prices and promote the health of diabetics—

is unfair and deceptive.




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      465.     Montana diabetics and the State pay for the at-issue diabetes

medications at the artificially inflated prices generated by the Insulin Pricing Scheme

because they relied on these prices as reasonable bases for their life sustaining

medications.

      466.     Montana diabetics and the State did not know, because the Defendants

affirmatively concealed, that (i) the list prices were artificially inflated; (ii) the list

prices were manipulated to satisfy Defendants’ profit demands; (iii) the list prices bore

no relationship to the net prices paid for the at-issue drugs to the Manufacturers; and

(iv) that the entire insulin pricing structure Defendants created was unfair and

deceptive.

      I.       The Insulin Pricing Scheme Has Damaged the State and
               Montana Residents who Suffer from Diabetes.

               1.    Defendants’ misconduct damaged the State as a payor for and
                     purchaser of the at-issue drugs.

      467.     Defendants’ Insulin Pricing Scheme has cost the State millions of dollars

in overcharges.

      468.     The State spent millions of dollars during the relevant time period on the

at-issue drugs as a health plan payor and as a purchaser for use in state-run facilities.

      469.     The price that the State paid for these drugs is directly tied to the

artificially inflated prices generated by the Insulin Pricing Scheme.

      470.     Thus, because Defendants’ Insulin Pricing Scheme caused the prices to

substantially inflate, Defendants’ pattern of unfair and deceptive conduct directly and

proximately caused the State to substantially overpay for diabetes medications.




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      471.   Because Defendants continue to generate exorbitant, unfair, and

deceptive prices for the at-issue drugs through the Insulin Pricing Scheme, the harm

to the State is ongoing.

             2.     The Insulin Pricing Scheme has damaged the State by increasing
                    its healthcare costs and decreasing productivity.

      472.   As discussed below, the rising price for the at-issue drugs has had a

devastating effect on the health of diabetics. It has also caused a staggering increase

in healthcare costs to the State.

      473.   As a direct result of the Insulin Pricing Scheme, one in four Montana

diabetics can no longer afford their diabetes medication and are forced to ration and

skip doses. This forced lack of adherence to their diabetes medications leads to

substantial additional healthcare costs.

      474.    One national model projected that improved adherence to diabetes

medication would avert 699,000 emergency department visits and 341,000

hospitalizations annually, for a savings of $4.7 billion. The model further found that

eliminating the loss of adherence would lead to another $3.6 billion in savings, for a

combined potential savings of $8.3 billion.

      475.   Much of the increased healthcare costs caused by the Insulin Pricing

Scheme are shouldered by the State. As a result of the Insulin Pricing Scheme, the

amount Montana spends each year on diabetes-related healthcare costs has risen

dramatically during the relevant time period, now totaling in the billions of dollars

per year.




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      476.     Lack of adherence to diabetes medications also has a significant adverse

effect on labor productivity in terms of absenteeism (missing work due to health-

related reasons), presenteeism (being present at work but not productive), and

disability (inability to perform necessary physical tasks at work).

      477.     This decrease in work productivity has further damaged the State by

injuring its economy and decreasing its tax revenue.

               3.    The Insulin Pricing Scheme has damaged Montana Diabetics.

      478.     Whether insured or not, all Montana diabetics who pay a part of their

diabetic drug costs based on Defendants’ artificially inflated list prices have been

directly damaged by the Insulin Pricing Scheme.

      479.     In addition to financial losses, for many diabetics in Montana, the

Insulin Pricing Scheme has cost them their health and emotional well-being. Unable

to afford Defendants’ price increases, many diabetics in Montana have begun to

engage in highly risky behaviors with respect to their disease such as rationing their

insulin, skipping their refills, injecting expired insulin, reusing needles, and avoiding

doctors’ visits. To compensate for their lack of insulin, some patients starve

themselves, foregoing one or even two meals a day. These practices—which

ineffectively control blood sugar levels—can lead to serious complications such as

kidney disease and failure, heart disease and heart attacks, infection, amputation,

and blindness, which harm not only the individual persons affected, but also harm

the Montana healthcare system as a whole by burdening its resources and the

Montana economy by requiring additional millions of dollars of additional revenues

to be spent.


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      480.   Even when diabetics can still afford their diabetic medications, as a

direct result of PBM Defendants shifting which diabetes medications are favored on

their formularies (“non-medical switching”), diabetics are often forced to switch

medications every few years or go through a lengthy appeal process (or try the

favored drug first) before receiving the patient’s preferred medication.

      481.   Non-medical switching for biologic drugs, such as the at-issue drugs,

causes increased health problems for diabetics and increased healthcare costs for

diabetics, payors, and the healthcare system.

      482.   The Insulin Pricing Scheme has pushed, and will continue to push,

access to these lifesaving drugs out of reach for many diabetes patients in Montana.

      483.   Because nearly all Montana diabetics continue to pay for the at-issue

drugs based on the artificially inflated prices generated by the Insulin Pricing Scheme,

the harm is ongoing.

      J.     Defendants’ Recent Efforts in Response to Rising Insulin Prices.

      484.   In reaction to the mounting political and public pressure, Defendants

recently have taken action, both on Capitol Hill and in the insulin marketplace.

      485.   In recent years, Novo Nordisk’s political action committee (“PAC”) has

doubled its spending on federal campaign donations and on lobbying efforts. In 2017

alone, Novo Nordisk spent $3.2 million lobbying Congress and federal agencies, its

biggest ever investment in directly influencing U.S. policymakers.

      486.   Eli Lilly and Sanofi have directed millions of dollars through their PACs

as well in recent years.




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       487.      Likewise, the PBM Defendants have steadily increased their political

spending for the past five years as public outcry has grown against them.

       488.      Defendants have also recently begun introducing programs ostensibly

aimed at lowering the cost of insulins.

       489.      These “affordability” measures fail to address the structural issues that

have given rise to the price hikes. Rather, these steps are merely public relations

stunts that do not solve the problem.

       490.      For example, in March 2019, Defendant Eli Lilly announced that it would

produce an authorized generic version of Humalog, “Insulin Lispro,” and promised

that it would “work quickly with supply chain partners to make [the authorized

generic] available in pharmacies as quickly as possible.”

       491.      However, in the months after Eli Lilly's announcement, reports raised

questions about the availability of “Insulin Lispro” in local pharmacies.

       492.      Following this, a Congressional staff report was issued examining the

availability of this drug. The investigative report, “Inaccessible Insulin: The Broken

Promise of Eli Lilly's Authorized Generic,” concluded that Eli Lilly's lower-priced,

authorized generic insulin is widely unavailable in pharmacies across the country, and

that the company has not taken meaningful steps to increase insulin accessibility and

affordability.

       493.      The conclusion of the report was that: “Eli Lilly has failed to deliver on

its promise to put a more-affordable insulin product on the shelves. Instead of giving




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patients access to its generic alternative, this pharmaceutical behemoth is still

charging astronomical prices for a drug people require daily and cannot live without.”

       494.   In 2019, Novo Nordisk partnered with a major retailer to offer ReliOn

brand insulins for a discounted price. However, experts have warned that these

insulins are not substitutes for most diabetics’ regular insulins and should only be

used in an emergency or when traveling. In particular, for many diabetics, especially

Type 1 diabetics, these insulins can be dangerous.

       495.   In fact, in August 2019, a Type 1 diabetic who could no longer afford his

$1,200 a month insulin prescription died months after switching to ReliOn brand

insulin due to complications from the disease.

       496.   Thus, Defendants’ “lower priced” insulin campaigns have not addressed

the problem. Montana diabetics and the State continue to suffer great harm as a result

of the Insulin Pricing Scheme.

                       TOLLING OF STATUTE OF LIMITATIONS

       497.   None of the statute of limitations associated with the causes of action

asserted in this Complaint apply to the State.

       498.   Even assuming, arguendo, that the State was subject to applicable statutes

of limitations, the State asserts that it diligently pursued and investigated the claims

asserted in this Complaint. Through no fault of its own, neither the State, nor any

Montana diabetic, received inquiry notice or learned of the factual basis for its claims

in this Complaint and the injuries suffered therefrom until recently. Consequently,

the following tolling doctrines apply.




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      A.       Discovery Rule Tolling.

      499.     The State and Montana diabetics had no way of knowing about the

Insulin Pricing Scheme.

      500.     As discussed above, PBM Defendants and Manufacturer Defendants

refused to disclose the actual prices of diabetes medications realized by Defendants,

the details of the Defendants’ negotiations and payments between each other or their

pricing structures and agreements—labeling them trade secrets and protecting them

with confidentiality agreements.

      501.     Each Defendant group also affirmatively blamed the other for the price

increases described herein, both during their congressional testimonies and through

the media. Defendants essentially continued to work and conspire together to conceal

their misrepresentations in their blame of the other.

      502.     The State and Montana diabetics could not have discovered and did not

know of facts that would have caused a reasonable person to suspect that Defendants

were engaged in the Insulin Pricing Scheme, nor would a reasonable and diligent

investigation have disclosed the true facts.

      503.     Even today, lack of transparency in the pricing of diabetes medications

and the arrangements, relationships and agreements between and among

Manufacturer Defendants and PBM Defendants that result from the Insulin Pricing

Scheme continue to obscure Defendants’ unlawful conduct.

      504.     For these reasons, the discovery rule tolls all applicable statutes of

limitations.




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       B.        Fraudulent Concealment Tolling.

       505.      Defendants’ knowing and active fraudulent concealment and denial of

the facts alleged herein, as described in detail above, also tolls any applicable statutes

of limitation.

       C.        Estoppel.

       506.      Defendants were under a continuous duty to disclose to the State or

Montana diabetics the true character, quality and nature of the prices upon which

payments for diabetes medications were based, and the true nature of the services

being provided.

       507.      Defendants intentionally misrepresented the prices and intended for

Montana residents with diabetes to rely upon the misrepresentations. Due to

Defendants’ misrepresentations, they benefitted from inducing Montana residents

with diabetes to rely upon their misrepresentations.

       508.      Based on the foregoing, Defendants are estopped from relying on any

statutes of limitations in defense of this action.

       D.        Continuing Violations.

       509.      Any applicable statutes of limitations are also tolled because Defendants’

activities have not ceased and still continue to this day and thus any causes of action

are not complete and do not accrue until the tortious and anticompetitive acts have

ceased.




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                                  CLAIMS FOR RELIEF

                            FIRST CAUSE OF ACTION

   Montana Unfair Trade Practices and Consumer Protection Act, Mont.
                     Code Ann. § 30-14-101, et seq.
                       (Against All Defendants)

      510.    The State re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

      511.    Defendants are “persons” within the meaning of, and subject to, the

provisions of the MUTPCPA, Mont. Code Ann. § 30-14-102.

      512.    The sale, pricing, and promotion of the at-issue drugs constitutes “trade”

and “commerce” as defined under Mont. Code Ann. § 30-14-102.

      513.    By engaging in the Insulin Pricing Scheme, as described herein,

Defendants have committed deceptive trade practices in the conduct of trade or

commerce within Montana as prohibited by the provisions of the MUTPCPA, Mont.

Code Ann. § 30-14-103, affecting and causing harm to Montana diabetics and the

State, including but not limited to:

             Knowingly making false representations as to the characteristics and
              benefits of goods and services.

              o A characteristic of every commodity in Montana’s economy is its price,
                which is represented by every seller to every buyer that the product
                being sold is being sold at a legal, competitive, and fair market value.

              o At no point did Defendants reveal that the prices associated with the
                lifesaving diabetic treatments at issue herein were not legal,
                competitive or at fair market value and were completely untethered
                from the actual, net prices realized by Defendants.

              o At no point did Defendants disclose that the prices associated with
                the at-issue drugs were generated by the Insulin Pricing Scheme.




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       o In furtherance of the Insulin Pricing Scheme, at least once a year for
         each year during the relevant time period, Defendants reported and
         published artificially inflated prices for each at-issue drug in
         Montana and in doing so represented that the reported prices were
         reasonably related to the net prices for the at-issue drugs.

       o Defendants also made false statements related to the reason behind
         their artificially inflated prices (research and developments costs).

       o Despite knowing these prices were false and artificially inflated, PBM
         Defendants ensured that the Manufacturers’ list prices harmed
         diabetics and the State by requiring that their contracts with both
         pharmacies and with payors include such prices as the basis for
         payment.

       o By granting the at-issue diabetes medications with the highest list
         prices preferred formulary positions, PBM Defendants ensured that
         prices generated by the Insulin Pricing Scheme would harm Montana
         diabetics and the State.

      PBM Defendants also made false representations that their formularies and
       the Manufacturer Payments they receive have the benefit and characteristic
       of lowering the price of the at-issue drugs and promoting the health of
       diabetics.

      Concealing, suppressing, and omitting material facts with the intent that
       others rely upon the concealment, suppression, or omission while selling
       any goods or services.

       o Manufacturer Defendants conceal the fact that their published prices
         were untethered from the actual, net prices they were paid for the at-
         issue drugs.

       o PBM Defendants conceal the fact that their formularies and the
         Manufacturer Payments they receive are aimed at raising the price
         of the at-issue drugs and, as a result, damage the health of diabetics.

       o Defendants conceal, suppress, and omit these material facts with the
         intent that diabetics and payors, including the State, rely on these
         concealments, suppressions, and omissions in purchasing the at-issue
         drugs and utilizing the at-issue formularies.

      Representing that a specific price advantage exists, when it did not.

       o The PBM Defendants misrepresented that the false, inflated prices
         generated by the Insulin Pricing Scheme were the actual bona fide prices


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                 in order to make a deceptive comparison in representing the substantial
                 “savings” that the PBMs generated for Montana diabetics, payors and the
                 Montana healthcare system.

             Defendants continue to make these misrepresentations and publish
              prices generated by the Insulin Pricing Scheme; Montana diabetics and
              the State, continue to purchase diabetes medications at Defendants’
              prices as a result of the ongoing Insulin Pricing Scheme.

      514.    Defendants made these misrepresentations with the intent to deceive

Montana diabetics and the State.

      515.    Defendants’ representations are false, and at all relevant times

Defendants knew they were false.

      516.    At all times relevant hereto, Defendants affirmatively withheld this

truth from diabetics and the State, even though Defendants knew that diabetics’ and

the State’s intention was to pay the lowest possible fair market price for diabetes

medications and their expectation was to pay a legal, competitive and fair market

price that resulted from transparent market forces.

      517.    Defendants’ conduct was also an unfair trade practice because it affronts

a sense of justice, decency, and reasonableness. In particular:

             Diabetics in Montana, including beneficiaries in the State’s health plans
              and in state-run facilities, need these diabetes medications to survive.

             Manufacturer Defendants make nearly every single vial of insulin
              available in Montana.

             PBM Defendants completely dominate the pharmacy benefit services
              market and control nearly every Manufacturer Payment paid in this
              market.

             Montana diabetics are unable to protect their interest because they have
              no choice but to purchase their diabetic drugs at Defendants’ egregiously
              inflated prices.




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            The price increases for the at-issue drugs bear no relation to
             manufacturing or production cost increases or changes in supply and
             demand conditions.

            In fact, the prices have become so untethered from production costs, that
             insulins, which the Manufacturer Defendants could profitably price at
             less than $2 a vial, are now priced at up to $400 a vial or more.

            There are no conceivable benefits to diabetics or the State in being forced
             to pay these egregious prices for medicines they need to stay alive. In
             fact, the opposite is true—as a direct result of Defendants’ egregious
             price increases, the health and wellbeing of residents in Montana with
             diabetes, including the State’s Beneficiaries, have been severely and
             detrimentally impacted. The State has overpaid millions of dollars for
             the at-issue drugs.

            Defendants’ misconduct offends public policy and has caused a
             substantial injury to Montana diabetics and the State.

      518.   Defendants acted knowingly and in a willful, wanton or reckless

disregard for the safety of others in committing the violations of the MUTPCPA.

      519.   Each at-issue purchase the State and Montana diabetics made for

diabetes medications at the prices generated by the Insulin Pricing Scheme

constitutes a separate violation of the MUTPCPA.

      520.   Defendants’ acts or practices directly and proximately caused injuries to

consumers in the State of Montana.

      521.   In addition, the imposition of an injunction against Defendants

prohibiting the conduct set forth herein is in the public interest, and the State is

seeking the entry of an injunction prohibiting Defendants’ conduct in violation of the

MUTPCPA.

      522.   In accordance with Mont. Code Ann. § 30-14-111, at least twenty days

prior to filing this lawsuit, the State of Montana provided notice and requested that



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the parties engage in a good faith attempt to resolve this dispute informally.

Defendants failed to adequately respond to the State’s request to resolve these claims.

      523.   As a direct and proximate result of Defendants’ conduct in committing

the above and foregoing violations of the MUTPCPA, Defendants are directly and

jointly and severally liable for all equitable relief, restitution, damages, punitive

damages, penalties, and disgorgement for which recovery is sought herein.

      524.   The State seeks a permanent injunction against Defendants to prevent

future unfair and deceptive trade practices under the MUTPCPA.

                          SECOND CAUSE OF ACTION

                                Unjust Enrichment
                              (Against All Defendants)

      525.   The State re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

      526.   Defendants knowingly, willfully, and intentionally deceived Montana

diabetics and the State, and have received a financial windfall from the Insulin Pricing

Scheme at the expense of the State and Montana diabetics.

      527.   Defendants wrongfully secured and retained unjust benefits from

Montana diabetics and the State, in the form of amounts paid for diabetes medications

and fees and payments collected based on the artificially inflated prices generated by

the Insulin Pricing Scheme.

      528.   It is inequitable and unconscionable for Defendants to retain these

benefits.




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       529.   Defendants knowingly accepted the unjust benefits of their unfair and

deceptive conduct.

       530.   Defendants have been enriched by revenue resulting from the Insulin

Pricing Scheme while Montana diabetics and the State have been impoverished by

Defendants’ misconduct. Defendants’ enrichment directly caused Montana diabetics’

and the State’s impoverishment.

       531.   Accordingly, Defendants should not be permitted to retain the proceeds

from the benefits conferred upon them by the Insulin Pricing Scheme. The State seeks

disgorgement of Defendants’ unjustly acquired profits and other monetary benefits

resulting from their unlawful conduct and seeks restitution and recission, in an

equitable and efficient fashion to be determined by the Court.

       532.   There is no express contract governing the dispute at-issue. PBMs do not

contract with payors, including the State, on an individual drug basis. There is no

contract that covers the dispute at-issue between Montana diabetics and any

Defendant. The State’s claims do not arise out of a contract, but rather are based on

the larger unfair, unconscionable, and deceptive scheme that drove up the at-issue

false list prices for all diabetics and payors.

       533.   As a direct and proximate cause of Defendants’ unjust enrichment, as

referenced above, Montana diabetics and the State suffered, and continue to suffer,

ascertainable losses and damages as specified herein in an amount to be determined

at trial.




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                           THIRD CAUSE OF ACTION

                                Civil Conspiracy
                             (Against All Defendants)

      534.    The State re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

      535.    Defendants’ conduct described herein constitutes a civil conspiracy and

aiding and abetting each other to violate the MUTPCPA and to commit unjust

enrichment.

      536.    In addition to the direct agreements between the Manufacturers and

PBMs, as well as the agreements between the PBMs (including through their

controlled rebate aggregator entities), the following circumstantial evidence

demonstrates the Defendants’ concerted activity:

             Key lockstep price increases occurred shortly after PCMA conferences,
              which included private exchanges and meetings that appear to be
              focused on developing and maintaining the Insulin Pricing Scheme,
              which all Manufacturer Defendants and PBM Defendants attended;

             Defendants’ refusal to disclose the details of their pricing structures,
              agreements, and sales figures in order maintain the secrecy of their
              Scheme;

             Numerous ongoing government investigations, hearings, and inquiries
              have targeted the collusion between Defendants related to the at-issue
              drugs, including:

              o In 2016, the U.S. Attorney’s Office for the Southern District of New
                York issued a CID for information related to the Defendants’ conduct
                involving insulin prices;

              o In 2016, Defendants received civil investigative demands from the
                State of Washington, in conjunction with the Attorney Generals for
                California, Florida and Minnesota, related to their role in increasing
                insulin prices;




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             o In 2017, Manufacturers received civil investigation demands from the
               States of Minnesota, California and Florida related to the pricing of
               their insulin products and their relationships with the PBMs;

             o In April 2019, U.S Congress held a hearing on the Insulin Pricing
               Scheme before the Senate Financing Committee in which each
               Defendant testified;

             o The Senate Finance Committee’s recent two-year probe into the
               Insulin Pricing Scheme that resulted in the January 2021 Senate
               Insulin Report;

             o A December 10, 2021 Congressional Report prepared by the House
               Committee on Oversight and Reform Minority Staff titled “A View
               from Congress: Role of Pharmacy Benefit Managers in
               Pharmaceutical Markets” that concluded:

                          Manufacturers raise their prices due to PBMs;

                          PBMs’ retail and mail order pharmacies create conflicts of
                           interest, hurt competition and distort the market;

                          PBMs’ practices impact patient health; and

                          PBMs use their market leverage to increase their profits,
                           not reduce costs for consumers.

             o The astronomical rise in the price of the at-issue drugs coincides with
               PBM Defendants’ rise to power within the pharmaceutical pricing
               system in 2003 and increased in parallel with the PBMs increased
               market power.

      537.   As a direct result of the overt acts taken in furtherance of Defendants’

conspiracy, residents in Montana with diabetes and the State have suffered damages

in an amount to be proven at trial. Defendants are all jointly and severally liable for

the actions taken in furtherance of their joint conduct.

                                     JURY DEMAND

      The State respectfully requests a trial by jury on all issues so triable.




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                                PRAYER FOR RELIEF

      WHEREFORE, PREMISES CONSIDERED, the State of Montana, ex rel.

Austin Knudsen, Attorney General, respectfully requests that this Honorable Court

enter an Order:

      A.    Adjudging and decreeing that Defendants have engaged in acts or

            practices complained of herein, and that such constitute unfair acts or

            practices in violation of the Montana Unfair Trade Practices and

            Consumer Protection Act, that Defendants were unjustly enriched at

            the expense of Montana diabetics and the State, and that Defendants

            engaged in a civil conspiracy;

      B.    Issuing a permanent injunction prohibiting Defendants, their agents,

            servants, employees, and all other persons and entities, corporate or

            otherwise, in active concert or participation with any of them, from

            engaging in deceptive and unfair trade practices;

      C.    Ordering Defendants to make such financial payments as are

            authorized by law, including but not limited to damages, punitive

            damages, restitution, and disgorgement that may be owed to Montana

            diabetics and the State;

      D.    Imposing civil penalties to be paid to the State by Defendants in the

            amount of up to $10,000 for each violation of the MUTPCPA;

      E.    Ordering Defendants to pay all costs and attorney’s fees for the

            prosecution and investigation of this action, as provided by Mont. Code.

            Ann. § 30-14-131;


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     F.    Be awarded pre-and post-judgment interest as provided by law, and

           that such interest be awarded at the highest legal rate from and after

           the date of service of the Complaint; and

     G.    Be awarded such other, further, and different relief as the case may

           require and the Court may deem just and proper under the

           circumstances.

RESPECTFULLY SUBMITTED this the 9th day of January, 2023.

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